Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 1 of 186 Page ID #:22
                                                                       CT Corporation
                                                        Service of Process Notification
                                                                                                                         04/29/2022
                                                                                                            CT Log Number 541493130


      Service of Process Transmittal Summary

      TO:       Greg Moundas, Executive V.P. General Counsel
                AIMBRIDGE HOSPITALITY LLC
                5301 HEADQUARTERS DR
                PLANO, TX 75024-6187

      RE:       Process Served in California

      FOR:      INTERSTATE-RIM MANAGEMENT COMPANY, LLC (Domestic State: DE)


      ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

      TITLE OF ACTION:                         Re: DAVID YUREVICH JR., individually and on behalf of all others similarly situated // To:
                                               INTERSTATE-RIM MANAGEMENT COMPANY, LLC
      CASE #:                                  22STCV07221

      NATURE OF ACTION:                        Employee Litigation

      PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

      DATE/METHOD OF SERVICE:                  By Process Server on 04/29/2022 at 01:32

      JURISDICTION SERVED:                     California

      ACTION ITEMS:                            CT will retain the current log

                                               Image SOP

                                               Email Notification, KAREN KOVACH karen.kovach@aimhosp.com

                                               Email Notification, Laura Vesely laura.vesely@aimhosp.com

                                               Email Notification, Nicole Graves nicole.graves@aimhosp.com

                                               Email Notification, Matt Dreyfuss matthew.dreyfuss@aimhosp.com

      REGISTERED AGENT CONTACT:                C T Corporation System
                                               330 N BRAND BLVD
                                               STE 700
                                               GLENDALE, CA 91203
                                               866-665-5799
                                               SouthTeam2@wolterskluwer.com



      The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
      and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
      information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
      included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
      disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
      contained therein.




                                                                                                                              Page 1 of 1

                                                                                                                 EXHIBIT A, p. 3
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 2 of 186 Page ID #:23



                                                                   Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                                   Fri, Apr 29, 2022
Seryer Name:                            Douglas Forrest




 Entity Served            INTERSTATE-RIM MANAGEMENT COMPANY, LLC

 Case Number              22stcv07221

 J urisdiction            CA



                                          Inserts




   1 111 11 I 11 1I1 I I1II I I I


                                                                      EXHIBIT A, p. 4
ElectronicallyCase
               FILED by2:22-cv-03713-MEMF-RAO                             Document 1-2 Filed 05/31/22 Page 3 of 186 Page ID #:24
                        Superior Court of California, County of Los Angeles on 04/19/2022 03:07 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Thomas,Deputy Clerk
                                                                                       22STCV07221

                                                                                                                                                                      SUM-100

                                                        SUMMONS                                                                                FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                            (CITACION JUDICIAL)
        NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):Interstate-Rim Management Company,a Delaware
           Limited Liability Company operating at: Double Tree San Pedro; Interstate Hotels & Resorts,
           Inc.; Aimbridge Hospitality, LLC,a Delaware Liability Company; and DOES 1-50,inclusive,
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):

          DAVID YUREVICH JR., individually and on behalf of all others similarly situated
           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
          served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attomey right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           iAVISO! Lo han demandado. S/no responde dentro de 30 dies, la carte puede decidir en su contra sin escuchar su versiOn. Lea la informed& a
           continuacion.
              Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta cited& y papeles legates para presenter una respuesta por escrito en esta
           carte y hacer que se entregue una copia al demandante. Una carte o una Ilemada telefOnica no to protegen. Su respuesta por escrito tiene que estar
           en formato legal correcto Si desea que procesen su caso en la corte. Es posible que haya un fomulario que usted pueda usar para su respuesta.
          Puede encontrar estos formularios de la carte y mas informed& en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
           biblioteca de leyes de su condado o en la carte que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secretario de la carte que
           le dé un fonnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le podra
           guitar su sue/do, dinero y bienes sin mas advertencia.
              Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
           remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla can los requisitos para obtener servicios legates gratuitos de un
           programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
          (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov)o poniendose en contacto con la carte o el
           colegio de abogados locales. AVISO: Parley, la carte tiene derecho a reclamar las cuotas y las costos exentos por imponer un gravamen sabre
           cualquier recuperaciOn de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
           pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
        The name and address of the court is:                                                                             CASE NUMBER:(NOmero del Caso):
        (El nombre y direcci6n de la code es): Los Angeles Superior Court                                                     22STCV07221
        111 North Hill St.
         Los Angeles, CA 90012
          The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n ye!nOmero
          de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
          JAMES HAVVKINS APLC,9880 Research Drive, Suite 200 Irvine CA 92618;(949)387-7200
        DATE:                                                                                            Clerk, by                                                    , Deputy
        (Fecha) 04/19/2022                    sherd R. Carter Executive Officer! Clerk of Court (Secretario)                                E. Thomas                 (Adjunto)
         (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010).)
                                           NOTICE TO THE PERSON SERVED: You are served
                                                   1.          as an individual defendant.
                                                  2.           as thperson sued under the fictitious pame of (specify):                                           Co-evir
                                                                                                                    viot
                                                                                                      vv-
                                                  3.           on be alf of(specify):                                                                                       144-t
                                                                                                                                                                               d—
                                                                                                     c       AAI-1--C_                         Gi
                                                                                                                                                ' o)to if s            bYvy:
                                                        under: I—I CCP 416.10 (corporation)                                 -
                                                                                                                            I 1 CCP 416.60(minor)
                                                                -
                                                                1 7 CCP 416.20(defunct corporation)                         ni CCP 416.70(conservatee)
                                                                      CCP 416.40 (association or partnership) -
                                                                                                              1 1 CCP 416.90 (authorized person)
                                                                      other (specify):                                                  ANAO\e--1-tr    (f-e-0
                                                                                                                                                             11,0
                                                               by personal delivery on (date)                                              Pliie 1 of 1
          Form Adopted for Mandatory Use
                                                  4
                                                                                     SUMMONS                                                    Code of Civil Procedure §§ 412.20, 465
          Judicial Council of California                                                                                                                            www.courts.ca.gov
          SUM-100 [Rev. July 1,2009]


                                                                                                                                                 EXHIBIT A, p. 5
        Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 4 of 186 Page ID #:25
                                                                                    22STCV07221
                                     Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Kenneth Freeman
Electronicallir FILED by Su erior,Court of California, County of Los Angeles on 02/28/2022 07:35 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Covarrubias,Deputy Clerk
                      4




                          1
                              JAMES HAWKINS APLC
                    '2        James R.Hawkins,Esq.(#192925)
                              Gregory Mauro,Esq.(#222239)
                       3      Michael Calvo, Esq.(#314986)
                              Lauren Falk, Esq.(#316893)
                      4       Ava Issary, Esq.(#342252)
                              9880 Research Drive, Suite 200
                      5       Irvine, CA 92618
                              Tel.:(949)387-7200
                      6       Fax:(949)387-6676
                              Email: James@jameshawlcinsaplc.com
                       7      Email: Greg@jameshawkinsaplc.com
                              Email: Michael@jameshawkinsaplc.com
                       8      Email: Lauren@jameshawkinsaplc.com
                              Email: Ava@jameshawlcinsaplc.com
                      9
                        Attorneys for Plaintiff DAVID YUREVICH JR.,
                     10 Individually and on behalf of all others similarly situated.

                     11                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                             FOR THE COUNTY OF LOS ANGELES
                     12

                     13 DAVID YUREVICH JR., individually and on                                             CASE Na: 22ST CV 07221
                        behalf of all others similarly situated,
                     14                                                                                    CLASS ACTION COMPLAINT
                                                                                                           PURSUANT TO CALIFORNIA CODE OF
                     15                                  Plaintiff,                                        CIVIL PROCEDURE §382:
                     16                 v.                                                                 1.         Failure to Pay Wages Including
                                                                                                                      Overtime as Required by Labor
                     17                                                                                               Code §510 and 1194
                       INTERSTATE-RIM MANAGEMENT
                                                                                                           2.         Failure to Pay Timely Wages
                    18 COMPANY,LLC,a Delaware Limited                                                                 Required by Labor Code § 203
                       Liability Company operating at:                                                     3.         Failure to Provide Accurate Itemized
                    19 DOUBLETREE SAN PEDRO;INTERSTATE                                                                Wage Statements as Required by
                       HOTELS & RESORTS,INC.; AIMBREDGE                                                               Labor Code § 226
                    20 HOSPITALITY,LLC,a Delaware Limited                                                  4.         Failure to Accurately Record and
                       Liability Company; and DOES 1-50, inclusive,                                                   Pay Sick Leave as Required by
                    21                                                                                                Labor Code § 246
                                                                                                           5.         Failure to Indemnify Necessary
                    22                                   Defendants.                                                  Business Expenses as Required by
                                                                                                                      Labor Code § 2802
                    23                                                                                     6.         Violation of Business & Professions
                                                                                                                      Code § 17200,et seq.
                    24
                                                                                                           DEMAND FOR JURY TRIAL
                    25

                    26

                    27

                    28



                                                                                  CLASS ACTION COMPLAINT
                                                                                                                                                    EXHIBIT A, p. 6
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      4.1



       1          Plaintiff DAVID YUREVICH JR.. ("Plaintiff'), individually and on behalf of all others
       2 similarly situated (hereinafter collectively referred to as the "Class" or "Class Member"), hereby

       3 files this Complaint against Defendants INTERSTATE — RIM MANAGEMENT COMPANY,

       4 LLC, a Delaware Limited Liability company operating at: DOUBLETREE SAN PEDRO;

       5 INTERSTATE HOTELS & RESORTS, INC.; AIMBRIDGE HOSPITALITY, LLC, a Delaware

       6 Limited Liability Company; and DOES 1-50, inclusive (collectively "Defendants") and alleges on

       7 information and belief as follows:

       8                                    I. JURISDICTION AND VENUE
       9          1.      This class action is brought pursuant to California Code of Civil Procedure §382.
      10 The monetary damages and restitution sought by Plaintiff exceed the minimum jurisdiction limits

      11 ofthe California Superior Court and will be established according to proof at trial.

      12          2.      This Court has jurisdiction over this action pursuant to the California Constitution
      13 Article VI §10, which grants the California Superior Court original jurisdiction in all causes

      14 except those given by statute to other courts. The statutes under which this action is brought do not

      15 give jurisdiction to any other court.

      16          3.      This Court has jurisdiction over Defendants because, upon information and belief,
      17 each Defendant either has sufficient minimum contacts in California, or otherwise intentionally

      18 avails itself of the California market so as to render the exercise of jurisdiction over it by the
      19 California Courts consistent with traditional notions offair play and substantial justice.

      20          4.      The California Superior Court also has jurisdiction in this matter because the
      21 individual claims of the members of the Classes herein are under the seventy-five thousand dollar

      22 ($75,000.00)jurisdictional threshold for Federal Court and the aggregate claim, including attorneys'

      23 fees, is under the five million dollar ($5,000,000.00) threshold of the Class Action Fairness Act of

      24 2005. Further, there is no federal question at issue, as the issues herein are based solely on California

      25 statutes and law, including the Labor Code,IWC Wage Orders, CCP, California Civil Code("CC")

      26 and B&PC.

      27          5.      Venue is proper in this Court because upon information and belief, one or more of
      28 the Defendants, reside, transact business, or have offices in this County and/or the acts or



                                                 CLASS ACTION COMPLAINT
                                                                                            EXHIBIT A, p. 7
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       d.




        1 omissions alleged herein took place in this County.

       2                                             IL PARTIES
       3          6.      Plaintiff DAVID YUREVICH JR. was, at all times relevant to this action, a
       4 resident of California. Plaintiff was employed by Defendants in approximately February 2016 as a

       5 Non-Exempt Employee with the title of Concierge and then Front Desk and worked during the

       6 liability period for Defendants until Plaintiff's separation from Defendants' employ in

       7 approximately June 2021. Plaintiffs duties included but were not limited to: providing customer

       8 service and assistance to guests, checking guests in, offering suggestions for food, administrative

       9 paperwork, cleaning rooms, and filling in where needed.

      10          7.      Defendants INTERSTATE — RIM MANAGEMENT COMPANY, LLC, a
      1 1 Delaware Limited Liability company operating at: DOUBLETREE SAN PEDRO,INTERSTATE

      12 HOTELS & RESORTS, INC.; and AIMBRIDGE HOSPITALITY, LLC, a Delaware Limited

      13 Liability company, operates as a hotel and hospitality business. Plaintiff estimates there are in

      14 excess of 100 Non-Exempt Employees who work or have worked for Defendants over the last

      15 year.

      16          8.     Other than identified herein, Plaintiff is unaware of the true names, capacities,
      17 relationships, and extent of participation in the conduct alleged herein, of the Defendants sued as

      18 DOES 1 through 50, but is informed and believes and thereon alleges that said defendants are

      19 legally responsible for the wrongful conduct alleged herein and therefore sues these defendants by

      20 such fictitious names. Plaintiff will amend this complaint when their true names and capacities are

      21 ascertained.

      22          9.      Plaintiff is informed and believes and thereon alleges that each defendant, directly
      23 or indirectly, or through agents or other persons, employed Plaintiff and other members of the

      24 Class, and exercised control over their wages, hours, and working conditions. Plaintiff is informed

      25 and believes and thereon alleges that each Defendant acted in all respects pertinent to this action as

      26 the agent ofthe other Defendants, carried out a joint scheme, business plan or policy in all respects

      27 pertinent hereto, and the acts of each Defendant are legally attributable to the other defendants.

      28


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                                              CLASS ACTION COMPLAINT
                                                                                         EXHIBIT A, p. 8
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      4.




       1                                     CLASS ACTION ALLEGATION
       2          10.      Plaintiff brings this action individually and on behalf of all others similarly
       3 situated as a class action pursuant to Code of Civil Procedure § 382. The members ofthe Class are

       4 defined as follows:

       5
                 All persons who have been employed by Defendants as Non-Exempt Employees or
       6         equivalent positions, however titled, in the state of California within four (4) years from
                 the filing of the Complaint in this action until its resolution. (collectively referred to as the
       7         "Class" or "Plaintiff's Class" or "Class Members").

       8          1 1.     Plaintiff also seeks to represent the subclass(es) composed of and defined as

       9 follows:

      10
                  Sub-Class 1: All Class Members who are or were employed by Defendants at any time
      11          between February 2021 and the present and who received wage statements from Defendant
                 (hereinafter collectively referred to as the "Wage Statement Subclass").
      12

      13          Sub-Class 2: All Class Members who have been employed by Defendants at any time
                  between February 2019 and the present and have separated their employment (hereinafter
      14
                  collectively referred to as the "Waiting Time Penalty Subclass").
      15          Sub-Class 3: All Class Members who are or were employed by Defendants and incurred
                  business expenses as a result of the discharge of their duties (hereinafter collectively
      16          referred to as the "Reimbursement Subclass").
      17          Sub-Class 4: All Class Members who are or were employed by Defendants and subject to
                  Defendant's Unfair Business Practices (hereinafter collectively referred to as the "Unfair
      18          Business Practice Subclass").
      19          12.      Plaintiff reserves the right under California Rule of Court 3.765(b) and other
      20 applicable laws to amend or modify the class definition with respect to issues or in any other

      21 ways. Plaintiff is a member ofthe Class as well as each ofthe Sub-Classes.

      22          13.      The term "Class" includes Plaintiff and all members of the Class and each of the
      23 Sub-Classes, if applicable. Plaintiff seeks class-wide recovery based on the allegations set forth in

      24 this complaint.

      25          14.      There is a well-defined community of interest in the litigation and the proposed
      26 Class is easily ascertainable through the records Defendants are required to keep.

      27          15.      Numerosity. The members of the Class are so numerous that individual joinder of
      28 all ofthem as Plaintiff is impracticable. While the exact number ofthe Class members is unknown


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                                               CLASS ACTION COMPLAINT
                                                                                           EXHIBIT A, p. 9
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           _




       1 to Plaintiff at this time,Plaintiff is informed and believes and thereon alleges that there are at least

       2 100(one hundred) Class members.

       3              16.           Commonality. Common questions oflaw and fact exist as to all Class members
       4 and predominate over any questions that affect only individual members of the Class. These

       5 common questions include, but are not limited to:

       6                       i.          Whether Defendants failed to pay minimum wage compensation to Plaintiff
       7
               and Class Members for all hours worked;
       8
                                           Whether Defendants failed to accurately pay overtime to Plaintiff and Class
       9
               Members;
      10
                                           Whether Defendants failed to reimburse necessary business expense
      11

      12 pursuant to Labor Code § 2802;

      13                     iv.           Whether Defendants provided accurate itemized wage statements pursuant
               to Labor Code section 226;
      14
                    v.          Whether Defendants failed to pay sick time using the proper regular rate pursuant
      15
               to Labor Code section 246;
      16
                             vi.           Whether Defendants violated Business and Professions Code and Labor
      17
               Code §§ 201-203, 246, 510, 512, 558, 226, 226.3, 226.7, 246, 1174, 1174.5, 1175, 1194, 1197,
      18
               1197.1, 1198, 2802 and applicable IWC Wage Orders which violation constitutes a violation of
      19
               fundamental public policy; and
      20
                            vii.           Whether Plaintiff and the Members of the Plaintiff Class are entitled to
      21
               equitable relief pursuant to Business and Professions Code §§ 17200, et. seq.
      22
                            viii.          Whether Plaintiff and the Members of the Plaintiff Class are entitled to
      23
               relief in the form of back wages, penalties and interest for failure to pay minimum wages pursuant
      24
               to Labor Code §§ 558, 1194 and 1197.
      25
                      17.           Typicality. Plaintiff's claims herein alleged are typical of those claims which could
      26
               be alleged by any member ofthe Class and/or Subclass, and the relief sought is typical ofthe relief
      27
               which would be sought by each member of the Class and/or Subclass in separate actions. Plaintiff
      28
               and all members of the Class and or Subclass sustained injuries and damages arising out of and

                                                                   -4-
                                                        CLASS ACTION COMPLAINT
                                                                                                  EXHIBIT A, p. 10
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       1 caused by Defendants' common course of conduct in violation of California laws, regulations, and

       2 statutes as alleged herein.

       3          18.     Adequacy. Plaintiff is qualified to, and will fairly and adequately protect the
       4 interests of each member of the Class and/or Subclass with whom she has a well defined

       5 community of interest and typicality of claims, as demonstrated herein. Plaintiff acknowledges an

       6 obligation to make known to the Court any relationships, conflicts, or differences with any

       7 member of the Class and/or Subclass. Plaintiffs attorneys and the proposed Counsel for the Class

       8 and Subclass are versed in the rules governing class action discovery, certification, litigation, and

       9 settlement and experienced in handling such matters. Other former and current employees of

      10 Defendants may also serve as representatives ofthe Class and Subclass if needed.

      11          19.     Superiority. A class action is superior to other available means for the fair and
      12 efficient adjudication of the claims of the Class and would be beneficial for the parties and the

      13 court. Class action treatment will allow a large number of similarly situated persons to prosecute

      14 their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

      15 duplication of effort and expense that numerous individual actions would require. The damages

      16 suffered by each Class member are relatively small in the sense pertinent to class action analysis,

      17 and the expense and burden of individual litigation would make it extremely difficult or

      18 impossible for the individual Class Members to seek and obtain individual relief. A class action

      19 will serve an important public interest by permitting such individuals to effectively pursue

      20 recovery of the sums owed to them. Further, class litigation prevents the potential for inconsistent

      21 or contradictory judgments raised by individual litigation.

      22         20.     Public Policy Considerations: Employers in the state of California violate
      23 employment and labor laws every day. Current employees are often afraid to assert their rights out

      24 of fear of direct or indirect retaliation. Former employees are fearful of bringing actions because

      25 they believe their former employers may damage their future endeavors through negative

      26 references and/or other means. The nature of this action allows for the protection of current and

      27 former employees' rights without fear or retaliation or damage.

      28


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                                              CLASS ACTION COMPLAINT
                                                                                       EXHIBIT A, p. 11
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                                  #:31



     1

     2                                  IV.FACTUAL ALLEGATIONS
     3         21.     At all times set forth herein, Defendants employed Plaintiff and other persons in the
     4 capacity of non-exempt positions, however titled, throughout the state of California.

     5         22.     Plaintiff is informed and believes Class Members have at all times pertinent hereto
     6 been Non-Exempt within the meaning of the California Labor Code and the implementing rules

     7 and regulations ofthe IWC California Wage Orders.

     8         23.     Defendants continue to employ Non-Exempt Employees, however titled, in
     9 California and implement a uniform set of policies and practices to all non-exempt employees, as

    10 they were all engaged in the generic job duties related to Defendants' hotel business.

    11         24.     Plaintiff is informed and believes, and thereon alleges, that Defendants are and
    12 were advised by skilled lawyers and other professionals, employees, and advisors with knowledge

    13 ofthe requirements of California's wage and employment laws.

    14         25.     Plaintiff is informed and believes that during the relevant time frame, all Class
    15 Members are citizens ofthe state of California.

    16         26.     On information and belief, during the relevant time frame, Plaintiff and Class
    17 Members frequently worked well over eight (8) hours in a day and forty (40) hours in a work

    18 week.

    19         27.     During the relevant time frame, Defendants compensated Plaintiff and Class
    20 Members based upon an hourly.rate.

    21         28.     In addition, the Class Members frequently worked in excess of eight (8) hours a
    22 day and/or over forty (40) hours in a workweek, but were not properly paid for such time at the

    23 employee's correct rate of pay per hour for overtime.

    24         29.     Defendants also failed to properly calculate Plaintiff's and the Class Members'
    25 regular rate of pay including but not limited to by failing to include all forms of

    26 compensation/remuneration in the regular rate including but not limited to bonuses, incentives,

    27 commissions, training and orientation pay, shift differential pay, and other compensation for

    28 overtime calculation purposes.


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                                           CLASS ACTION COMPLAINT
                                                                                     EXHIBIT A, p. 12
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                                  #:32



     1         30.     In addition, upon information and belief, Plaintiff alleges that Defendants failed to
     2 pay sick leave pay to Plaintiff and the Class Members at the proper rate, as Defendants failed to

     3 factor all forms of compensation into the regular rate.

     4         31.     Plaintiff are informed and believe, and thereon alleges, that Defendants know,
     5 should know, knew, and/or should have known that Plaintiff and the other Class Members were

     6 entitled to receive premium wages based on their regular rate of pay under Labor Code §226.7 but

     7 were not receiving such compensation.

     8         32.     On information and belief, Defendants also required Plaintiff and Class Members
     9 to work off-the-clock. For instance, Plaintiff, and on information and belief Class Members, were

    10 required to use their personal cell phone to communicate with the manager and general manager

    1 1 via text message to discuss scheduling and other work-related issues. Defendants failed to include

    12 off-the-clock work performed after Plaintiff and Class Members clocked out for the day. During

    13 the relevant time frame, Plaintiff and Class Members were required to close the gate after clocking

    14 out on a daily basis. Lastly, Defendants failed to include off-the-clock work performed by Plaintiff

    15 and Class Members for the time spent cleaning the fingerprint scanner so they could accurately

    16 clock-in. Often times, the fingerprint scanner used to clock-in would be dirty and fail to function

    17 properly. Over time this resulted in an underpayment of minimum and overtime wages.

    18         33.     Defendants also failed to reimburse Plaintiff and Class Members for business
    19 expenses incurred pursuant to Labor Code section 2802. For instance, Defendants did not

    20 reimburse Plaintiff and Class Members for use of personal cellphones to carry out their work-

    21 related duties while under the direction and control of Defendants. Plaintiff and on information

    22 and belief Class Members, were required to use their personal cell phones to communicate with

    23 Defendants' management. Plaintiff was forced to exchange text messages with the manager and/or

    24 general manager regarding scheduling and other work related issues for approximately five to ten

    25 minutes, approximately three (3) times per week. During work hours, every other day (daily

    26 during COVID-19), Plaintiff would text message with his managers from approximately 5:00 p.m.

    27 to 11:00 p.m. when he was left alone at the front desk. Although the front desk had a phone,

    28 managers would choose to send text messages to Plaintiffs personal cell phone. Lastly, on a daily


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     1 basis, Plaintiff and on information and belief Class Members, would take pictures on their

     2 personal cell phones of guests' rooms to assess damage or items left in the room. Defendants

     3 failed to reimburse Plaintiff and Class Members for personal cell phone use.

     4          34.    Defendants failed to reimburse Plaintiff and Class Members for necessary business
     5 expenses as it relates to the maintenance and upkeep of Defendants' uniforms pursuant to Labor

     6 Code § 2802. Defendants required Plaintiff and Class Members to wear a suit as their work

     7 uniform. Plaintiff was forced to purchase his suits, costing him at least $300. Additionally,

     8 Plaintiff and Class Members were responsible for the maintenance of their uniforms and were

     9 required to keep them clean and in professional condition. As a result, Plaintiff and Class

    10 Members would spend time regularly laundering and caring for their uniforms. However, despite

    11 these realities, Defendants failed to reimburse Plaintiff and Class Members for expenses resulting

    12 from maintaining their uniforms. Defendants promised Plaintiff that they would reimburse him for

    13 costs relating to purchasing suits, but Defendants failed to do so. Further, Plaintiff and Class

    14 Members were forced to purchase their own COVID-19 protective gear, such as masks.

    15 Defendants failed to reimburse Plaintiff and Class Members for these necessary business

    16 expenditures.

    17          35.    Defendants also failed to provide accurate, lawful itemized wage statements to
    18 Plaintiff and the Class Members in part because of the above specified violations. In addition,

    19 upon information and belief, Defendants omitted an accurate itemization of total hours worked,

    20 including premiums due, overtime pay, gross pay and net pay figures from Plaintiff and the Class

    21 Members'wage statements.

    22         36.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
    23 mentioned, Defendants knew that at the time of termination of employment (or within 72 hours

    24 thereof for resignations without prior notice as the case may be) they had a duty to accurately

    25 compensate Plaintiff and Class Members for all wages owed including minimum wages, meal and

    26 rest period premiums, and that Defendants had the financial ability to pay such compensation, but

    27 willfully, knowingly, recklessly, and/or intentionally failed to do so in part because of the above-

    28 specified violations.


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     1          37.    Upon information and belief, Defendants knew and or should have known that it is
     2 improper to implement policies and commit unlawful acts such as:

     3         (a)     failing to pay overtime and minimum wages;
     4         (b)     failing to provide accurate itemized wage statements;
     5         (c),    failure to accurately pay sick pay;
     6         (d)     failing to timely pay Plaintiff and Class Members;
     7         (e)     failure to reimburse business expenses; and
     8         (0      conducting and engaging in unfair business practices.
     9          38.    In addition to the violations above, and on information and belief, Defendants knew
    10 they had a duty to compensate Plaintiff and Class Members for the allegations asserted herein, and

    1 1 that Defendants had the financial ability to pay such compensation, but willfully, knowingly,

    12 recklessly, ancUor intentionally failed to do so.

    13          39.    Plaintiff and Class Members they seek to represent are covered by, and Defendants
    14 are required to comply with, applicable California Labor Codes, Industrial Welfare Commission

    15 Occupational Wage Orders (hereinafter "IWC Wage Orders") and corresponding applicable

    16 provisions of California Code of Regulations, Title 8, section 11000 et seq.

    17                                    FIRST CAUSE OF ACTION
    18                     FAILURE TO PAY WAGES INCLUDING OVERTIME
    19                                      (Against All Defendants)
    20         40.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    21 though fully set forth herein.

    22         41.     At all times relevant, the IWC wage orders applicable to Plaintiff's and the Class
    23 require employers to pay its employees for each hour worked at least minimum wage."Hours

    24 worked" means the time during which an employee is subject to the control of an employer, and

    25 includes all the time the employee is suffered or permitted to work, whether or not required to do

    26 so, and in the case of an employee who is required to reside on the employment premises, that

    27 time spent carrying out assigned duties shall be counted as hours worked.

    28         42.     At all relevant times, Labor Code §1197 provides that the minimum wage for


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     1 employees fixed by the IWC is the minimum wage to be paid to employees, and the payment of a

     2 lesser wage than the established minimum is unlawful. Further, pursuant to the IWC Wage Order

     3 and Labor Code, Plaintiff and Class Members are to be paid minimum wage for each hour

     4 worked, and cannot be averaged At all times relevant, the IWC wage orders applicable to Plaintiff

     5 and Class Members' employment by Defendants provided that employees working for more than

     6 eight(8) hours in a day or forty (40) hours in a work week are entitled to overtime compensation

     7 at the rate of one and one-half times the regular rate of pay for all hours worked in excess of eight

     8 (8) hours in a day or forty (40) hours in a work week. An employee who works more than twelve

     9 (12) hours in a day is entitled to overtime compensation at a rate oftwice the regular rate ofpay.

    10         43.     At all relevant times, Labor Code §1197.1 states "[a]ny employer or other persons
    11 acting individually as an officer, agent, or employee of another person, who pays or causes to be

    12 paid to any employee a wage less than the minimum fixed by an applicable state or local law, or

    13 by an order ofthe commission shall be subject to a civil penalty, restitution of wages, liquidated

    14 damages payable to the employee, and any applicable penalties pursuant to Section 203.

    15         44.     Labor Code §510 codifies the right to overtime compensation at the rate of one and
    16 one-half times the regular rate of pay for all hours worked in excess of eight(8)hours in a day or

    17 forty (40)hours in a work week and to overtime compensation at twice the regular rate ofpay for

    18 hours worked in excess oftwelve (12)hours in a day or in excess of eight(8) hours in a day on the

    19 seventh day of work in a particular work week.

    20         45.     At all times relevant, Plaintiff and Class Members regularly performed non-exempt
    21 work and thus were subject to the overtime requirements ofthe IWC Wage Orders, CCR § 11000,

    22 et. seq. and the Labor Code.

    23         46.     At all times relevant, Plaintiff and Class Members consistently worked in excess of
    24 eight(8) hours in a day and/or forty (40) hours in a week and Defendant's failed to accurately

    25 calculate overtime pay to Plaintiff and Class Members.

    26         47.     At all times relevant, Plaintiff and Class Members consistently worked off-the-
    27 clock,for duties performed while clocked-out, resulting in an inaccurate payment of minimum and

    28 overtime wages to Plaintiff and Class Members.


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     1          48.    Defendants further failed to incorporate bonuses, shift differentials, and other
     2 remunerations into the employees' regular rates of pay for purposes of calculating overtime.

     3          49.    At all times relevant, Defendants have failed to accurately pay minimum and
     4 overtime owed to Plaintiff and Class Members.

     5          50.    Accordingly, Defendants owe Plaintiff and Class Members minimum and overtime
     6 wages, and have failed to pay Plaintiff and Class Members their wages owed.

     7          51.    Pursuant to Labor Code §§ 510, 558 and 1194, Plaintiff and Class Members are
     8 entitled to recover their unpaid wages and overtime compensation, as well as interest, costs, and

     9 attorneys' fees.

    10                                   SECOND CAUSE OF ACTION
    11                            FAILURE TO PAY TIMELY PAY WAGES
    12                                      (Against All Defendants)
    13          52.    Plaintiff incorporates and re-alleges each and every allegation contained above as
    14 though fully set forth herein.

    15          53.    Labor Code §§201-202 requires an employer who discharges an employee to pay
    16 compensation due and owing to said employee immediately upon discharge and that if an

    17 employee voluntarily leaves his or her employment, his or her wages shall become due and

    18 payable not later than seventy-two (72)hours thereafter, unless the employee has given seventy-

    19 two(72) hours previous notice of his or her intention to quit, in which case the employee is

    20 entitled to his or her wages on their last day of work.

    21          54.    Labor Code §203 provides that if an employer willfully fails to pay compensation
    22 promptly upon discharge, as required by Labor Code §§201-202, the employer is liable for waiting

    23 time penalties in the form of continued compensation for up to thirty (30) work days.

    24          55.    During the relevant time period, Defendants willfully failed and refused, and
    25 continue to willfully fail and refuse, to pay Plaintiff and Class Members their wages, earned and

    26 unpaid, either at the time of discharge, or within seventy-two(72) hours oftheir voluntarily

    27 leaving Defendants' employ. These wages include regular and overtime.

    28         56.     As a result, Defendants are liable to Plaintiff and members ofthe Non-Exempt


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     1 Production Employee class for waiting time penalties pursuant to Labor Code §203, in an amount

     2 according to proof at the time of trial.

     3                                    THIRD CAUSE OF ACTION
     4           FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
     5                                      (Against All Defendants)
     6          57.    Plaintiff incorporates and re-alleges each and every allegation contained above as
     7 though fully set forth herein.

     8          58.    Section 226(a) states that An employer, semimonthly or at the time of each
     9 payment of wages, shall furnish to his or her employee, either as a detachable part of the check,

    10 draft, or voucher paying the employee's wages, or separately if wages are paid by personal check

    1 1 or cash, an accurate itemized statement in writing showing (1) gross wages earned,(2)total hours

    12 worked by the employee, except as provided in subdivision (j),(3) the number of piece-rate units

    13 earned and any applicable piece rate if the employee is paid on a piece-rate basis, (4) all

    14 deductions, provided that all deductions made on written orders of the employee may be

    15 aggregated and shown as one item,(5) net wages earned,(6) the inclusive dates of the period for

    16 which the employee is paid,(7)the name ofthe employee and only the last four digits of his or her

    17 social security number or an employee identification number other than a social security number,

    18 (8)the name and address ofthe legal entity that is the employer.

    19          59.    Section 226(a)ofthe California Labor Code requires Defendants to itemize in wage
    20 statements all deductions from payment of wages and to accurately report total hours worked by

    21 Plaintiff and the Class including applicable hourly rates among other things. Defendants have

    22 knowingly and intentionally failed to comply with Labor Code section 226 and 204 on wage

    23 statements that have been provided to Plaintiff and the Class.

    24         60.     IWC Wage Orders require Defendants to maintain time records showing, among
    25 others, when the employee begins and ends each work period, meal periods, split shift intervals

    26 and total daily hours worked in an itemized wage statement, and must show all deductions and

    27 reimbursements from payment of wages, and accurately report total hours worked by Plaintiff and

    28 the Class. On information and belief, Defendants have failed to record all or some of the items


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     1 delineated in Industrial Wage Orders and Labor Code §226.

     2          61.     Defendants have failed to accurately record all time worked.
     3          62.     Defendants have also failed to accurately record the meal and rest period premiums
     4 owed and all wages owed per pay period.

     5          63.     Plaintiff and the Class have been injured as they were unable to determine whether
     6 they had been paid correctly for all hours worked per pay period among other things.

     7          64.     Pursuant to Labor Code section 226, Plaintiff and the Class are entitled up to a
     8 maximum of$4,000 each for record keeping violations.

     9          65.     Pursuant to Labor Code section 226.3, any employer who violates subdivision (a)
    10 of Section 226 shall be subject to a civil penalty in the amount of two hundred fifty dollars ($250)

    11 per employee per violation in an initial citation and one thousand dollars ($1,000) per employee

    12 for each violation in a subsequent citation, for which the employer fails to provide the employee a

    13 wage deduction statement or fails to keep the records required in subdivision (a)of Section 226.

    14                                   FOURTH CAUSE OF ACTION
    15                FAILURE TO ACCURATELY RECORD AND PAY SICK LEAVE

    16                                      (Against All Defendants)

    17          66.    Plaintiff incorporates and re-alleges each and every allegation contained above as

    18 though fully set forth herein.

    19          67.    Labor Code Section 246(i) provides that: "an employer shall provide an employee

    20 with written notice that sets forth the amount ofpaid sick leave available, or paid time off leave an

    21 employer provides in lieu of sick leave, for use on either the employee's itemized wage statement

    22 described in Section 226 or in a separate writing provided on the designated pay date with the

    23 employee's payment of wages. If an employer provides unlimited paid sick leave or unlimited

    24 paid time off to an employee, the employer may satisfy this section by indicating on the notice or

    25 the employee's itemized wage statement 'unlimited.' The penalties described in this article for a

    26 violation ofthis subdivision shall be in lieu ofthe penalties for a violation of Section 226."

    27          68.    Labor Code § 246 provides that the employer shall calculate paid sick leave by

    28 using one of two calculations:(1)"Paid sick time for nonexempt employees shall be calculated in


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     1 the same manner as the regular rate of pay for the workweek in which the employee uses paid sick

     2 time, whether or not the employee actually works overtime in that workweek;" or (2)"Paid sick

     3 time for nonexempt employees shall be calculated by dividing the employee's total wages, not

     4 including overtime premium pay, by the employee's total hours worked in the full pay periods of

     5 the prior 90 days of employment."

     6          69.    Whenever Defendants paid Plaintiff and Class Members sick time pursuant to
     7 California Labor Code § 246, Defendant did so at the incorrect rate of pay. Defendants paid

     8 Plaintiff and the Class Members at the incorrect rate of pay and/or base hourly rate of pay, as

     9 opposed to the regular rate of pay, which would take into account all night premiums and/or shift

    10 differentials, or by dividing the employees' total wages, not including overtime premium pay, by

    11 the employees' total hours worked in the full pay periods of the prior 90 days of employment, as

    12 required by Labor Code § 246. This resulted in the employees being underpaid for sick time, and

    13 resulted in violations of California Labor Code §§ 201, 202, and 203, and other derivative Labor

    14 Code violations, because Defendant did not pay, or timely pay, Plaintiff and the unpaid wages for

    15 work performed by them during their employment and at the end of their employment.

    16          70.    As a result of the unlawful acts of Defendant, Plaintiff and Class Members have
    17 been deprived of sick pay in amounts to be determined at trial, and are entitled to the recovery of

    18 such amounts, plus interest and penalties thereon, attorneys' fees, and costs.

    19                                        FIFTH CAUSE OF ACTION
    20                   FAILURE TO INDEMNIFY NECESSARY BUSINESS EXPENSES
    21                                         (Against All Defendants)
    22         71.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    23 though fully set forth herein.

    24         72.     Labor Code § 2802 requires Defendants to indemnify Plaintiff and Class Members
    25 for necessary expenditures incurred in direct consequences ofthe discharge of his or her duties. As

    26 a necessary part of employment, Plaintiff and on information and belief Class Members, were not

    27 adequately reimbursed by Defendants for expenses related to all expenses incurred as a result of

    28 their personal cellphone usage and personal funds usage as described above, which was incurred


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     I as a direct consequence of the discharge of duties by Plaintiff and Class Members. Despite these

     2 realities of the job, Defendants failed to provide reimbursements.

     3          73.    Labor Code §2804 states in pertinent part: "Any contract or agreement, express or
     4 implied, made by any employee to waive the benefits of this article or any part thereof is null and

     5 void, and this article shall not deprive any employee or his or her personal representative of any

     6 right or remedy to which he is entitled under the laws of this State.

     7          74.    As a result of the unlawful acts of Defendants, Plaintiff and the Class Members
     8 have been deprived of un-reimbursed expense amounts to be determined at trial, and are entitled to

     9 the recovery of such amounts, plus interest and penalties thereon, attorneys' fees, and costs,

    10 pursuant to Labor Code § 2802.

    11                                        SIXTH CAUSE OF ACTION
    12                 VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200, et.seq.
    13                                         (Against All Defendants)
    14          75.    Plaintiff incorporates and re-alleges each and every allegation contained above as
    15 though fully set forth herein.

    16          76.    Defendants' conduct, as alleged in this complaint, has been, and continues to be,
    17 unfair, unlawful, and harmful to Plaintiff and Class Members, Defendants' competitors, and the

    18 general public. Plaintiff seeks to enforce important rights affecting the public interest within the

    19 meaning ofthe California Code of Civil Procedure §1021.5.

    20          77.    Defendants' policies, activities, and actions as alleged herein, are violations of
    21 California law and constitute unlawful business acts and practices in violation of California

    22 Business and Professions Code §§17200, et seq.

    23          78.    A violation of California Business and Professions Code §§17200, et seq., may be
    24 predicated on the violation of any state or federal law. Defendants' policy of failing to accurately

    25 pay overtime, failing to pay minimum wages, failing to reimburse expenses, failing to provide

    26 accurate itemized wage statements and failing to accurately pay Plaintiff and Class Members sick

    27 pay, violates Labor Code § 226, §246, §512, § 226.7, § 246, § 1194, § 2802, and applicable IWC

    28 Wage Orders and California Code of Regulations.


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     1          79.    Plaintiff and Class Members have been personally aggrieved by Defendants'
     2 unlawful and unfair business acts and practices alleged herein by the loss of money and/or

     3 property.

     4         80.     Pursuant to California Business and Professions Code §§17200, et seq., Plaintiff
     5 and Class Members are entitled to restitution of the wages withheld and retained by Defendants

     6 during a period that commences four (4) years prior to the filing of this complaint; an award of

     7 attorneys' fees, interest; and an award of costs.

     8                                       PRAYER FOR RELIEF

     9                 WHEREFORE,Plaintiff prays forjudgment against Defendants, as follows:

    10                                           Class Certification

    11          1.     That this action be certified as a class action;

    12         2.      That Plaintiff be appointed as the representative ofthe Class;

    13         3.      That Plaintiff be appointed as the representative ofthe Subclass; and

    14         4.      That counsel for Plaintiff is appointed as counsel for the Class and Subclass.

    15                                      On the First Cause of Action

    16          1.     For compensatory damages equal to the unpaid balance of minimum wage

    17 compensation and overtime owed to Plaintiff and Class members as well as interest and costs;

    18         2.      For reasonable attorneys' fees and costs pursuant to Labor Code §§ 510, and 1194;

    19         3.      For liquidated damages in an amount equal to the wages unlawfully unpaid and

    20 interest thereon pursuant to Labor Code §§ 1194.2, 558;

    21         4.      For such other and further relief as the Court deems proper.

    22                                    On the Second Cause of Action

    23          1.     For statutory penalties pursuant to Labor Code §203;

    24         2.      For interest for wages untimely paid; and

    25         3.      For such other and further relief as the Court deems proper.

    26                                     On the Third Cause of Action

    27         1.      For statutory penalties pursuant to Labor Code §226;

    28         2.      For interest for wages untimely paid;


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     1         3.     For penalties pursuant to Labor Code §266.3; and
     2         4.     For such other and further relief as the Court deems proper.
     3                                         On the Fourth Cause of Action
     4         1.     For unpaid sick leave;
     5         2.     For penalties pursuant to Labor Code § 203;
     6         3.     For interest;
     7         4.     For reasonable attorneys' fees and costs pursuant to statute; and
     8         5.     For such other and further relief as the Court deems proper
     9                                    On the Fifth Cause of Action
    10         1.     For statutory penalties pursuant to Labor Code §2802;
    11         2.     For interest for wages untimely paid; and
    12         3.     For such other and further relief as the Court deems proper.
    13                                    On the Sixth Cause of Action
    14         1.     That Defendants, jointly and/or severally, pay restitution of sums to Plaintiff and
    15 Class Members for their past failure to accurately pay overtime, failing to pay minimum wages,

    16 failing to reimburse expenses, failing to accurately pay sick leave, failing to provide accurate

    17 itemized wage statements;

    18         2.     For pre-judgment interest on any unpaid wages due from the day that such amounts
    19 were due;

    20         3.     For reasonable attorneys' fees that Plaintiff and Class Members are entitled to
    21 recover;

    22         4.     For costs of suit incurred herein; and
    23         5.     For such other and further relief as the Court deems proper.
    24

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                                        DEMAND FOR JURY TRIAL
     2         Plaintiff and members ofthe Class and Subclass request ajury trial in this matter.
     3

     4

     5
         Dated: February 28, 2022                    JAMES HAWKINS APLC
     6

     7                                               By:
                                                           JAMES R. HAWKINS,ESQ.
     8                                                     GREGORY MAURO,ESQ.
                                                           MICHAEL CALVO,ESQ.
     9                                                     LAUREN FALK,ESQ.
                                                           AVA ISSARY,ESQ.
    10                                                     Attorneys for Plaintiff DAVID YUREVICH
                                                           JR. individually and on behalf of all others
    11                                                     similarly situated.
    12

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                  SUPERIOR COURT OF CALIFORNIA
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                   NOTICE OF CASE ASSIGNMENT                                                e a                                Cli2tfaircengi
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                         UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCV07221

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                    ASSIGNED JUDGE                       DEPT          ROOM
         Kenneth R. Freeman                 14




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 03/01/2022                                                        By J. Covarrubias                                      ,Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                              EXHIBIT A, p. 25
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days ofthe filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A stattis conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                              EXHIBIT A, p. 26
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                                                                         Sherri Carter,.0       Officer/Petit
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                                                                          fly                      ,Deputy
4'                                                                                   ifida Mina

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                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                   FOR THE COUNTY OF LOS ANGELES
7

8 IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
  — MANDATORY ELECTRONIC FILING )
9 FOR CIVIL

10

11

12          On December 3, 2018,the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:

18   1) DEFINMONS
19      a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling Portal" The official court website includes a webpage,referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electron. Envelope" A transaction through the electronic service provider for submission
24          ofdocuments to the Court for processing which may contain one or more PDF documents
25          attached.

        d) "Electronic Filing" Electronic Filing (eFiling)is the electronic transmission to a Court of a
27          document 41 electronic form.(California Rules of Court, rule 2.250(b)(7).)
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                            EXHIBIT A, p. 27
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                                                                                             2019-GEN-014-00




      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
2        person or entity that receives an electronic filing from a party for retransmission to the Court.
3        In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5     f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7       (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8        2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
9        process attached to or logically associated with an electronic record and executed or adopted
10       by a person with the intent to sign the electronic record.
11    g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12       in a hypertext or hypermedia document to another in the same or different document.
13    h)"Portable Document Format" A digital document format that preserves all fonts,
14       formatting, colors and graphics of the original source document,regardless of the application
15       platform used.

16   ) MANDATORY ELECTRONIC FILING
17    a) Trial Court Records
18       Pursuant to Government Code section 68150, trial court records may be created, maintained,
19       and preserved in electronic format. Any document that the Court receives electronically must
20       be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21       official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22    b) Represented Litigants
23       Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24       electronically file documents with the Court through an approved EFSP.
25    c) Public Notice
26       The Court has issued a Public Notice with effective dates the Court required parties to
27       electronically file documents through one or more approved EFSPs. Public Notices containing
28       effective dates and the list of EFSPs are available on the Court's website, at,www.lacourt.org.


                   FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                         EXHIBIT A, p. 28
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 1        d) Documents in Related Cases
2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been implemented in that case type, regardless of whether the case has
4            been related to a Civil case.
5    3)-EXEMPT LITIGANTS
6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7            from mandatory electronic filing requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.

12 4 EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                 Civil Procedure sections 170.6 or 170.3;
16           ii)   Bonds/Undertaking documents;
17                 Trial and Evidentiary Hearing Exhibits
18           iv) Any ex parte application that is filed concurrently with a new complaint including those
19                 that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20           v) Documents submitted conditionally under seal. The actual motion or application shall be
21                 electronically filed. A courtesy copy of the electronically filed motion or application to
22                 submit documents conditionally under seal must be provided with the documents
23                 submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
27 // .

28 //

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                            EXHIBIT A, p. 29
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 1 , 5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

 2     Electronic filing service providers must obtain and manage registration information for persons
 3     and entities electronically filing with the court.
 4 6) TECHNICAL REQUIREMENTS

 5     a) Electronic documents must be electronically filed in PDF,text searchable format when
 6         technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookmarked.
 8     c) Electronic documents,including but not limited to, declarations, proofs of service, and
 9         exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10         3.1110(0(4). Electronic bookmarks must include links to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
14         limited to, the following:
15         i)    Depositions;
16               Declarations;
17               Exhibits (including exhibits to declarations);
18         iv)   Transcripts (including excerpts within transcripts);
19         v)    Points and Authorities;
20         vi)   Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23         encouraged.
24     0   Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26 •       digital PDF document.
27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.

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                      FIRST AMENDED GENERAL ORDER kt MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                          EXHIBIT A, p. 30
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                                                                                                2019-GEN-014-00


 1       h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3:       i) Sealed Documents

4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
9.          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information(such as using initials for names of minors, using the last four
11   •      digits of a social security number, and using the year for date of birth) so that the information
12 •        shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14 •     a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any Other provision of this order,if a digital document is not filed in due
21              course because of: (1) an interruption in service;(2)a transmission error that is not the
22              fault of the transmitter; or(3)a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28          than 10:00 a.m. the court day before the ex parte hearing.


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL'
                                                                                           EXHIBIT A, p. 31
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                                                                                            2019-GEN-014-00




       b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4 9) PRINTED COURTESY COPIES

5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7         the ailing is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12              Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14              Pleadings and motions that include points and authorities;
15       iv)    Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17       vi)    Motions for Summary Judgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.org on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24        received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(0, may be
28        electronically filed in any authorized action or proceeding. _

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                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                       EXHIBIT A, p. 32
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       1) SIGNATURES ON ELECTRONIC FILING
.2        For purposes of this General Order, all electronic filings must be in compliance with California
 3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4'        Division of the Los Angeles County Superior Court.
 5

 6            This First Amended General Order supersedes any previous order related to electronic filing,
 7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8 'Supervising Judge and/or Presiding Judge.

 9

10     DATED: May 3,2019
                                                            KEVIN C.BRAZILE
11
                                                            Presiding Judge
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                         FIRST AMENDED GENERAL ORDER RE MANDATORY tLEMOWIt FILING FOR eVIL
                                                                                             EXHIBIT A, p. 33
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 32 of 186 Page ID
                                  #:53
      SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                             Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22STC07221                                                                           March 14, 2022
   DAVID YUREVICH JR. vs INTERSTATE-RIM                                                       2:00 PM
   MANIGEMENT COMPANY,LLC,et al.


   Judge: klonorable Kenneth R. Freeman                CSR: None
   Judiciq Assistant: B. Guerrero                      ERM:None
   Courtroom Assistant: C. Gomez                       Deputy Sheriff: None

   APPEARANCES:
   For Plaintiff(s): No Appearances
   For De endant(s): No Appearances

          i
   NATURE OF PROCEEDINGS: Court Order Regarding Newly Filed Class Action;

   By this order, the Court determines this case to be Complex according to Rule 3.400 of the
   California Rules of Court. The Clerk's Office has assigned this case to this department for all
   purposes.

   Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee ofone
   thousand dollars($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
   fee ofime thousand dollars($1,000.00) must be paid for each defendant, intervenor, respondent
   or adverse party, not to exceed,for each separate case number,a total of eighteen thousand
   dollars',($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
   All sueh fees are ordered to be paid to Los Angeles Superior Court, within ten(10)days of
   service of this order.
           1
   By th4 order, the Court stays the case, except for service of the Summons and Complaint. The
   stay cOtinues at least until the Initial Status Conference. Initial Status Conference is set for
   06/03/2022 at 10:00 AM in this department. At least ten(10)days prior to the Initial Status
           1    •
   Conference counsel for all parties must discuss the issues set forth in the Initial Status
           1 '
   Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
   Staterrilent five(5)court days before the Initial Status Conference.

   The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
   Court hnd the parties manage this complex case by developing an orderly schedule for briefing,
   discoNiery, and court hearings. The parties are informally encouraged to exchange documents and
   information as may be useful for case evaluation.

   Respo'nsi've pleadings shall not be filed-until further Order of the Court. Parties must file a.Notice
   of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
                                              Minute Order                                  Page 1 of3

                                                                                         EXHIBIT A, p. 34
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 33 of 186 Page ID
                                  #:54
      SlaRIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
     •  I                 Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22STCV07221                                                                          March 14,2022
   DAVID YUREVICH JR. vs INTERSTATE-RIM                                                       2:00 PM
   MANAGEMENT COMPANY,LLC,et at.
         1

   Judge: tfonorable Kenneth R.Freeman                 CSR: None
   Judicid Assistant: B. Guerrero                      ERM:None
   Courtroom Assistant: C. Gomez                       Deputy Sheriff: None

  Appearance shall not constitute a waiver ofany substantive or procedural challenge to the
  Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
  Code of Civil Procedure Section 170.6. Nothing in this order stays the filing ofan Amended
  Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
  Private Attorney General Act("PAGA")claim.

   For information on electronic filing in the Complex Courts, please refer to
    https://www.lacourtorg/division/efiling/efiling2.aspxiicivil. See, in particular, the link therein for
  "Complex Civil efiling." Parties shall file all documents in conformity with the Presiding Judge's
  • First AMended General Order of May 3,2019, particularly including the provisions therein
    requiring Bookmarking with links to primary documents and citations; that Order is available on
    the Coiirt's website at the link shown above.

   For efficiency in communication with counsel, the complex program requires the parties in every
   new cake to use an approved third-party cloud service that provides an electronic me_ssage board.
   In order to facilitate communication with counsel prior to the Initial Status Conference, the
   partiesimust sign-up with the e-service provider at least ten (10)court days in advance of the
   Initial Status Conference and advise the Court which provider was selected.

   The clurt has implemented LACourtConnect to allow attorneys, self-represented litigants and
   partiesi to make audio or video appearances in Los Angeles County courtrooms.
   LACourtConnect technology provides a secure, safe and convenient way to attend hearings
   remotely. A key element ofthe Court's Access LACourt YOUR WAY program to provide
   services and access to justice, LACourtConnect is intended to enhance social distancing and
   change the traditional in-person courtroom appearance model. See
   https:/ .lacourt.org/laccwelcome for more information.

  This Complex Courtroom does not use Los Angeles Superior Court's Court Reservation("CRS")
  portal tI o reserve motion hearing dates. Rather, counsel may secure dates by calling the
  Courtrpom Assistant at 213-310-70xx with the "xx" being the Department number, e.g. Dept. I
  is 01 and Dept. 10 is 10.

   Court reporters are not provided for hearings or trials. The parties should make their own
   arrangements for any hearing where a transcript is desired.
        I
   Ifyou,believe a party or witness will need an interpreter, see the court's website for information
   on how to make such a request in a timely manner. https://www.lacourt.org/irud/U1/index.aspx
        1                                    Minute Order                                   Page 2 of3
         1
                                                                                          EXHIBIT A, p. 35
         I
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                                  #:55
      SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                             Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22S1CV07221                                                                       March 14,2022
   DAVIDNUREVICH JR. vs INTERSTATE-RIM                                                     2:00 PM
   MANAGEMENT COMPANY,LLC,et at.


   Judge: Tonorable Kenneth R. Freeman              CSR: None
   Judiciq Assistant: B. Guerrero                   ERM:None
   Courtroom Assistant: C. Gomez                    Deputy Sheriff: None


   Counsel are directed to access the following link for further information on procedures in the
   Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/C10042.aspx.

   The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
   Order on all parties forthwith and file a Proofof Service in this department within seven(7)days
   ofseMce.

   Certificate of Mailing is attached.




                                            Minute Order                                 Page 3 of3

                                                                                      EXHIBIT A, p. 36
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 35 of 186 Page ID
                                  #:56
                                                                                        Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES.
COURTHOUSE ADDRESS:                                                                               FILED
                                                                                       Sup' orior Court of Califmnia
Spring Stree,t Courthouse.                                                               County of LosAngslas
312 North Spring Street, Los Angeles, CA 90012
                                                                                             03/14(2022
PLAINTIFF/PETITIONER:                                                        Strerri    CaAr,,SAcc.f.e.   Cffr4cc I Cicilvot Cow
DAVID YUROIICH JR.                                                             Eht                 Guartero           Den.vty
DEFENDANT/R4SPONDENT:
Interstate-RiM Management Company, LLC et al
                                                                             CASE NUMBER:
                        CERTIFICATE OF MAILING                               22STCV07221

I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the Cause herein, and that on this date I served the Minute Order(Court Order Regarding Newly
Filed Class Action* of 03/1412022, Initial Status Conference Order upon each party or counsel named
below by placing the document for collection and mailing so as to cause it to be deposited in the United
States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
separate sealed envelope to each address as shown below with the postage thereon fully prepaid, in
accordance With standard court practices.




    James R Hawkins
    James Hawkins APLC
    9880 Research Drive, Suite 200
    Irvine, CA 92618




                                                      Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 03/115/2022                                     By: B. Guerrero
                                                           Deputy Clerk -




                                                                                                   EXHIBIT A, p. 37
                                       CERTIFICATE OF MAILING
  Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 36 of 186 Page ID
                                    #:57

                'Superior Court of California, County of Los Angeles




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers,they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 04/21
   For Mandatory Use
                                                                                                                Page 1 of 2


                                                                                                  EXHIBIT A, p. 38
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                                   #:58



                                 How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                  • ADR Services,Inc. Case Manager Elizabeth Sanchez,elizabeth@adrservices.com
                    (949)863-9800
                  • JAMS,Inc. Assistant Manager Reggie Joseph, FtJoseph@jamsadr.com (310)309-6209
                  • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                    (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b. Los Angeles County Dispute Resolution Programs
             https://hrc.lacountv.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

              Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
              should carefully review the Notice and other information they may receive about(ODR)
              requirements for their case.

          c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      argumentsto the person who decides the outcome. In "binding" arbitration,the arbitrator's
      decision is final; there is no righttotrial. In "nonbinding" arbitration, any party can request a
      trial afterthe arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.la court.oradivision/civil/C10047.aspx

      Los Angeles Superior Court AD R website: http://www.la court.org/division/civil/C10109.a spx
      For general information and videos about ADR,visit http://www.courts.ca.gov/programs-adr.htm


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For Mandatory Use                                                                                           Page 2 of2

                                                                                                       EXHIBIT A, p. 39
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                                                                       Sherd R.            2022
     4                                                                          Carter,
                                                                                    Executive
                                                                            By: Berta         Officertferk of Court
     5                                                                                Guerrero, Deputy

     6
     7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
     8                                     COUNTY OF LOS ANGELES
    9                                          CENTRAL DISTRICT
   10 DAVID YUREVICH JR                                     Case No.22STCV07221
                                                           INITIAL STATUS CONFERENCE ORDER
   11                                                      (COMPLEX LITIGATION PROGRAM)
                      Plaintiff,
                VS.
    12                                                      Case Assigned for All Purposes to
    13                                                      Judge Kenneth R. Freeman
       INTERSTATE-RIM MANAGEMENT
    14 COMPANY,et al                                        Department: 14
                Defendants.                                 Date:      June 3,2022
   15                                                       Time:       10:00 a.m.

   16
                Due to the pandemic and the urgent need to avoid court appearances, the parties MUST
    17
    18 sign up with an e- service provider at least ten court days in advance of the Initial Status
   19 Conference and advise the Court, via email to sscdept14@lacourt.org, which provider was
   20 selected.
   21
                This case has been assigned for all purposes to Judge Kenneth R. Freeman in the Complex
   22
         Ligation Program. An Initial Status Conference is set for June 3,2022,at 10:00 a.m.,in
   23
         Department 14 located in the Spring Street Courthouse,at United States District Court, at/312
   24
   25 N. Spring Street, Los Angeles, California 90012. Counsel for all the parties are ordered to attend.
   26           The Court orders counsel to prepare for the Initial Status Conference by identifying and

   27 discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
   28

                                        INITIAL STATUS CONFERENCE ORDER                      EXHIBIT A, p. 40
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 39 of 186 Page ID
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         initiate contact with counsel for defense to begin this process. Counsel then must negotiate and
     1
          j
     2 a ree, as possible, on a case management plan. To this end,counsel must file a
                                                                                      Joint Initial Status

     3 Conference Class Action Response Statement ten (10) court days(June 3,2022 and provide a
     4 conformed courtesy copy DIRECTLY in Department 14) before the Initial Status Conference.
     5 The Joint Response Statement must be filed on line-numbered pleading paper and must
     6
         s1ecifically answer each of the below-numbered questions. Do not the use the Judicial Council
     7
         F rm CM-110(Case Management Statement)for this purpose.
     8
                 1. PARTIES AND COUNSEL: Please list all presently-named class representatives and
     9
    10 presently-named defendants,together with all counsel of record, including counsel's contact and
    11 email information.
    12           2. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add
    13
         rlore
           ua class representatives? If so, and if known, by what date and by what name? Does any
   14
         p aintiff presently intend to name more defendants? If so, and if known, by what date and by what
   15
         ni   e? Does any appearing defendant presently intend to file a cross-complaint? If so, who will
   16
    17 be named.
    18           3. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong

   19 person or entity, please explain.
   20            4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party
   21
         believes one or more named plaintiffs might not be an adequate class representative, please
   22
         explain. No prejudice will attach to these responses.
   23
                 5. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.
   24
   25           6. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list

   26 other cases with overlapping class definitions. Please identify the court, the short caption title, the
   27 docket number, and the case status.
   28
                                                         -2-
                                        INITIAL STATUS CONFERENCE ORDER                EXHIBIT A, p. 41
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 40 of 186 Page ID
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                7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
     1
                                                                             Opposing parties must
    2 'VtIAIVER CLAUSES: Please include a sample of any clause of this sort.
    3    SU rnmarize their views on   this issue.

    4           8. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identify and
    5      scribe the significant core issues in the case. Counsel then are to identify efficient ways to
    6
         resolve those issues. The vehicles include:
    7
             II Early motions in limine,
    8
            • Early motions about particular jury instructions,
    9
   10       • Demurrers,

   11       • Motions to strike,
    12      • Motions forjudgment on the pleadings, and
    13
            • Motions for summary judgment and summary adjudication.
   14
                9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information
   15
         from the defendant's records? If so, do the parties consent to an "opt-out" notice process(as
   16
   17 approved in Belaire-West Landscape, Inc. v: Superior Court(2007) 149 Cal.App.4th 554,561)to
   18 precede defense delivery of this information to plaintiff's counsel? If the parties agree on the
   19 notice process, who should pay for it? Should there be a third-party administrator?
   20           10. PROTECTIVE ORDERS: Parties considering an order to protect confidential
   21
         information from general disclosure should begin with the model protective orders found on the
   22
             Angeles Superior Court Website under "Civil Tools for Litigators."
   23
                11. DISCOVERY: Please discuss discovery. Do the parties agree on a plan? If not, can
   24
   25      e parties negotiate a compromise? At minimum,please summarize each side's views on

   26     iscovery. The Court generally allows discovery on matters relevant to class certification, which

   27 depending on circumstances) may include factual issues also touching the merits. The Court
   28
                                                          -3-
                                          INITIAL STATUS CONFERENCE ORDER                EXHIBIT A, p. 42
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 41 of 186 Page ID
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         generally does not permit extensive or expensive discover)/ relevant only to the merits (for
     1
          J
     2 e ample, detailed damages discovery) unless a persuasive showing establishes early
                                                                                          need. If any

     3 party seeks discovery from absent class members, please estimate how many,and also state the
     4 kind of discovery you propose'.
     5
                   12. INSURANCE COVERAGE: Please state if there is insurance for indemnity or
     6
         r imbursement.
     7
                   13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each
     8
     9 p y's position about it. If pertinent, how can the Court help identify the correct neutral and
    10 prepare the case for a successful settlement negotiation?
    11             14. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for
    12     e following:
    13        • The next status conference,
    14
              • A schedule for alternative dispute resolution,if it is relevant,
    15
              • A filing deadline for the motion for class certification, and
    16
    17        •Filing deadlines and descriptions for other anticipated non-discovery motions.

    18         ' 15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program

    19 requires the parties in every new case to use a third-party cloud service. While the parties are free
   20 to choose one of the services shown below, this Court(Department 14) prefers that the parties
   21
         Jelect:
   22
              • Case Anywhere (http://www.caseanywhere.com).
   23
              The parties are not required to select Case Anywhere, but may chose instead either
   24
   25         •File & Serve Xpress(https://secure.fileandservexpress.com) or

   26
   27         I See California Rule of Court, Rule 3.768.
   28
                                                            -4-
                                         INITIAL STATUS CONFERENCE ORDER              EXHIBIT A, p. 43
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 42 of 186 Page ID
                                  #:63



             • CaseHomePage(http://www.casehomepage.com).
     1
     2          Please agree on one and submit the parties' choice when filing the Joint Initial Status

    3 Conference Class Action Response Statement. If there is agreement, please identify the vendor. If
    4 parties cannot agree, the Court will select the vendor at the Initial Status Conference. Electronic
     5 service is not the same as electronic filing. Only traditional methods of filing by physical delivery
     6
         of original papers or by fax filing are presently acceptable.
    7
                 Reminder When Seeking To Dismiss Or To Obtain Settlement Approval:
    8
                "A dismissal of an entire class action, or of any party or cause of action in a class action,
    9
   10 r quires Court approval ... Requests for dismissal must be accompanied by a declaration setting
    11 forth the facts on which the party relies. The declaration must clearly state whether consideration,
   12 irect or indirect, is being given for the dismissal and must describe the consideration in detail."2
      d
   13
         If the parties have settled the class action, that too will require judicial approval based on a noticed
   14
         motion (although it may be possible to shorten time by consent for good cause shown).
   15
                Pending further order of this Court, and except as otherwise provided in this Initial Status
   16
   17 Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the filing
   18 of any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the Court.
   19 I-owever, any defendant may file a Notice of Appearance for purposes of identification of counsel
   20    4nd preparation of a service list. The filing of such a Notice of Appearance shall be without
   21
         prejudice to any challenge to the jurisdiction of the Court, substantive or procedural challenges to
   22
         tlhe Complaint, without prejudice to any affirmative defense, and without prejudice to the filing of
   23
         any cross-complaint in this action. This stay is issued to assist the Court and the parties in
   24
   25     anaging this "complex" case through the development of an orderly schedule for briefing and

   26
         r
   27        2 California Rule of Court, Rule 3.770(a)

   28
                                                          -5-
                                         INITIAL STATUS CONFERENCE ORDER                  EXHIBIT A, p. 44
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 43 of 186 Page ID
                                  #:64



         hearings on procedural and substantive challenges to the complaint and other issues that may
     1
    2 assist in the orderly management of these cases. This stay shall not preclude the parties from
    3 informally exchanging documents that may assist in their initial _evaluation of the issues presented
    4 in this case, however shall stay all outstanding discovery requests.
     5          Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order on
    6
         counsel for all parties, or if counsel has not been identified, on all parties, within five(5)days of
    7
         service of this order. If any defendant has not been served in this action, service is to be completed
    8
          ithin twenty(20) days of the date of this order.
    9
    10          Dated:

   •11
                                                         KENNETH R. FREEMAN
    12
    13                                                   Judge Kenneth R. Freeman

   14
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                                                          -6-
                                        INITIAL STATUS CONFERENCE ORDER                  EXHIBIT A, p. 45
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 44 of 186 Page ID
                                  #:65
                                                                                     Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
COURTHOUSE DDRESS:                                                                            FILED
                                                                                    Superior Court of California
Spring Street Courthouse                                                              County of lzsAng9las
312 North Spring Street, Los Angeles, CA 90012
                                                                                          03/14i2022
PLAINTIFF/PEtIONER:                                                                          ; u Ofccr1 CoA a!Cait:
DAVID YUREVICH JR.                                                            ay:            L. Guarrero  DEavly
DEFENDANT/RESPONDENT:
Interstate-Rim Management Company, LLC et al
                                                                             CASE NUMBER:
                      CERTIFICATE OF MAILING                                 22STCV07221

I,the below-hamed Executive Officer/Clerk of the above-entitled court, do hereby certify that!am not a
party to the ause herein, and that on this date I served the Minute Order(Court Order Regarding Newly
Filed Class Action3 of 03/14/2022, Initial Status Conference Order upon each party or counsel named
below by plOcing the document for collection and mailing so as to cause it to be deposited in the United
States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
separate sealed envelope to each address as shown below with the postage thereon fully prepaid,in
accordance with standard court practices.




    James R. Hawkins
    James Hawkins APLC
    9880 RAearch Drive, Suite 200
    Irvine, CIA 92618




                                                      Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 03/15/2022,_                                    By: B. Guerrero,
                                                           Deputy Clerk -




                                       CERTIFICATE OF MAILING                                  EXHIBIT A, p. 46
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 45 of 186 Page ID
                                  #:66



                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                      The Early Organizational Meeting Stipulation, Discovery
                                   Resolution Stipulation, and Motions in Limine Stipulation are
 Superior Court of California      voluntary stipulations entered into by the parties. The parties
 County of Los Angeles

                                   may enter into one, two, or all three of the stipulations;
                                   however, they may not alter the stipulations as written,
   LACBA_            M111:X1,4r,   because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                   These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                   between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Lai/it Section         manner that promotes economic case resolution and judicial
                                   efficiency.

      IIII
 Consumer Attorneys
                                       The following     organizations endorse the goal of
 Association of Los Angeles        promoting efficiency in litigation and ask that counsel
                                   consider using these stipulations as a voluntary way to
                                   promote communications and procedures among counsel
                                   and with the court to fairly resolve issues in their cases.

                                   •Los Angeles County Bar Association Litigation Section*
 Southern California
 Defense Counsel
                                            •Los Angeles County Bar Association

 4siickWir01„,   '. t,um-43'
                                                 Labor and Employment Law Section*
         abir
 Association of
 Business Trial Lawyers               *Consumer Attorneys Association of Los Angeles*


                                            *Southern California Defense Counsel*


                                           *Association of Business Trial Lawyers*

 California Employment
 Lawyers Association
                                        *California Employment Lawyers Association*


       LACIV 230(NEW)
       LASC Approved 4-11
       For Optional Use
                                                                                        EXHIBIT A, p. 47
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 46 of 186 Page ID
                                   #:67



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for aeries FUe Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                   Page 1 of 2
                                                                                                    EXHIBIT A, p. 48
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                                  #:68
  SHORT TITLE:                                                                  CASE NUMBER:




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

        h. Computation of damages, including documents, not privileged or protected from disclosure, on
           which such computation is based;

        i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
           www.lacourtorq under "Civit and then under "General Information").

  2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                 to                         for the complaint, and                             for the cross-
                         (INSERT DATE)                                    (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lacourtorci under "Civil",
                 click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

  3.         The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way it may assist the parties'
             efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and file the documents when the CMC
             statement is due.

 4.          References to "days" mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day

  The following parties stipulate:
  Date:

                   (TYPE OR PRINT NAME)                                    (ATTORNEY FOR PLAINTIFF)
  Date:

                   (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                             (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                             (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                              (ATTORNEY FOR


  LACIV 229(Rev 02/15)
  LASC Approved 04/11         STIPULATION — EARLY ORGANIZATIONAL MEETING                                Page 2 of 2
                                                                                               EXHIBIT A, p. 49
  Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 48 of 186 Page ID
                                    #:69

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp

                                                                                     '




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):                                                     -
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.     Also be filed on the approved form (copy attached);

                     ii.     Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                   Page 1 of 3
                                                                                                     EXHIBIT A, p. 50
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 49 of 186 Page ID
                                  #:70
  SHORT TITLE:                                                                   CASE NUMBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

        d. If the Court has not granted or denied the Request for Informal Discovery Conference
           within ten (10) days following the filing of the Request, then it shall be deemed to have
           been denied. If the Court acts on the Request, the parties will be notified whether the
           Request for Informal Discovery Conference has been granted or denied and, if granted,
           the date and time of the Informal Discovery Conference, which must be within twenty (20)
           days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

  5. The parties hereby further agree that the time for making a motion to compel or other
     discovery motion is tolled from the date of filing of the Request for Informal Discovery
     Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
     filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
     by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

  7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
     terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



  LACIV 036(new)
  LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                                       Page 2 of 3
                                                                                                EXHIBIT A, p. 51
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                                  #:71
  SHORT TITLE                                                    CASE NUMBER:




  The following parties stipulate:

  Date:

                (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
  Date:

                (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                  (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                  (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                  (ATTORNEY FOR




  LACIV 036(new)
  LASC Approved 04/11        ;STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                       Page 3 of 3

                                                                                EXHIBIT A, p. 52
  Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 51 of 186 Page ID
                                    #:72



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                    STATE BAR NUMBER                         Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                      FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR.(Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                       .


PLAINTIFF:


DEFENDANT:

                                                                                                          CASE NUMBER:
                •   INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                  LII        Request for Informal Discovery Conference
                  El         Answer.to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                             (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Court to hold Informal Discovery Conference:                                                    (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
      For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
    rAt' iffitUE                                                                                                      EXHIBIT A, p. 53
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                                   #:73
   Il




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS(Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


        This stipulation is intended to provide fast and informal resolution of evidentiary
        issues through diligent efforts to define and discuss such issues and limit paperwork.


        The parties agree that:

        1. At least       days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion in
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

        2. The parties thereafter will meet and confer, either in person or via teleconference or
           videoconference, concerning all proposed motions in limine. In that meet and confer, the
           parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and .submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.



        LACIV 075(new)
        LASC Approved 04/11            STIPULATION AND ORDER — MOTIONS IN LIMINE
        For Optional Use                                                                                                 Page 1 of 2
                                                                                                     EXHIBIT A, p. 54
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 53 of 186 Page ID
                                  #:74
  SHORT TITLE                                                 CASE NUMBER:




  The following parties stipulate:

  Date:

                (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
  Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                 (ATTORNEY FOR



 THE COURT SO ORDERS.

    Date:
                                                              JUDICIAL OFFICER




 LACIV 075(new)
 LASC Approved 04/11      STIPULATION AND ORDER — MOTIONS IN LIMINE                   Page 2 of 2
                                                                             EXHIBIT A, p. 55
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 54 of 186 Page ID
                                  #:75




                                                                        ANGE.LES.supploR coukr

                                                                              MAY 1 1 Zan
 4                                                                      JOHN A CLARKE,"
                                                                                             RK
                                                                     By Ist      afeth
 5                                                                               VARRO,DEPLrry

 6

 7                    SUPERIOR COURT OF THE ST.A.TE OF CALIFORNIA
 8                            FOR THE COUNTY OF LOS ANGELES
 9
      General Order Re                          )    ORDER PURSUANT TO CCP 1054(6),
10
      Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
      Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                )    TO EARLY ORGANIZATIONAL
IZ                                              )    MEETING STIPULATION
.15

14
             Whereas the Los Angele$ Superior Court and the Ekocutive.Corritnittee.of the
15'
      Litigation Section ofthe Los Angeles County Bar Association have cooperated in
 6

17
      drafting 'Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18    use in general judsdiction ciVil litigation in Log:Angeles County;
I9           W hereas the Los Angeles County Bar Association Litigation Section; the Los
20
      Angeles County BarAssociation Laborand Employment LaW Section; the CcinSUrner
21
      Attorneys, Astodiation of Los Angeles; the Association of Southern California Defense
22

23    Counsel;the Association of Business Trial Lawyers of Los Angeles; and the California'

24    Employrileht.Lawyers ASsociation all "eildbrse the goal Of prOrnOting efficiency-in
25 litigation, and ask that counsel consider using these stipulations as a voluntary way to
26'
      promote communications and procedures among counsel and:with the court to fairly
27
      resolve issUes in their cases;"
28




                                ORDER PURSUANT TO CC? 1054(A)
                                                                                         EXHIBIT A, p. 56
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 55 of 186 Page ID
                                  #:76
 t,e




              Whereas the Early OrganizatiOnal Meeting StipWotan is iriterided to entailiage

  2    cooperation among the parties, at an early stage in litigation in order to achieve

  3    litigation efficiencip$,
  4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation

       Will prcirriate ecoriorniC Case resOlUtion and Judicial efficiency;
  6

  7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

  8    Early Or               Meeting and poteritiallyto reduce the need far friationSta
  9    challenge the pleadings, it is:necessaryto allow additional time to conduct the Early
 to
       Organizational Meeting before the time to respond to a Complaint or crass complaint
11
       has expired;
12

13            Whereas Coda of Civil Procedure section 1054(a)allows a judge of the court in

1:4    which an action is pencting to extend for not more than 30 days the time to respond to
15
       a pleading 'upon good cause shown':.
16
              Now,therefore, this Court hereby finds that there is good cause to extend for 30
17
       days the time to respond to a complaint:or to a cross camplaint in any action in which
18

10     the parties have entered into the Early Organizational Meeting Stipulation. This finding

20     of good cause is based on the anticipated judicial efficiency and benefits of economic
21
       case resolution that the Early Organizational Meeting Stipulation is intended to
22
       promote.
23

24
              IT IS HEREBY ORDERED that, in any case in which the parties have entered

.25    into an, Early Organizational Meeting Stipulation, the time fora defending party to
20     respond to a complaint or cross.complaint,shall be extended by the :3.0 days permitted


28

                                                    -2-

                                  ORDER PURSUANT TO CCP1054(a)
                                                                                     EXHIBIT A, p. 57
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 56 of 186 Page ID
                                  #:77




      by Code of CjVil Procedure section. I 054(a)without further need of a specific court
  1

 2    order.

 3

 4
      DATED!
                                              •Carolyn B. KuhifSupervising Ridge ofthe
                                               Civil Departments; Los Angeles Superior. Court

 7




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                               ORDER PURSU.M•TT TO CCP 1054(a)
                                                                                  EXHIBIT A, p. 58
               Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 57 of 186 Page ID
Electronically FILED by Superior Court of California, County of Los Angeles on 02/28/2022 07:35 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Covarrubias,Depeatli0
                                                 #:78
          ATTORNEY OR PARTY WTHOUT ATTORNEY (Name, State Bar number, and address)41b I LAW I221
                                                                            FOR COURT USE ONLY
          JA,MES HAVVKINS APLC.; James R. Hawkins (#192925); Gregory Mauro(#222239)
          Michael Calvo (#314986); Lauren Falk (#316893); Ave Issary (#342252)    .
          9880 Research Drive Suite 200 Irvine, CA 92816
                       TELEPHONE NO.:    949-387-7200                    FAX NO.(Optional):   949-387-6676
               ATTORNEY FOR (Name):      David Yurevich JR
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
           STREET ADDRESS:        111 North Hill Street
           MAILING ADDRESS:
          CITY AND ZIP CODE:      Los Angeles, 90012
                   BRANCH NAME:   Stanley Mosk
          CASE NAME:David Yurevich Jr, individually and on behalf of all others similarly situated v.
                     Interstate-Rim Management Company,LLC,a Delaware Limited Liability Company,et al.
                     CIVIL CASE COVER SHEET                Complex Case Designation              CASE NUMBER:

               x      Unlimited        Limited                 Counter               Joinder
                     (Amount
                                                                                  J                   22ST CV 07221
                                       (Amount
                                                       Filed with first appearance by defendant JUDGE:
                      demanded         demanded is
                                                          (Cal. Rules of Court, rule 3.402)       DEPT.:
                     exceeds $25,000)  $25,000)
                                         Items 1-6 below must be completed (see instructions on page 2).
           1        Check one box below for the case type that best describes this case:
                   Auto Tort                                          Contract                                         Provisionally Complex Civil Litigation
                   I—I Auto (22)                                             Breach of contract/warranty(06)          (Cal. Rules of Court, rules 3.400-3.403)
                          Uninsured motorist(46)                             Rule 3.740 collections (09)              I—I Antitrust/Trade regulation (03)
                    Other PI/PD/WD (Personal Injury/Property                 Other collections (09)                            Construction defect(10)
                    Damage/Wrongful Death) Tort                                                                                Mass tort(40)
                                                                              Insurance coverage (18)
               r---1     Asbestos (04)
                                                                     -
                                                                     I 7 Other contract(37)
                                                                                                                              Securities litigation (28)
                         Product liability (24)                                                                             Environmental/Toxic tort(30)
                                                                      Real Property
                   I—I Medical malpractice (45)                                                                        LII  Insurance coverage claims arising from the
                                                                     ET Eminent domain/Inverse
                                                                                                                            above listed provisionally complex case
                        OtherPUPD/VVD (23)                               condemnation (14)
                                                                                                                            types (41)
                   Non-PI/PD/WD (Other) Tort                         I—I Wrongful eviction (33)                        Enforcement of Judgment
                         Business tort/unfair business practice(07)      O• ther real property (26)                            E• nforcement of judgment(20)
                         Civil rights (08)                       . Unlawful Detainer
                                                                                                                       Miscellaneous Civil Complaint
                         Defamation (13)                            -
                                                                    1 1 Commercial (31)
                                                                                                                       I—I RICO(27)
                                                                             Residential (32)
                         Fraud (16)                                                                                    ni      O• ther complaint (not specified above)(42)
                         Intellectual property (19)                  FT Drugs (38)
                                                                                                                       Miscellaneous Civil Petition
                         Professional negligence (25)                Judicial Review
                                                                                                                      -
                                                                                                                      I 1 Partnership and corporate governance (21)
                        Other non-PUPDNVD tort(35)                   -
                                                                     1 7 A•    sset forfeiture (05)
                                                                             Petition
                                                                             W it nmrea:nadrabitrati;
                                                                                             te m     award (11)      -
                                                                                                                      1 1 Other petition (not specified above)(43)
                   Employment
                         Wrongful termination (36)
               I—I Other employment(15)                              ni O• ther judicial review (39)

         2. This case F-7 is         1---1 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
            a. LJ Large number of separately represented parties           d. ni Large number of witnesses
            b. I—I Extensive motion practice raising difficult or novel e. I—I Coordination with related actions pending in one or more
                      issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
            c. I=1 Substantial amount of documentary evidence                         court
                                                                           f. -1 7 Substantial postjudgment judicial supervision
         3. Remedies sought (check all that apply):a. PT monetary b. -       1 7 nonmonetary; declaratory or injunctive relief c. 1---1 punitive
         4. Number of causes of action (specify):6
         5. This case r7 is           I—I is not     a class action suit.
         6. If there are any known related cases, file and serve a notice of related case. (You may use fo        M-015.
         Date: 02/28/2022
         Gregory Mauro, Esq.
                                        (TYPE OR PRINT NAME)                                                                     NATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                NOTICE
           • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
             in sanctions.
           • File this cover sheet in addition to any cover sheet required by local court rule.
           • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
             other parties to the action or proceeding.
           • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                             Page 1 of 21
         Form Adopted for Mandatory Use                                                                                          Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
         Judicial Council of California                                 CIVIL CASE COVER SHEET                                                     EXHIBIT
                                                                                                                                         Cal. Standards              A, p. 59 std. 3.10
                                                                                                                                                         of Judicial Administration,
         CM-010(Rev. July 1,2007)                                                                                                                                         www.courts.ca.gov
    Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 58 of 186 Page ID
                                      #:79                                    CM-010
                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                             Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of Conrac t tNVarranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                             Antitrust/Trade Regulation (03)
       Uninsured Motorist(46)(if the                         Contract (not unlawful detainer               Construction Defect(10)
                                                                  or wrong
                                                                     wrongful eviction)                    Claims Involving Mass Tort(40)
       case involves an uninsured
        motorist claim subject to                       Contract/Warranty Breach—Seller                    Securities Litigation (28)
       arbitration, check this item                          Plaintiff not fraud  d or negligence)
                                                                                          li ence          Environmental/Toxic Tort(30)
       instead of Auto)                                 Negligent Breach of Contract/                      Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                            Warranty                                           '(arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of ContractNVarranty                        case type listed above)(41)
 Tort                                               Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                      book accounts)(09)                              Enforcement of Judgment (20)
        Asbestos Property Damage                        Colleconti C Case—Seller
                                                                             S ll Plaintiff                  Abstract of Judgment(Out of
        Asbestos Personal Injury/                       Other Promissory Note/Collections                         County)
              Wrongful Death                                 Case                                       Confession of Judgment(non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                    domestic relations)
         toxic/environmental)(24)                       complex)(18)                                    Sister State Judgment
      Medical Malpractice (45)                          Au
                                                        Auto Subrogation                                Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                      (not unpaid taxes)
               Physicians & Surgeons                Other Contract
                                                                t t(37)                                  Petition/Certification of Entry of
     Other Professional Health Care                     Contracu  t al Fra ud                                Judgment on Unpaid Taxes
            Malpractice                                 Other Contract Dispute                           Other Enforcement of Judgment
     Other PUPD/WD (23)                         Real Property                                                  Case
          Premises Liability (e.g., slip            Em
                                                    Eminentt DDomain/Inverse
                                                                      i /I                           Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                                RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction(33)                                Other Complaint (not specified
              (e.g., assault, vandalism)            Other Real Property (e.g., quiet title)(26)               above)(42)
                                                        Writ off P         i of R  Real
                                                                                    ea Property               Declaratory Relief Only
          Intentional Infliction of
               Emotional Distress                       Mortgage Foreclosure                                  Injunctive Relief Only (non-
          Negligent Infliction of                       Quiet Title                                                harassment)
                Emotional Distress                      Other Real Property (not eminent                      Mechanics Lien
          Other PUPDAND                                 domain, landlord/tenant, or                           Other Commercial Complaint
 Non-Pl/PD/WD (Other) Tort                              foreclosure)                                               Case (non-tort/non-complex)
     Business Tort/Unfair Business              Unlawful Detainer                                             Other Civil Complaint
         Practice (07)                             Commercial (31)                                                 (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residential
                                                    Res          (32)                                Miscellaneous Civil Petition
          false arrest)(not civil                   Drugs (38)(ifthe case involves
                                                                                i        illegal         Partnership and Corporate
           harassment)(08)                         drugs, check this item; otherwise,                        Govemance (21)
     Defamation (e.g., slander, libel)              report as CCommercial  i l or R
                                                                                  Residential)
                                                                                      id ti              Other Petition (not specified
          (13)                                  Judicial Review                                              above)(43)
     Fraud (16)                                     Asset Forfeiture (05)                                    Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award    d(11)                   Workplace Violence
     Professional Negligence (25)                   Writ of Mandate (02)                                     Elder/Dependent Adult
                Malpractice                             Writ—Administrative Mandamus                              Abuse
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                       Election Contest
             (not medical or legal)                        Case Matter                                       Petition for Name Change
     Other Non-PUPD/VVD Tort(35)                        Writ—Other Limited Court Case                        Petition for Relief From Late
 Employment                                                Review
                                                           Rev                                                    Claim
     Wrongful Termination (36)                     Other Judicial
                                                             di l R i (39)                                   Other Civil Petition
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010[Rev. July 1,2007)                                                                                                                     Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                                                                                                                       EXHIBIT A, p. 60
       Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 59 of 186 Page ID
                                         #:80
 SHORT TITLE:                                                                                              CASE NUMBER
                David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.
                                                                                                                  22ST CV 07221


                                                     CIVIL CASE COVER SHEET ADDENDUM AND
                                                                STATEMENT OF LOCATION
              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1:




     Step 2:


     Step 3:



                                            Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.           7. Location where petitioner resides.
2. Permissive filing in central district.                                                  8. Location wherein defendant/respondentfunctions wholly.
3. Location where cause of action arose.                                                   9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                    10. Location of Labor Commissioner Office.

5. Location where performance required or defendant resides.

6. Location of property or permanently garaged vehicle.




                                                                                            „
                     Civil Case'tp:Ver01:    .ieet                                        Too*Action                                             Aififilicable:!Reasons
                                                                                                                                                    — „,..... :         -
                           CatejtitSiNliff.: .i                                         (Check only one                                         ::'..*6Step;3 Above

                             Auto(22)                  0 A7100 Motor Vehicle - Personal Injury/Property Damage/VVrongful Death                  1,4, 11

                     Uninsured Motorist(46)            0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist              1, 4, 11


                                                       0 A6070 Asbestos Property Damage                                                         1, 11
                          Asbestos(04)
                                                        ID A7221 Asbestos - Personal Injury/Wrongful Death                                      1, 11

                       Product Liability(24)           0 A7260 Product Liability(not asbestos or toxic/environmental)                           1,4, 11
                                                                                                                                            _
                                                       0 A7210 Medical Malpractice - Physicians & Surgeons                                      1,4, 11
                  . Medical Malpractice(45)                                                                                                     1,4, 11
       "
       al                                               ID A7240 Other Professional Health Care Malpractice
        2
                                                       .0 A7250 Premises Liability (e.g., slip and fall)                                        1,4, 11
                         Other Personal
                         Injury Property               0 A7230 Intentional Bodily Injury/Property Damage/VVrongful Death (e.g.,
                                                                                                                                                1,4, 11
                        Damage Wrongful                        assault, vandalism, etc.)
                        - Death (23) -                                                                                                          1,4, 11
                                                       0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                1, 4, 11
                                                        ID A7220 Other Personal Injury/Property DamageNVrongful Death




                                                      CIVIL CASE COVER SHEET ADDENDUM                                                      Local Rule 2.3
   LASC biv 109 Rev. 12/18
                                                            AND STATEMENT OF LOCATION                                                           Page 1 of 4
   For Mandatory Use                                                                                                                EXHIBIT A, p. 61
     Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 60 of 186 Page ID
                                       #:81
SHORT TITLE:                                                                                    CASE NUMBER
               David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.


                                                              •::":::   ,s       ..,..,,                               . ,.,
                                                    "         ...        _
                                                '
                 '1 Civil Case Cover Sheet                                     'Type Of.Action .                                      Reasons 4,See Step 3.
                          Category No:', -                                     (Check only one)                                             Above
               _                    ..               .

                     Business Tort(07)          0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)                  1, 2, 3

                      Civil Rights(08)          0 A6005 Civil Rights/Discrimination                                                   1, 2, 3

                      Defamation (13)           0 A6010 Defamation (slander/libel)                                                    1, 2, 3

                         Fraud (16)             0 A6013 Fraud (no contract)                                                           1, 2, 3

                                                0 A6017 Legal Malpractice                                                             1, 2, 3
                Professional Negligence (25)
                                                0 A6050 Other Professional Malpractice(not medical or legal)                          1, 2, 3

                         Other(35)              0 A6025 Other Non-Personal Injury/Property Damage tort                                1, 2, 3

                 Wrongful Termination (36)      0 A6037 Wrongful Termination                                                          1, 2, 3

                                                 El A6024 Other Employment Complaint Case                                            0,0,0
                   Other Employment(15)
                                                0 A6109 Labor Commissioner Appeals                                                    10

                                                0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                      2, 5
                                                        eviction)
                Breach of Contract/ Warranty                                                                                          2, 5
                           (06)                 0 A6008 ContractNVarranty Breach -Seller Plaintiff(no fraud/negligence)
                     (not insurance)                                                                                                  1, 2,5
                                                0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                      1, 2,5         •
                                                0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)
    4
    .1

     CO                                         0 A6002 Collections Case-Seller Plaintiff    . .                                      5, 6, 11
                      Collections(09)
    0
                                                0 A6012 Other Promissory Note/Collections Case                                        5, 11
    C.,
                                                0 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                    5, 6, 11
                                                        Purchased on or after January 1, 2014)
                  Insurance Coverage(18)        0 A6015 Insurance Coverage (not complex)                                              1, 2, 5,8

                                                0 A6009 Contractual Fraud                                                             1, 2, 3, 5
                     Other Contract(37)         0 A6031 Tortious Interference                                                         1, 2, 3, 5
                                                0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                 1, 2, 3, 8,9

                  Eminent Domain/Inverse
                                                0 A7300 Eminent Domain/Condemnation                Number of parcels                  2, 6
                    Condemnation (14)

                   Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                        2,6

                                                0 A6018 Mortgage Foreclosure                                                          2, 6
                  Other Real Property(26)       0 A6032 Quiet Title                                                                   2, 6
                                                0 A6060 Other Real Property(not eminent domain, landlord/tenant,foreclosure)          2, 6

                Unlawful Detainer-Commercial
                                             0 A6021 Unlawful Detainer-Commercial(pot drugs or wrongful eviction)                    6, 11
                            (31)

                Unlawful Detainer-Residential
                                                -0- A6020 Unlawful Detainer-Residential(not drugs or-wrongful-eviction)              6, 11-      -

                     Unlawful Detainer-
                                                0 A6020F Unlawful Detainer-Post-Foreclosure                                          2, 6, 11
                   Post-Foreclosure(34)
                Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                      2, 6, 11



                                                CIVIL-CASE COVER-SHEET ADDENDUM                                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                   AND STATEMENT OF LOCATION                                                         Page 2 of 4
 For Mandatory Use                                                                                                             EXHIBIT A, p. 62
              Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 61 of 186 Page ID
                                                #:82
SHORT TITLE:                                   Qavid Yttrevich Jr v. Interstate-Rim Management Company, LLC, et al.                     CASE NUMBER




                                                                A                                                             f.                                     C Applicable •
                                                     Civil Case Cover Sheet                                             Type of Action                            Re.asons,See Step 3
                                                           Category No.                                                (Check only
                                                                                                                                 - one)                                ,Wove
                                               -
                                               i
                                                      Asset Forfeiture(05)          0 A6108 Asset Forfeiture Case                                                2, 3,6

                                                    Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfirmNacate Arbitration                         2, 5

                                                                                   0 A6151 Writ- Administrative Mandamus                                         2,8
                                                      Writ of Mandate (02)         0 A6152 Writ - Mandamus on Limited Court Case Matter                          2
                                                                                    El A6153 Writ - Other Limited Court Case Review                              2

                                                   Other Judicial Review(39)       0 A6150 Other Writ /Judicial Review                                           2,8

                                                Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                               1, 2,8
            Provisionally Complex Litigation




                                                    Construction Defect(10)        0 A6007 Construction Defect                                                   1, 2,3

                                                   Claims Involving Mass Tort
                                                                                    El A6006 Claims Involving Mass Tort                                          1, 2,8
                                                             (40)

                                                    Securities Litigation (28)     0 A6035 Securities Litigation Case                                            1, 2,8

                                                           Toxic Tort
                                                                                   0 A6036 Toxic Tort/Environmental                                              1, 2, 3,8
                                                       Environmental(30)

                                                   Insurance Coverage Claims
                                                                                   0 A6014 Insurance Coverage/Subrogation (complex case only)                    1, 2,5,8
                                                     from Complex Case(41)

                                                                                   0 A6141 Sister State Judgment                                                 2,5, 11
                                                                                   0 A6160 Abstract of Judgment                                                  2,6
   Enforcement




                                   4.1




                                                          Enforcement              0 A6107 Confession.ofJudgrrient(ncin-domestic relations)                      2,9
                                                        of Judgment(20)            0 A6140 Administrative Agency Award (not unpaid taxes)                        2, 8
                                                                                    El A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax            2, 8
                                                                                    El A6112 Other Enforcement of Judgment Case                                  2, 8,9

                                                            RICO (27)              0 A6033 Racketeering (RICO)Case                  .                 '          1, 2,8
   Civil Complaints
    Miscellaneous




                                                                                   0 A6030 Declaratory Relief Only                                               1, 2,8

                                                       Other Complaints            0 A6040 Injunctive Relief Only (not domestic/harassment)                      2, 8
                                                   (Not Specified Above)(42)       0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                1, 2,8
                                                                                   0 A6000 Other Civil Complaint(non-tort/non-complex)                           1, 2,8

                                                   . Partnership Corporation
                                                                                   0 A6113 Partnership and Corporate Governance Case                            2,8
                                                        Governance(21)

                                                                                   El A6121 Civil Harassment With Damages                                        2, 3,9
  Miscellaneous
  Civil Petitions




                                                                                   El A6123 Workplace Harassment With Damages                                    2, 3,9
                                                                                   El A6124 Elder/Dependent Adult Abuse Case With Damages                        2, 3,9
                                                       Other Petitions(Not
                                                      Specified Above)(43)         0 A6190 Election Contest        .                                            2
                                                                                    b   A6110 Petition for Change of Name/Change of Gender                      _ 2, 7.. .
                                                                                   -
                                                                                   0 -A6170 Petition for Relief from Late Claim Law                              2, 3,8
                                                                                   0 A6100 Other Civil Petition                                                 2,9




                                                                                   CIVIL CASE-COVER-SHEET ADDENDUM                                            Local Rule 2.3
LASC CIV 109 Rev. 12/18
                                                                                      AND STATEMENT OF LOCATION                                                 Page 3 of 4
 For Mandatory Use                                                                                                                                        EXHIBIT A, p. 63
      Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 62 of 186 Page ID
                                        #:83
•                      At
 SHORT TITLE:   Liavid Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.          CASE NUMBER




Step 4: Statement of Reason and Address



                                                                     ADDRESS:
    REASON:

     3
     1 1.02.03.04.05.06.07. 08.0 9.010.011.



    CITY:                                    STATE:     ZIP CODE:




Step 5:.Certification of Assignment:                                                               Central




            02/28/2022
   Dated:
                                                                                       (SIG    TURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
        1. Original Complaint or Petition.
        2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
        3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver,, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                          -CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                              AND STATEMENT OF LOCATION                                                         Page 4 of 4
  For Mandatory Use                                                                                                  EXHIBIT A, p. 64
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                                  #:84                                CT Corporation
                                                       Service of Process Notification
                                                                                                                        04/29/2022
                                                                                                           CT Log Number 541493117


     Service of Process Transmittal Summary

     TO:       Greg Moundas, Executive V.P. General Counsel
               AIMBRIDGE HOSPITALITY LLC
               5301 HEADQUARTERS DR
               PLANO, TX 75024-6187

     RE:       Process Served in California

     FOR:      Interstate Hotels & Resorts, Inc. (Domestic State: DE)


     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                         Re: DAVID YUREVICH JR., individually and on behalf of all others similarly situated // To:
                                              Interstate Hotels & Resorts, Inc.
     CASE #:                                  22STCV07221

     NATURE OF ACTION:                        Employee Litigation

     PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

     DATE/METHOD OF SERVICE:                  By Process Server on 04/29/2022 at 01:32

     JURISDICTION SERVED:                     California

     ACTION ITEMS:                            CT will retain the current log

                                              Image SOP

                                              Email Notification, KAREN KOVACH karen.kovach@aimhosp.com

                                              Email Notification, Laura Vesely laura.vesely@aimhosp.com

                                              Email Notification, Nicole Graves nicole.graves@aimhosp.com

                                              Email Notification, Matt Dreyfuss matthew.dreyfuss@aimhosp.com

     REGISTERED AGENT CONTACT:                C T Corporation System
                                              330 N BRAND BLVD
                                              STE 700
                                              GLENDALE, CA 91203
                                              866-665-5799
                                              SouthTeam2@wolterskluwer.com



     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
     and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
     information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
     included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
     disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
     contained therein.




                                                                                                                             Page 1 of 1

                                                                                                               EXHIBIT A, p. 65
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 64 of 186 Page ID
                                  #:85

                                                            AI%
                                                            '
                                                            IttzI'w   Wolters Kluwer

                      PROCESS SERVER DELIVERY DETAILS




Date:                                  Fri, Apr 29, 2022
Seryer Name:                           Douglas Forrest




 Entity Served          INTERSTATE HOTELS & RESORTS, INC.

 Case Number            22stcy07221

 J urisdiction          CA



                                         Inserts




        I 1 11 I I I I 1 1 I



                                                                        EXHIBIT A, p. 66
                Case
Electronically FILED      2:22-cv-03713-MEMF-RAO
                     by Superior Court of California, County of Los Angeles onDocument         1-2SherriFiled
                                                                              04/19/2022 03:07 PM                05/31/22
                                                                                                         R. Carter,                 Page
                                                                                                                    Executive Officer/Clerk     65 of
                                                                                                                                            of Court, by E.186     PageClerk
                                                                                                                                                            Thomas,Deputy ID
                                                                                            #:86
                                                                                      22STCV07221

                                                                                                                                                                      SUM-100

                                                       SUMMONS                                                                                 FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE L4 CORTE)
                                            (CITACION JUDICIAL)
        NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):Interstate-Rim Management Company,a Delaware
           Limited Liability Company operating at: Double Tree San Pedro; Interstate Hotels & Resorts,
           Inc.; Aimbridge Hospitality, LLC,a Delaware Liability Company; and DOES 1-50,inclusive,
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):

          DAVID YUREVICH JR., individually and on behalf of all others similarly situated
          NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
          below.
             You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
          served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
          Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
          court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
          be taken without further warning from the court.
             There are other legal requirements. You may want to call an attomey right away. If you do not know an attomey, you may want to call an attomey
          referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
          these nonprofit groups at the Califomia Legal Services Web site (www.lawhelpcalifomia.org), the Califomia Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
          costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
          jAVISO! Lo han demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su version. Lea la infonnacion a
          continuaci6n.
             Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legales para presentar una respuesta por escrito en esta
          code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefonica no lo protegen. Su respuesta por escrito tiene que ester
          en formal° legal correct° Si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
          Puede encontrarestos forrnularios de la code y mas informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
          biblioteca de leyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la code que
          le de un fonnulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede pettier el caso por incumplimiento y la code le podra
          guitar su sue/do, dinero y bienes sin mas advertencia.
             Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
          remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
          programa de servicios legales sin fines de !um°. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
         (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California,(www.sucorte.ca.gov) o poniendose en contacto can la carte o el
          colegio de abogados locales. AVISO: Parley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sabre
          cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
          pagar el gravamen de la code antes de que la code pueda desechar el caso.
        The name and address of the court is:                                                                             CASE NUMBER:(NOmero del Caso):
        (El nombre y direcciOn de la carte es): Los Angeles Superior Court                                                   22STCV07221
        1 11 North Hill St.
         Los Angeles, CA 90012
          The name, address, and telephone number of plaintiff° attorney, or plaintiff without on attorney, ic: (El nombro, lo diroccion y el namcro
          de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
          JAMES HAVVKINS APLC,9880 Research Drive, Suite 200 Irvine CA 92618;(949)387-7200
         DATE:                                                                                          Clerk, by                                                     , Deputy
        (Fecha) 04/1 912022                  sherd R. Carter Executive Officer! Clerk of Court (Secretario)                                 E. Thomas                 (Adjunto)
         (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de este citati6n use el forrnulario Proof of Service of Summons,(POS-010).)
                                                  NOTICE TO THE PERSON SERVED: You are served
                                                  1. -
                                                     1 1 as an individual defendant.
                                                  2.   -
                                                       1 7 as the person sued under the fictitious name of (specify):
                                                  3.   I     on behalf of(specify): ..YAMe-A(4i74-e"
                                                                                                                                       e                        ?escoc+s
                                                                                               .r\A
                                                        under:      CCP 416.10 (corporation)         -
                                                                                                     I 1 CCP 416.60(minor)
                                                                    CCP 416.20 (defunct corporation) -
                                                                                                     I 1 CCP 416.70(conservatee)
                                                               I—I CCP 416.40 (association or partnership)                   ni CCP 416.90(authorized person)
                                                               I—I other (specify):
                                                  4.         Jby personal delivery on (date)
                                                                                                                                                                          Page 1 of 1
          Forrn Adopted for Mandatory Use                                                                                                       Code of Civil Procedure §§ 412.20, 465
                                                                                    SUMMONS
          Judicial Council of California                                                                                                                            www.courts.ca.gov
          SUM-100 (Rev. July 1,2009)



                                                                                                                                               EXHIBIT A, p. 67
                Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 66 of 186 Page ID
                                                    #:87
                                                22STCV07221
                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Kenneth Freeman
-   Electronically FILED by Su eriof Court of California, County of Los Angeles on 02/28/2022 07:35 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Covarrubias,Deputy Clerk


      •
                         •1
                               JAMES HAWKINS APLC
                           2   James R. Hawkins,Esq.(#192925)
                               Gregory Mauro, Esq.(#222239)
                           3   Michael Calvo, Esq.(#314986)
                               Lauren Falk, Esq.(#316893)
                          4    Ava Issary, Esq.(#342252)
                               9880 Research Drive, Suite 200
                           5   Irvine, CA 92618
                               Tel.:(949)387-7200
                          6    Fax:(949)387-6676
                               Email: James@jameshawkinsaplc.com
                           7   Email: Greg@jameshawkinsaplc.com
                               Email: Michael@jameshawkinsaplc.com
                          8    Email: Lauren@jameshawkinsaplc.com
                               Email: Ava@jameshawkinsaplc.com
                          9
                            Attorneys for Plaintiff DAVID YUREVICH JR.,
                         10 Individually and on behalf of all others similarly situated.

                         11                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                 FOR THE COUNTY OF LOS ANGELES
                         12

                         13 DAVID YUREVICH JR., individually and on                                            CASE NO:: 22ST CV 07221
                            behalf of all others similarly situated,
                         14                                                                                    CLASS ACTION COMPLAINT
                                                                                                               PURSUANT TO CALIFORNIA CODE OF
                         15                                 Plaintiff,                                         CIVIL PROCEDURE §382:
                         16                 V.                                                                 1.         Failure to Pay Wages Including
                                                                                                                          Overtime as Required by Labor
                         17                                                                                               Code §§ 510 and 1194
                                INTERSTATE-RIM MANAGEMENT
                                                                                                               2.         Failure to Pay Timely Wages
                         18     COMPANY,LLC,a Delaware Limited                                                            Required by Labor Code § 203
                                Liability Company operating at:                                                3.         Failure to Provide Accurate Itemized
                         19     DOUBLETREE SAN PEDRO;INTERSTATE                                                           Wage Statements as Required by
                                HOTELS & RESORTS,INC.; AIMBRIDGE                                                          Labor Code § 226
                        20      HOSPITALITY,LLC,a Delaware Limited                                             4.         Failure to Accurately Record and
                                Liability Company; and DOES 1-50, inclusive,                                              Pay Sick Leave as Required by
                        21                                                                                                Labor Code § 246
                                                                                                               5.         Failure to Indemnify Necessary
                        22                                  Defendants.                                                   Business Expenses as Required by
                                                                                                                          Labor Code § 2802
                        23                                                                                    6.          Violation of Business & Professions
                                                                                                                          Code § 17200, et seq.
                        24
                                                                                                               DEMAND FOR JURY TRIAL
                        25

                        26

                        27

                        28



                                                                                      CLASS ACTION COMPLAINT
                                                                                                                                                     EXHIBIT A, p. 68
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                                  #:88



     1          Plaintiff DAVID YUREVICH JR. ("Plaintiff'), individually and on behalf of all others

     2 similarly situated (hereinafter collectively referred to as the "Class" or "Class Member"), hereby

     3 files this Complaint against Defendants INTERSTATE — RIM MANAGEMENT COMPANY,

     4 LLC, a Delaware Limited Liability company operating at: DOUBLETREE SAN PEDRO;

     5 INTERSTATE HOTELS & RESORTS, INC.; AIMBRIDGE HOSPITALITY, LLC, a Delaware

     6 Limited Liability Company; and DOES 1-50, inclusive (collectively "Defendants") and alleges on

     7 information and belief as follows:

     8                                    I. JURISDICTION AND VENUE

     9           1.     This class action is brought pursuant to California Code of Civil Procedure §382.

    10 The monetary damages and restitution sought by Plaintiff exceed the minimum jurisdiction limits

    1 1 ofthe California Superior Court and will be established according to proof at trial.

    12          2.      This Court has jurisdiction over this action pursuant to the California Constitution

    13 Article VI §10, which grants the California Superior Court original jurisdiction in all causes

    14 except those given by statute to other courts. The statutes under which this action is brought do not

    15 give jurisdiction to any other court.

    16          3.      This Court has jurisdiction over Defendants because, upon information and belief,

    17 each Defendant either has sufficient minimum contacts in California, or otherwise intentionally

    18 avails itself of the California market so as to render the exercise of jurisdiction over it by the

    19 California Courts consistent with traditional notions of fair play and substantial justice.

    20          4.      The California Superior Court also has jurisdiction in this matter because the

    21 individual claims of the members of the Classes herein are under the seventy-five thousand dollar

    22 ($75,000.00)jurisdictional threshold for Federal Court and the aggregate claim, including attorneys'

    23 fees, is under the five million dollar ($5,000,000.00) threshold of the Class Action Fairness Act of

    24 2005. Further, there is no federal question at issue, as the issues herein are based solely on California

    25 statutes and law, including the Labor Code,IWC Wage Orders, CCP, California Civil Code ("CC")

    26 and B&PC.

    27          5.      Venue is proper in this Court because upon information and belief, one or more of

    28 the Defendants, reside, transact business, or have offices in this County and/or the acts or


                                                         -1-
                                               CLASS ACTION COMPLAINT
                                                                                        EXHIBIT A, p. 69
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                                  #:89



     1 omissions alleged herein took place in this County.

     2                                             II. PARTIES

     3          6.      Plaintiff DAVID YUREVICH JR. was, at all times relevant to this action, a

     4 resident of California. Plaintiff was employed by Defendants in approximately February 2016 as a

     5 Non-Exempt Employee with the title of Concierge and then Front Desk and worked during the

     6 liability period for Defendants until Plaintiff's separation from Defendants' employ in

     7 approximately June 2021. Plaintiff's duties included but were not limited to: providing customer

     8 service and assistance to guests, checking guests in, offering suggestions for food, administrative

     9 paperwork, cleaning rooms, and filling in where needed.

    10          7.      Defendants INTERSTATE — RIM MANAGEMENT COMPANY, LLC, a

    1 1 Delaware Limited Liability company operating at: DOUBLETREE SAN PEDRO,INTERSTATE

    12 HOTELS & RESORTS, INC.; and AIMBRIDGE HOSPITALITY, LLC, a Delaware Limited

    13 Liability company, operates as a hotel and hospitality business. Plaintiff estimates there are in

    14 excess of 100 Non-Exempt Employees who work or have worked for Defendants over the last

    15 year.

    16          8.     Other than identified herein, Plaintiff is unaware of the true names, capacities,

    17 relationships, and extent of participation in the conduct alleged herein, of the Defendants sued as

    18 DOES 1 through 50, but is informed and believes and thereon alleges that said defendants are

    19 legally responsible for the wrongful conduct alleged herein and therefore sues these defendants by

    20 such fictitious names. Plaintiff will amend this complaint when their true names and capacities are

    21 ascertained.

    22          9.      Plaintiff is informed and believes and thereon alleges that each defendant, directly

    23 or indirectly, or through agents or other persons, employed Plaintiff and other members of the

    24 Class, and exercised control over their wages, hours, and working conditions. Plaintiff is informed

    25 and believes and thereon alleges that each Defendant acted in all respects pertinent to this action as

    26 the agent of the other Defendants, carried out a joint scheme, business plan or policy in all respects

    27 pertinent hereto, and the acts of each Defendant are legally attributable to the other defendants.

    28


                                                       -- 2 -
                                            CLASS ACTION COMPLAINT
                                                                                      EXHIBIT A, p. 70
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                                  #:90

•

     1                                III. CLASS ACTION ALLEGATION
     2          10.      Plaintiff brings this action individually and on behalf of all others similarly
     3 situated as a class action pursuant to Code of Civil Procedure § 382. The members of the Class are

     4 defined as follows:

     5
               All persons who have been employed by Defendants as Non-Exempt Employees or
     6         equivalent positions, however titled, in the state of California within four (4) years from
               the filing of the Complaint in this action until its resolution. (collectively referred to as the
     7         "Class" or "Plaintiff's Class" or "Class Members").

     8          1 1.     Plaintiff also seeks to represent the subclass(es) composed of and defined as

     9 follows:

    10
                Sub-Class 1: All Class Members who are or were employed by Defendants at any time
    11          between February 2021 and the present and who received wage statements from Defendant
               (hereinafter collectively referred to as the "Wage Statement Subclass").
    12

    13          Sub-Class 2: All Class Members who have been employed by Defendants at any time
                between February 2019 and the present and have separated their employment (hereinafter
    14          collectively referred to as the "Waiting Time Penalty Subclass").
    15          Sub-Class 3: All Class Members who are or were employed by Defendants and incurred
                business expenses as a result of the discharge of their duties (hereinafter collectively
    16          referred to as the "Reimbursement Subclass").
    17          Sub-Class 4: All Class Members who are or were employed by Defendants and subject to
                Defendant's Unfair Business Practices (hereinafter collectively referred to as the "Unfair
    18          Business Practice Subclass").
    19          12.      Plaintiff reserves the right under California Rule of Court 3.765(b) and other
    20 applicable laws to amend or modify the class definition with respect to issues or in any other

    21 ways. Plaintiff is a member ofthe Class as well as each of the Sub-Classes.

    22          13.      The term "Class" includes Plaintiff and all members of the Class and each of the
    23 Sub-Classes, if applicable. Plaintiff seeks class-wide recovery based on the allegations set forth in

    24 this complaint.

    25          14.      There is a well-defined community of interest in the litigation and the proposed
    26 Class is easily ascertainable through the records Defendants are required to keep.

    27          15.      Numerosity. The members of the Class are so numerous that individual joinder of
    28 all ofthem as Plaintiff is impracticable. While the exact number of the Class members is unknown


                                                        - 3-
                                             CLASS ACTION COMPLAINT
                                                                                        EXHIBIT A, p. 71
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     1 to Plaintiff at this time, Plaintiff is informed and believes and thereon alleges that there are at least

     2 100(one hundred) Class members.

     3          16.           Commonality. Common questions of law and fact exist as to all Class members

     4 and predominate over any questions that affect only individual members of the Class. These

     5 common questions include, but are not limited to:

     6                   i.          Whether Defendants failed to pay minimum wage compensation to Plaintiff
     7
         and Class Members for all hours worked;
     8
                                     Whether Defendants failed to accurately pay overtime to Plaintiff and Class
     9
         Members;
    10
                       iii.          Whether Defendants failed to reimburse necessary business expense
    11
         pursuant to Labor Code § 2802;
    12
                       iv.           Whether Defendants provided accurate itemized wage statements pursuant
    13
         to Labor Code section 226;
    14
              v.              Whether Defendants failed to pay sick time using the proper regular rate pursuant
    15
         to Labor Code section 246;
    16
                       vi.           Whether Defendants violated Business and Professions Code and Labor
    17
         Code §§ 201-203, 246, 510, 512, 558, 226, 226.3, 226.7, 246, 1174, 1174.5, 1175, 1194, 1197,
    18
         1 197.1, 1198, 2802 and applicable IWC Wage Orders which violation constitutes a violation of
    19
         fundamental public policy; and
    20
                      vii.           Whether Plaintiff and the Members of the Plaintiff Class are entitled to
    21
         equitable relief pursuant to Business and Professions Code §§ 17200, et. seq.
    22
                      viii.          Whether Plaintiff and the Members of the Plaintiff Class are entitled to
    23
         relief in the form of back wages, penalties and interest for failure to pay minimum wages pursuant
    24
         to Labor Code §§ 558, 1194 and 1197.
    25
                17.           Typicality. Plaintiff's claims herein alleged are typical of those claims which could
    26
         be alleged by any member of the Class and/or Subclass, and the relief sought is typical ofthe relief
    27
         which would be sought by each member of the Class and/or Subclass in separate actions. Plaintiff
    28
         and all members of the Class and or Subclass sustained injuries and damages arising out of and

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                                                  CLASS ACTION COMPLAINT
                                                                                            EXHIBIT A, p. 72
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     1 caused by Defendants' common course of conduct in violation of California laws, regulations, and

     2 statutes as alleged herein.

     3          18.     Adequacy. Plaintiff is qualified to, and will fairly and adequately protect the
     4 interests of each member of the Class and/or Subclass with whom she has a well defined

     5 community of interest and typicality of claims, as demonstrated herein. Plaintiff acknowledges an

     6 obligation to make known to the Court any relationships, conflicts, or differences with any

     7 member of the Class and/or Subclass. Plaintiff's attorneys and the proposed Counsel for the Class

     8 and Subclass are versed in the rules governing class action discovery, certification, litigation, and

     9 settlement and experienced in handling such matters. Other former and current employees of

    10 Defendants may also serve as representatives ofthe Class and Subclass if needed.

    11          19.     Superiority. A class action is superior to other available means for the fair and
    12 efficient adjudication of the claims of the Class and would be beneficial for the parties and the

    13 court. Class action treatment will allow a large number of similarly situated persons to prosecute

    14 their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

    15 duplication of effort and expense that numerous individual actions would require. The damages

    16 suffered by each Class member are relatively small in the sense pertinent to class action analysis,

    17 and the expense and burden of individual litigation would make it extremely difficult or

    18 impossible for the individual Class Members to seek and obtain individual relief. A class action

    19 will serve an important public interest by permitting such individuals to effectively pursue

    20 recovery of the sums owed to them. Further, class litigation prevents the potential for inconsistent

    21 or contradictory judgments raised by individual litigation.

    22         20.      Public Policy Considerations: Employers in the state of California violate
    23 employment and labor laws every day. Current employees are often afraid to assert their rights out

    24 of fear of direct or indirect retaliation. Former employees are fearful of bringing actions because

    25 they believe their former employers may damage their future endeavors through negative

    26 references and/or other means. The nature of this action allows for the protection of current and

    27 former employees' rights without fear or retaliation or damage.

    28


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     2                                  IV. FACTUAL ALLEGATIONS
     3         21.     At all times set forth herein, Defendants employed Plaintiff and other persons in the
     4 capacity of non-exempt positions, however titled, throughout the state of California.

     5         22.     Plaintiff is informed and believes Class Members have at all times pertinent hereto
     6 been Non-Exempt within the meaning of the California Labor Code and the implementing rules

     7 and regulations of the IWC California Wage Orders.

     8         23.     Defendants continue to employ Non-Exempt Employees, however titled, in
     9 California and implement a uniform set of policies and practices to all non-exempt employees, as

    10 they were all engaged in the generic job duties related to Defendants' hotel business.

    11         24.     Plaintiff is informed and believes, and thereon alleges, that Defendants are and
    12 were advised by skilled lawyers and other professionals, employees, and advisors with knowledge

    13 ofthe requirements of California's wage and employment laws.

    14         25.     Plaintiff is informed and believes that during the relevant time frame, all Class
    15 Members are citizens of the state of California.

    16         26.     On information and belief, during the relevant time frame, Plaintiff and Class
    17 Members frequently worked well over eight (8) hours in a day and forty (40) hours in a work

    18 week.

    19         27.     During the relevant time frame, Defendants compensated Plaintiff and Class
    20 Members based upon an hourly.rate.

    21         28.     In addition, the Class Members frequently worked in excess of eight (8) hours a
    22 day and/or over forty (40) hours in a workweek, but were not properly paid for such time at the

    23 employee's correct rate of pay per hour for overtime.

    24         29.     Defendants also failed to properly calculate Plaintiff's and the Class Members'
    25 regular rate of pay including but not limited to by failing to include all forms of

    26 compensation/remuneration in the regular rate including but not limited to bonuses, incentives,

    27 commissions, training and orientation pay, shift differential pay, and other compensation for

    28 overtime calculation purposes.


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     1         30.     In addition, upon information and belief, Plaintiff alleges that Defendants failed to
     2 pay sick leave pay to Plaintiff and the Class Members at the proper rate, as Defendants failed to

     3 factor all forms of compensation into the regular rate.

     4         31.     Plaintiff are informed and believe, and thereon alleges, that Defendants know,
     5 should know, knew, and/or should have known that Plaintiff and the other Class Members were

     6 entitled to receive premium wages based on their regular rate of pay under Labor Code §226.7 but

     7 were not receiving such compensation.

     8         32.     On information and belief, Defendants also required Plaintiff and Class Members
     9 to work off-the-clock. For instance, Plaintiff, and on information and belief Class Members, were

    10 required to use their personal cell phone to communicate with the manager and general manager

    1 1 via text message to discuss scheduling and other work-related issues. Defendants failed to include

    12 off-the-clock work performed after Plaintiff and Class Members clocked out for the day. During

    13 the relevant time frame, Plaintiff and Class Members were required to close the gate after clocking

    14 out on a daily basis. Lastly, Defendants failed to include off-the-clock work performed by Plaintiff

    15 and Class Members for the time spent cleaning the fingerprint scanner so they could accurately

    16 clock-in. Often times, the fingerprint scanner used to clock-in would be dirty and fail to function

    17 properly. Over time this resulted in an underpayment of minimum and overtime wages.

    18         33.     Defendants also failed to reimburse Plaintiff and Class Members for business
    19 expenses incurred pursuant to Labor Code section 2802. For instance, Defendants did not

    20 reimburse Plaintiff and Class Members for use of personal cellphones to carry out their work-

    21 related duties while under the direction and control of Defendants. Plaintiff and on information

    22 and belief Class Members, were required to use their personal cell phones to communicate with

    23 Defendants' management. Plaintiff was forced to exchange text messages with the manager and/or

    24 general manager regarding scheduling and other work related issues for approximately five to ten

    25 minutes, approximately three (3) times per week. During work hours, every other day (daily

    26 during COVID-19), Plaintiff would text message with his managers from approximately 5:00 p.m.

    27 to 11:00 p.m. when he was left alone at the front desk. Although the front desk had a phone,

    28 managers would choose to send text messages to Plaintiffs personal cell phone. Lastly, on a daily


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     1 basis, Plaintiff and on information and belief Class Members, would take pictures on their

     2 personal cell phones of guests' rooms to assess damage or items left in the room. Defendants

     3 failed to reimburse Plaintiff and Class Members for personal cell phone use.

     4          34.    Defendants failed to reimburse Plaintiff and Class Members for necessary business
     5 expenses as it relates to the maintenance and upkeep of Defendants' uniforms pursuant to Labor

     6 Code § 2802. Defendants required Plaintiff and Class Members to wear a suit as their work

     7 uniform. Plaintiff was forced to purchase his suits, costing him at least $300. Additionally,

     8 Plaintiff and Class Members were responsible for the maintenance of their uniforms and were

     9 required to keep them clean and in professional condition. As a result, Plaintiff and Class

    10 Members would spend time regularly laundering and caring for their uniforms. However, despite

    1 1 these realities, Defendants failed to reimburse Plaintiff and Class Members for expenses resulting

    12 from maintaining their uniforms. Defendants promised Plaintiff that they would reimburse him for

    13 costs relating to purchasing suits, but Defendants failed to do so. Further, Plaintiff and Class

    14 Members were forced to purchase their own COVID-19 protective gear, such as masks.

    15 Defendants failed to reimburse Plaintiff and Class Members for these necessary business

    16 expenditures.

    17          35.    Defendants also failed to provide accurate, lawful itemized wage statements to
    18 Plaintiff and the Class Members in part because of the above specified violations. In addition,

    19 upon information and belief, Defendants omitted an accurate itemization of total hours worked,

    20 including premiums due, overtime pay, gross pay and net pay figures from Plaintiff and the Class

    21 Members' wage statements.

    22          36.    Plaintiff is informed and believes, and thereon alleges, that at all times herein
    23 mentioned, Defendants knew that at the time of termination of employment (or within 72 hours

    24 thereof for resignations without prior notice as the case may be) they had a duty to accurately

    25 compensate Plaintiff and Class Members for all wages owed including minimum wages, meal and

    26 rest period premiums, and that Defendants had the financial ability to pay such compensation, but

    27 willfully, knowingly, recklessly, and/or intentionally failed to do so in part because of the above-

    28 specified violations.


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     1          37.    Upon information and belief, Defendants knew and or should have known that it is
     2 improper to implement policies and commit unlawful acts such as:

     3         (a)     failing to pay overtime and minimum wages;
     4         (b)     failing to provide accurate itemized wage statements;
     5         (c)     failure to accurately pay sick pay;
     6         (d)     failing to timely pay Plaintiff and Class Members;
     7         (e)     failure to reimburse business expenses; and
     8         (f)     conducting and engaging in unfair business practices.
     9          38.    In addition to the violations above, and on information and belief, Defendants knew
    10 they had a duty to compensate Plaintiff and Class Members for the allegations asserted herein, and

    1 1 that Defendants had the financial ability to pay such compensation, but willfully, knowingly,

    12 recklessly, and/or intentionally failed to do so.

    13          39.    Plaintiff and Class Members they seek to represent are covered by, and Defendants
    14 are required to comply with, applicable California Labor Codes, Industrial Welfare Commission

    15 Occupational Wage Orders (hereinafter "IWC Wage Orders") and corresponding applicable

    16 provisions of California Code of Regulations, Title 8, section 11000 et seq.

    17                                    FIRST CAUSE OF ACTION
    18                     FAILURE TO PAY WAGES INCLUDING OVERTIME
    19                                      (Against All Defendants)
    20         40.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    21 though fully set forth herein.

    22         41.     At all times relevant, the IWC wage orders applicable to Plaintiff's and the Class
    23 require employers to pay its employees for each hour worked at least minimum wage."Hours

    24 worked" means the time during which an employee is subject to the control of an employer, and

    25 includes all the time the employee is suffered or permitted to work, whether or not required to do

    26 so, and in the case of an employee who is required to reside on the employment premises, that

    27 time spent carrying out assigned duties shall be counted as hours worked.

   -28         42.     At all relevant times, Labor Code §1197 provides that the minimum wage for


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     1 employees fixed by the IWC is the minimum wage to be paid to employees, and the payment of a

     2 lesser wage than the established minimum is unlawful. Further, pursuant to the IWC Wage Order

     3 and Labor Code, Plaintiff and Class Members are to be paid minimum wage for each hour

     4 worked, and cannot be averaged At all times relevant, the IWC wage orders applicable to Plaintiff

     5 and Class Members' employment by Defendants provided that employees working for more than

     6 eight(8) hours in a day or forty (40) hours in a work week are entitled to overtime compensation

     7 at the rate of one and one-half times the regular rate of pay for all hours worked in excess of eight

     8 (8) hours in a day or forty (40) hours in a work week. An employee who works more than twelve

     9 (12) hours in a day is entitled to overtime compensation at a rate of twice the regular rate of pay.

    10         43.     At all relevant times, Labor Code §1197.1 states "[a]ny employer or other persons
    1 1 acting individually as an officer, agent, or employee of another person, who pays or causes to be

    12 paid to any employee a wage less than the minimum fixed by an applicable state or local law, or

    13 by an order of the commission shall be subject to a civil penalty, restitution of wages, liquidated

    14 damages payable to the employee, and any applicable penalties pursuant to Section 203.

    15          44.    Labor Code §510 codifies the right to overtime compensation at the rate of one and
    16 one-half times the regular rate of pay for all hours worked in excess of eight(8) hours in a day or

    17 forty (40) hours in a work week and to overtime compensation at twice the regular rate of pay for

    18 hours worked in excess oftwelve (12) hours in a day or in excess of eight(8) hours in a day on the

    19 seventh day of work in a particular work week.

    20          45.    At all times relevant, Plaintiff and Class Members regularly performed non-exempt
    21 work and thus were subject to the overtime requirements of the IWC Wage Orders, CCR § 11000,

    22 et. seq. and the Labor Code.

    23          46.    At all times relevant, Plaintiff and Class Members consistently worked in excess of
    24 eight(8) hours in a day and/or forty (40) hours in a week and Defendant's failed to accurately

    25 calculate overtime pay to Plaintiff and Class Members.

    26         47.     At all times relevant, Plaintiff and Class Members consistently worked off-the-
    27 clock, for duties performed while clocked-out, resulting in an inaccurate payment of minimum and

    28 overtime wages to Plaintiff and Class Members.


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     1          48.    Defendants further failed to incorporate bonuses, shift differentials, and other

     2 remunerations into the employees' regular rates of pay for purposes of calculating overtime.

     3          49.    At all times relevant, Defendants have failed to accurately pay minimum and
     4 overtime owed to Plaintiff and Class Members.

     5          50.    Accordingly, Defendants owe Plaintiff and Class Members minimum and overtime
     6 wages, and have failed to pay Plaintiff and Class Members their wages owed.

     7          51.    Pursuant to Labor Code §§ 510, 558 and 1194, Plaintiff and Class Members are
     8 entitled to recover their unpaid wages and overtime compensation, as well as interest, costs, and

     9 attorneys' fees.

    10                                   SECOND CAUSE OF ACTION
    11                            FAILURE TO PAY TIMELY PAY WAGES
    12                                      (Against All Defendants)
    13          52.    Plaintiff incorporates and re-alleges each and every allegation contained above as
    14 though fully set forth herein.

    15          53.    Labor Code §§201-202 requires an employer who discharges an employee to pay
    16 compensation due and owing to said employee immediately upon discharge and that if an

    17 employee voluntarily leaves his or her employment, his or her wages shall become due and

    18 payable not later than seventy-two(72) hours thereafter, unless the employee has given seventy-

    19 two(72) hours previous notice of his or her intention to quit, in which case the employee is

    20 entitled to his or her wages on their last day of work.

    21          54.    Labor Code §203 provides that if an employer willfully fails to pay compensation
    22 promptly upon discharge, as required by Labor Code §§201-202, the employer is liable for waiting

    23 time penalties in the form of continued compensation for up to thirty (30) work days.

    24          55.    During the relevant time period, Defendants willfully failed and refused, and
    25 continue to willfully fail and refuse, to pay Plaintiff and Class Members their wages, earned and

    26 unpaid, either at the time of discharge, or within seventy-two (72) hours of their voluntarily

    27 leaving Defendants' employ. These wages include regular and overtime.

    28          56.    As a result, Defendants are liable to Plaintiff and members of the Non-Exempt


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     1 Production Employee class for waiting time penalties pursuant to Labor Code §203, in an amOunt

     2 according to proof at the time of trial.

     3                                    THIRD CAUSE OF ACTION
     4          FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
     5                                      (Against All Defendants)
     6          57.    Plaintiff incorporates and re-alleges each and every allegation contained above as
     7 though fully set forth herein.

     8          58.    Section 226(a) states that An employer, semimonthly or at the time of each
     9 payment of wages, shall furnish to his or her employee, either as a detachable part of the check,

    10 draft, or voucher paying the employee's wages, or separately if wages are paid by personal check

    1 1 or cash, an accurate itemized statement in writing showing (1) gross wages earned,(2)total hours

    12 worked by the employee, except as provided in subdivision (j),(3) the number of piece-rate units

    13 earned and any applicable piece rate if the employee is paid on a piece-rate basis, (4) all

    14 deductions, provided that all deductions made on written orders of the employee may be

    15 aggregated and shown as one item,(5) net wages earned,(6) the inclusive dates of the period for

    16 which the employee is paid,(7)the name of the employee and only the last four digits of his or her

    17 social security number or an employee identification number other than a social security number,

    18 (8)the name and address ofthe legal entity that is the employer.

    19          59.    Section 226(a) of the California Labor Code requires Defendants to itemize in wage
    20 statements all deductions from payment of wages and to accurately report total hours worked by

    21 Plaintiff and the Class including applicable hourly rates among other things. Defendants have

    22 knowingly and intentionally failed to comply with Labor Code section 226 and 204 on wage

    23 statements that have been provided to Plaintiff and the Class.

    24         60.     IWC Wage Orders require Defendants to maintain time records showing, among
    25 others, when the employee begins and ends each work period, meal periods, split shift intervals

    26 and total daily hours worked in an itemized wage statement, and must show all deductions and

    27 reimbursements from payment of wages, and accurately report total hours worked by Plaintiff and

    28 the Class. On information and belief, Defendants have failed to record all or some of the items


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     1 delineated in Industrial Wage Orders and Labor Code §226.
                                                                                                          Pi


     2          61.     Defendants have failed to accurately record all time worked.
     3          62.     Defendants have also failed to accurately record the meal and rest period premiums
     4 owed and all wages owed per pay period.

     5          63.     Plaintiff and the Class have been injured as they were unable to determine whether
     6 they had been paid correctly for all hours worked per pay period among other things.

     7          64.     Pursuant to Labor Code section 226, Plaintiff and the Class are entitled up to a
     8 maximum of $4,000 each for record keeping violations.

     9          65.     Pursuant to Labor Code section 226.3, any employer who violates subdivision (a)
    10 of Section 226 shall be subject to a civil penalty in the amount of two hundred fifty dollars ($250)

    1 1 per employee per violation in an initial citation and one thousand dollars ($1,000) per employee

    12 for each violation in a subsequent citation, for which the employer fails to provide the employee a

    13 wage deduction statement or fails to keep the records required in subdivision (a)of Section 226.

    14                                   FOURTH CAUSE OF ACTION
    15                FAILURE TO ACCURATELY RECORD AND PAY SICK LEAVE

    16                                      (Against All Defendants)

    17          66.     Plaintiff incorporates and re-alleges each and every allegation contained above as

    18 though fully set forth herein.

    19          67.     Labor Code Section 246(i) provides that: "an employer shall provide an employee

    20 with written notice that sets forth the amount of paid sick leave available, or paid time off leave an

    21 employer provides in lieu of sick leave, for use on either the employee's itemized wage statement

    22 described in Section 226 or in a separate writing provided on the designated pay date with the

    23 employee's payment of wages. If an employer provides unlimited paid sick leave or unlimited

    24 paid time off to an employee, the employer may satisfy this section by indicating on the notice or

    25 the employee's itemized wage statement 'unlimited.' The penalties described in this article for a

    26 violation of this subdivision shall be in lieu ofthe penalties for a violation of Section 226."

    27          68.     Labor Code § 246 provides that the employer shall calculate paid sick leave by

    28 using one of two calculations:(1)"Paid sick time for nonexempt employees shall be calculated in


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     1 the same manner as the regular rate of pay for the workweek in which the employee uses paid sick

     2 time, whether or not the employee actually works overtime in that workweek;" or (2)"Paid sick

     3 time for nonexempt employees shall be calculated by dividing the employee's total wages, not

     4 including overtime premium pay, by the employee's total hours worked in the full pay periods of

     5 the prior 90 days of employment."

     6         69.     Whenever Defendants paid Plaintiff and Class Members sick time pursuant to
     7 California Labor Code § 246, Defendant did so at the incorrect rate of pay. Defendants paid

     8 Plaintiff and the Class Members at the incorrect rate of pay and/or base hourly rate of pay, as

     9 opposed to the regular rate of pay, which would take into account all night premiums and/or shift

    10 differentials, or by dividing the employees' total wages, not including overtime premium pay, by

    1 1 the employees' total hours worked in the full pay periods of the prior 90 days of employment, as

    12 required by Labor Code § 246. This resulted in the employees being underpaid for sick time, and

    13 resulted in violations of California Labor Code §§ 201, 202, and 203, and other derivative Labor

    14 Code violations, because Defendant did not pay, or timely pay, Plaintiff and the unpaid wages for

    15 work performed by them during their employment and at the end of their employment.

    16         70.     As a result of the unlawful acts of Defendant, Plaintiff and Class Members have
    17 been deprived of sick pay in amounts to be determined at trial, and are entitled to the recovery of

    18 such amounts, plus interest and penalties thereon, attorneys' fees, and costs.

    19                                        FIFTH CAUSE OF ACTION
    20                   FAILURE TO INDEMNIFY NECESSARY BUSINESS EXPENSES
    21                                         (Against All Defendants)
    22         71.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    23 though fully set forth herein.

    24         72.     Labor Code § 2802 requires Defendants to indemnify Plaintiff and Class Members
    25 for necessary expenditures incurred in direct consequences ofthe discharge of his or her duties. As

    26 a necessary part of employment, Plaintiff and on information and belief Class Members, were not

    27 adequately reimbursed by Defendants for expenses related to all expenses incurred as a result of

    28 their personal cellphone usage and personal funds usage as described above, which was incurred


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     1 as a direct consequence of the discharge of duties by Plaintiff and Class Members. Despite these

     2 realities of the job, Defendants failed to provide reimbursements.

     3          73.    Labor Code §2804 states in pertinent part: "Any contract or agreement, express or
     4 implied, made by any employee to waive the benefits of this article or any part thereof is null and

     5 void, and this article shall not deprive any employee or his or her personal representative of any

     6 right or remedy to which he is entitled under the laws of this State.

     7          74.    As a result of the unlawful acts of Defendants, Plaintiff and the Class Members
     8 have been deprived of un-reimbursed expense amounts to be determined at trial, and are entitled to

     9 the recovery of such amounts, plus interest and penalties thereon, attorneys' fees, and costs,

    10 pursuant to Labor Code § 2802.

    11                                        SIXTH CAUSE OF ACTION
    12                 VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200, et.seq.
    13                                         (Against All Defendants)
    14          75.    Plaintiff incorporates and re-alleges each and every allegation contained above as
    15 though fully set forth herein.

    16          76.    Defendants' conduct, as alleged in this complaint, has been, and continues to be,
    17 unfair, unlawful, and harmful to Plaintiff and Class Members, Defendants' competitors, and the

    18 general public. Plaintiff seeks to enforce important rights affecting the public interest within the

    19 meaning ofthe California Code of Civil Procedure §1021.5.

    20         77.     Defendants' policies, activities, and actions as alleged herein, are violations of
    21 California law and constitute unlawful business acts and practices in violation of California

    22 Business and Professions Code §§17200, et seq.

    23         78.     A violation of California Business and Professions Code §§17200, et seq., may be
    24 predicated on the violation of any state or federal law. Defendants' policy of failing to accurately

    25 pay overtime, failing to pay minimum wages, failing to reimburse expenses, failing to provide

    26 accurate itemized wage statements and failing to accurately pay Plaintiff and Class Members sick

    27 pay, violates Labor Code § 226, §246, §512, § 226.7, § 246, § 1194, § 2802, and applicable IWC

    28 Wage Orders and California Code of Regulations.


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     1         79.     Plaintiff and Class Members have been personally aggrieved by Defendants'
     2 unlawful and unfair business acts and practices alleged herein by the loss of money and/or

     3 property.

     4         80.     Pursuant to California Business and Professions Code §§17200, et seq., Plaintiff
     5 and Class Members are entitled to restitution of the wages withheld and retained by Defendants

     6 during a period that commences four (4) years prior to the filing of this complaint; an award of

     7 attorneys' fees, interest; and an award of costs.

     8                                       PRAYER FOR RELIEF

     9                 WHEREFORE,Plaintiff prays for judgment against Defendants, as follows:

    10                                           Class Certification

    11          1.     That this action be certified as a class action;

    12         2.      That Plaintiff be appointed as the representative ofthe Class;

    13         3.      That Plaintiff be appointed as the representative ofthe Subclass; and

    14         4.      That counsel for Plaintiff is appointed as counsel for the Class and Subclass.

    15                                      On the First Cause of Action

    16          1.     For compensatory damages equal to the unpaid balance of minimum wage

    17 compensation and overtime owed to Plaintiff and Class members as well as interest and costs;

    18         2.      For reasonable attorneys' fees and costs pursuant to Labor Code §§ 510, and 1194;

    19         3.      For liquidated damages in an amount equal to the wages unlawfully unpaid and

    20 interest thereon pursuant to Labor Code §§ 1194.2, 558;

    21         4.      For such other and further relief as the Court deems proper.

    22                                    On the Second Cause of Action

    23          1.     For statutory penalties pursuant to Labor Code §203;

    24         2.      For interest for wages untimely paid; and

    25         3.      For such other and further relief as the Court deems proper.

    26                                     On the Third Cause of Action

    27          1.     For statutory penalties pursuant to Labor Code §226;

   -28         2.      For interest for wages untimely paid;


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     1         3.     For penalties pursuant to Labor Code §266.3; and

     2         4.     For such other and further relief as the Court deems proper.

     3                                         On the Fourth Cause of Action

     4         1.     For unpaid sick leave;

     5         2.     For penalties pursuant to Labor Code § 203;

     6         3.     For interest;

     7         4.     For reasonable attorneys' fees and costs pursuant to statute; and

     8         5.     For such other and further relief as the Court deems proper

     9                                    On the Fifth Cause of Action

    10         1.     For statutory penalties pursuant to Labor Code §2802;

    11         2.     For interest for wages untimely paid; and

    12         3.     For such other and further relief as the Court deems proper.

    13                                    On the Sixth Cause of Action

    14         1.     That Defendants, jointly and/or severally, pay restitution of sums to Plaintiff and

    15 Class Members for their past failure to accurately pay overtime, failing to pay minimum wages,

    16 failing to reimburse expenses, failing to accurately pay sick leave, failing to provide accurate

    17 itemized wage statements;

    18         2.     For pre-judgment interest on any unpaid wages due from the day that such amounts

    19 were due;

    20         3.     For reasonable attorneys' fees that Plaintiff and Class Members are entitled to

    21 recover;

    22         4.     For costs of suit incurred herein; and

    23         5.     For such other and further relief as the Court deems proper.

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     1                                   DEMAND FOR JURY TRIAL

     2         Plaintiff and members of the Class and Subclass request a jury trial in this matter.

     3

     4

     5
         Dated: February 28, 2022                     JAMES HAWKINS APLC
     6

     7                                                By:                   \-
                                                             JAMES R. HAWKINS,ESQ.
     8                                                       GREGORY MAURO,ESQ.
                                                             MICHAEL CALVO,ESQ.
     9                                                       LAUREN FALK,ESQ.
                                                             AVA ISSARY,ESQ.
    10                                                       Attorneys for Plaintiff DAVID YUREVICH
                                                             JR. individually and on behalf of all others
    11                                                       similarly situated.
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                                           CLASS ACTION COMPLAINT
                                                                                      EXHIBIT A, p. 86
    Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 85 of 186 Page ID
                                      #:106
                                                                                                   Reserved for Clerk's File Stamp
    •      •     SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                             .,              FILED ..
 Spring Street Courthouse                                                                    'S            ,C        dCaFlf tflA,
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                        O2I28iO22E —
                   NOTICE OF CASE ASSIGNMENT                                              §iiisiiiitidi*exik*OW!&ti8itili

                         UNLIMITED CIVIL CASE                                              • 1.                                  - ,-'.; ',::•.,

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCV07221

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                    ASSIGNED JUDGE                       DEPT          ROOM
   1     Kenneth R. Freeman                 14




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 03/01/2022                                                        By J. Covarrubias                                      , Deputy Clerk
                (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSiGNM-ENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                                                                EXHIBIT A, p. 87
    Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 86 of 186 Page ID
                                      #:107
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)          NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                              EXHIBIT A, p. 88
  Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 87 of 186 Page ID
                                    #:108
                                                                                                   2019-gEN-014-00

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 1                                                                                County ofL0
                                                                                            . Angeles

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                                                                                           • .,• 2019'
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                                                                           Sherri gaiter,pflittveDffieericletit
 3
                                                                            fly           /itc       ,Deputy
                                                                                      linda Mina
 4

 5
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                      FOR THE COUNTY OF LOS ANGELES
 7

        IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
        — MANDATORY ELECTRONIC FILING )
 9      FOR CIVIL
10

11

12             On Dtccrilbcr:3, 2018,the Los Angeles County Superior Court mandated electronic filing Of all '•      Z.1




13      documents in Limited Civil cases hy litigants represnted by attorneys. On January 2, 2019, the Los: .
14      Angeles County Superior Court mandated electronic :filing of all documents filed in Non-Complex

15      Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16      All electronically filed documentsin Limited and Non-Complex Unlimited cases are subject to the

17      following:

18      1) DEFINITIONS

19 ,       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20             quickly locate and navigate to a designated point of interest within a document.

21         b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

22                    ihatsives litigants access to the approved Electronic Filing Service Providers.

23         c) "Electronic Envelope" A transaction through the electronic service provider for submission

24             ofdocuments to the Court for processing which may contain one or more PDF documents

25 .!          attached.

26         d) "Electronic Filing' Electronic Filing (eFiling)is,the electronic transmission to a Court of a

27 ;           document in electronic form (California Rules of Court, rule 2.250(b)(7).)

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                           ;i FIRST AMENDED
                                     '     ,GEINTRAL;pgow.REMANQATORtELECTRONIC FILING FOR CIVIL
                                                                                             EXHIBIT A, p. 89
,s     Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 88 of 186 Page ID
                                         #:109
                                                                                                    2019-GEN-014-00 ,




      1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
      2         person or entity that receives an electronic filing from a party for retransmission to the Court.
      3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
      4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
      5      f) "Electronic Signature" Foi purposes of these local rules and in conformity with Code of
      6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
      7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
      8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
      9         process attached to or logically associated with an electronic record and executed or adopted
     10         by a person with the intent to sign the electronic record.
     11      g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
     12 ,       in a hypertext or hypermedia document to another in the same or different document.
     13      h) "Portable Document Format" A digital document format that preserves all fonts,
     14         formatting, colors and graphics of the original source document,regardless of the application
     15         platform used.

     16 . 2) MANDATORY ELECTRONIC FILING
     17      a) Trial Court Records
     18         Pursuant to Government Code section 68150, trial court records may be created, maintained,
     19         and preserved in electronic format. Any document that the Court receives electronically must
     20         be clerically processed and must satisfy all legal filing requirements in order to be filed as an
     21         official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
     22      b) Represented Litigants
     23 •!      Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
     24         electronically file documents with the Court through an approved EFSP.
     25      c) Public Notice
     26         The 'Court has issued a Public Notice with effective dates the Court required parties to
     27 •       electronically file documents through one or more approved EFSPs. Public Notices containing
     28         effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.


                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                               EXHIBIT A, p. 90
  Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 89 of 186 Page ID
                                    #:110
                                                                                                   2019-GEN-014-00
                                                                             „

 1           d) Documents in Related Cases

 2              Documents in related cases must be electronically filed in the eFiling portal for that case type if

 3              electronic filing has been implemented in that case ty0e, regardless of whether the case has

 4              been related to a Civil case.
 5      3) EXEMPT LITIGANTS

 6           a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

 7              from mandatory electronic filing requirements.

             b) Puisuant to Code ofSivil Procedure section 1010.6, subdivision (d)(3) and California Rules of

 9              Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

10              from filing documents electronically and be pennitted.to file documents by conventional

11              means if the party shows undue hardship or significant prejudice.

12      4 EXEMPT FILINGS

13           a) The following documents shall not be filed electronically:
14              i)    Peremptory Challenges or Challenges for Cause ofa Judicial Officer pursuant to Code of

15                    Civil Procedure sections 170.6 or 170.3;
16              ii)   Bonds/Undertaking documents;

17                    Trial and Evidentiary Hearing Exhibits
18              iv)   Any ex parte application that is filed concurrently with a new complaint including those
19                    that will be handled by a Writ's and Receivers department in the Mosk courthouse; and
20              v)    Documents submitted conditionally under seal. The actual nibtion or application shall be

21. :                 electronically filed. A courtesy copy of the electronically fled motion or application to
22                    submit documents conditionally under seal must be provided with the documents

23 ,                  submitted conditionally under seal.

24           b) Lodgments
.75             Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

26      paper form. The actual document entitled,"Notice of Lodginent,"'Shall be filed electronically.

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                           FIRST AMENDED GENERAL ORDER RE MANDATORV,E.LECTRONIC FILING FOR CIVIL
                                                                                               EXHIBIT A, p. 91
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 90 of 186 Page ID
                                   #:111
                                                                                               2019-GEN-01400




 1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

2       Electronic filing service providers must obtain and manage registration informatioii for persons

3       and entities electronically filing with the court.

4     6) TECHNICAL REQUIREMENTS
5       a) Electronic documents must be electronically filed in PDF,text searchable format when

6:          technologically feasible without impairment of the document's image.

7       b) The table of contents for any filing must be boolanarked.

8       c) Electronic documents,including but not limited to, declarations, proofs of service, and

9          exhibits:, must be bookmarked*Within the document pursuant to California Rules of Court, rule

10          3.1110(0(4). Electronic bookmarks must include links to the first page of each bookmarked

11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12          bookedmarked item and briefly describe the item.

13      d) Attachments to primary documents Must be boolcmarked. Examples include,but are not

14          limited to, the following:
15          i)    Depositions;

16          ii)   Declarations;

17          iii) Exhibits (including exhibits to declarations);

18          iv) Transcripts (including excerpts within transcripts);

19          v)    Points and Authorities;

20          vi)   Citations; and

21          vii) Supporting Briefs.

22      e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23:         encouraged.

24      0 Accompanying Documents
25          Eabh dodUmentacoMpanying a single pleading Must be electronically filed as a separate

261         digital PDF dOcument.

27      g) Multiple Documents
28(         Multiple documents relating to one case can be uploaded in one envelope transaction.

                            _
                       FIRST AMENDED GENERAL ORDER'RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                          EXHIBIT A, p. 92
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 91 of 186 Page ID
                                   #:112
                                                                                                2019-GEN-014-00




         h) Writs and Abstracts

2           Writs and Abstracts must be submitted as a separate electronic envelope.

3        i) Sealed Documents

4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.

 8       j) Redaction
9           Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to

10          redact confidential information(such as using initials for names of minors, using the last four

11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13     7) ELECTRONIC FILING SCHEDULE

14H      a) Filed Date

15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm

16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code

19 :            Civ. Proc. § 1010.6(b)(3).)

20          ii) Notwithstanding any other provision of this order,if a digital document is not filed in due

21              course because of: (1) an interruption in service;(2) a transmission error that is not the

22              fault of the transmitter; or(3)a processing failure that occurs after receipt, the Court may

23              order, either on its own motion or by noticed motion submitted with a declaration for Court

24              consideration, that the document be deemed filed and/or that the document's filing date

25              conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS

27       a) Ex parte applications and all documents in support thereof must be electronically filed no later

28          than 10:00 a.m. the court day before the ex parte hedring.

                                                                                                   N...   ••••••



                        FIRST.AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL-
                                                                                           EXHIBIT A, p. 93
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 92 of 186 Page ID
                                   #:113
                                                                                              2019-GEN-014-00




 1 1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3           application must be provided to the court the day of the ex parte hearing.
4      9) PRINTED COURTESY COPIES

5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14                Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22     0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25           1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27          section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28          electronically filed in any authorized action or proceeding.

                                                                  —
                      .FIRST AMENDED GENERAL.ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                         EXHIBIT A, p. 94
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                                   #:114
                                                                                                  2019-GEN-014-00




       1) SIGNATURES ON ELECTRONIC FILING

2         For purposes of this General Order, all electronic filings must be in compliance with California

 3        Rules cif Court, rule 2.257. This General Order applies to documents filed within the Civil

          Division of the Los Angeles County Superior Court.

5

6             This First Amended General Order supersedes any previous order related to electronic filing,

 7     ,and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

 8     Supervising Judge and/or Presiding Judge.

9

10     DATED: May 3, 2019
                                                             KEVIN C. BRAZ1LE
11
                                                             Presiding Judge
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                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL -
                                                                                             EXHIBIT A, p. 95
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 94 of 186 Page ID
                                  #:115
     • SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                            Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22ST&07221                                                                          March 14, 2022
   DAVID YUREVICH JR. vs INTERSTATE-RIM                                                      2:00 PM
   MANAGEMENT COMPANY,LLC,et al.


   Judge: flonorable Kenneth R. Freeman               CSR: None
   JudiciaI Assistant: B. Guerrero                    ERM:None
   Courtroom Assistant: C. Gomez                      Deputy Sheriff: None

   APPEARANCES:
   For Plaintiff(s): No Appearances
   For Defendant(s): No Appearances




   NATURE OF PROCEEDINGS: Court Order Regarding Newly Filed Class Action;

   By this order, the Court determines this case to be Complex according to Rule 3.400 of the
   California Rules of Court. The Clerk's Office has assigned this case to this department for all
   purposes.

   Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
   thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
   fee ofime thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
   or adverse party, not to exceed,for each separate case number, a total of eighteen thousand
   dollarg,($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
   All suCh fees are ordered to be paid to Los Angeles Superior Court, within ten (10)days of
   service of this order.

   By this order, the Court stays the case, except for service of the Summons and Complaint. The
   stay cOtinues at least until the Initial Status Conference. Initial Status Conference is set for
   06/03/F022 at 10:00 AM in this department. At least ten(10)days prior to the Initial Status
   Conferience, counsel for all parties must discuss the issues set forth in the Initial Status
   Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
   Statement five(5)court days before the Initial Status Conference.

   The Iritia1 Status Conference Order, served concurrently with this Minute Order, is to help the
   Court and the parties manage this complex case by developing an orderly schedule for briefing,
   discHery, and court hearings. The parties are informally encouraged to exchange documents and
   information as may be useful for case evaluation.

   RespcInsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
   of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
                                              Minute Order                                  Page 1 of3

                                                                                        EXHIBIT A, p. 96
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 95 of 186 Page ID
                                  #:116
      SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                             Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22STCV07221                                                                         March 14, 2022
   DAVID YUREVICH JR. vs INTERSTATE-RIM                                                      2:00 PM
   MANAGEMENT COMPANY,LLC,et al.


   Judge: Honorable Kenneth R. Freeman                CSR: None
   Judicial! Assistant: B. Guerrero                   ERM:None
   Courtrdom Assistant: C. Gomez                      Deputy Sheriff: None

  Appearance shall not constitute a waiver of any substantive or procedural challenge to the
  Compliint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
  Code or Civil Procedure Section 170.6. Nothing in this order stays the filing ofan Amended
  Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
  Private Attorney General Act("PAGA")claim.

  For infrnation on electronic filing in the Complex Courts, please refer to
  https://www.lacourt.org/division/efiling/efiling2.aspxiicivil. See, in particular, the link therein for
  "CompIlex Civil efiling." Parties shall file all documents in conformity with the Presiding Judge's
  First AMended General Order of May 3,2019, particularly including the provisions therein
  requiring Bookmarking with links to primary documents and citations; that Order is available on
  the CoUrt's
         1    website at the link shown above.

     For efficiency in communication with counsel, the complex program requires the parties in every
  " new cOe to use an approved third-party cloud service that provides an electronic message board.
     In order to facilitate communication with counsel prior to the Initial Status Conference, the
     partiesimust sign-up with the e-service provider at least ten (10)court days in advance of the
     Initial Status Conference and advise the Court which provider was selected.
             1
             1
     The curt has implemented LACourtConnect to allow attorneys, self-represented litigants and
     partiesi to make audio or video appearances in Los Angeles County courtrooms.
    .LACourtConnect technology provides a secure, safe and convenient way to attend hearings
     remotely. A key element of the Court's Access LACourt YOUR WAY program to provide
     services and access to justice, LACourtConnect is intended to enhance social distancing and
     chang4 the traditional in-person courtroom appearance model. See
     https://ry.lacourt.org/laccwelcome for more information.
          i
  This Complex Courtroom does not use Los Angeles Superior Court's Court Reservation("CRS")
  portal tI o reserve motion hearing dates. Rather, counsel may secure dates by calling the
  Courtroom Assistant at 213-310-70xx with the "xx" being the Department number, e.g. Dept. 1
  is 01        Dept. 10 is 10.
        arc!
  Court reporters are not provided for hearings or trials. The parties should make their own
  arrangements for any hearing where a transcript is desired.
         I
   If you. believe a party or witness will need an interpreter, see the court's website for information
   on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx
         I                                     Minute Order                                   Page 2 of3
         I
                                                                                         EXHIBIT A, p. 97
         1
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 96 of 186 Page ID
                                  #:117
    • SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                             Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22STCY07221                                                                      March 14,2022
   DAVIRYUREVICH JR. vs INTERSTATE-RIM                                                    2:00 PM
   MANAGEMENT COMPANY,LLC,et al.


   Judge: -Ionorable Kenneth R. Freeman              CSR: None
   Judiciq Assistant: 11. Guerrero                   ERM:None
   Courtroom Assistant: C. Gomez                     Deputy Sheriff: None


   Counsel are directed to access the following link for further information on procedures in the
   Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/C10042.aspx.

   The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
   Order r all parties forthwith and file a Proofof Service in this department within seven (7)days
   ofsemoe.       •

   Certificate of Mailing is attached.




                                            Minute Order                                 Page 3 of3

                                                                                     EXHIBIT A, p. 98
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 97 of 186 Page ID
                                  #:118
                                                                                          Reserved for Clerk's Fite Stamp
      •    SUPERIOR COURT OF CALIFORNIA
              COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                                                                FILED
                                                                                     Sup.orbr Court of Cal-amnia
Spring Stred,t Courthouse                                                             County of LosAngskas
312 North Spring Street, Los Angeles, CA 90012
                                                                                               03/1412022
PLAINTIFF/PETMONER:                                                          Stiorri R.                   Cit-trc•/ ra0A.p!Cuun
DAVID YURVICH JR.                                                              BV:                     uarlero         belnly
DEFENDANT/R4SPONDENT:
Interstate-Rini Management Company, LLC et al
                                                                             CASE NUMBER:
                      CERTIFICATE OF MAILING                                 22STCV07221

I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order(Court Order Regarding Newly
Filed Class Action;) of 03/14/2022, Initial Status Conference Order upon each party or counsel named
below by placing the document for collection and mailing so as to cause it to be deposited in the United
States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
separate seailed envelope to each address as shown below with the postage thereon fully prepaid,in
accordance with standard court practices.




    James Ft! Hawkins
   .James Hawkins APLC
    9880 Research Drive, Suite 200
    Irvine, CA 92618




                                                      Sherri R. Carter, Executive Officer / Clerk of Court

Dated: 03/115/2022 .                                   By: B. Guerrero
                                                           Deputy Clerk




                                       CERTIFICATE OF MAILING                                      EXHIBIT A, p. 99
   Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 98 of 186 Page ID
                                     #:119

                  Superior Court of California, County of Los Angeles



                        ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                NFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 With the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. -Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a publietrial and want a judge or jury to decide the outcome.
                       lack equal bargaining power or have a history of physical/emotional abuse.



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   For Mandatory Use



                                                                                                  EXHIBIT A, p. 100
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                                 How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                  • ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                    (949)863-9800
                  • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310)309-6209
                  • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                    (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
              https://hrc.lacountv.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
               should carefully review the Notice and other information they may receive about(ODR)
               requirements for their case.

          c. Mediators and ADR and Bar organizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration,the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourtorg/division/civil/C10109.aspx
      For general information and videos about ADR,visit http://www.courts.ca.gov/programs-adr.htm


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                                                                                                     EXHIBIT A, p. 101
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     2                                                                               FirGINAL PrLeo
                                                                                 uperior
                                                                                  C                 coeznr
                                                                                   ountyCourt o
                                                                                         of Los f California
                                                                                                Angeles
     3                                                                               MAR 14
                                                                       Sherfi R.            2022
     4                                                                           Carter,
                                                                                     Executive
                                                                             By: Berta         Officertferk of Court
     5                                                                                 Guerrero,
                                                                                                   Deputy
     6
     7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
     8                                     COUNTY OF LOS ANGELES
     9                                         CENTRAL DISTRICT
    10 DAVID YUREVICH JR                                    Case No. 22STCV07221
                                                            INITIAL STATUS CONFERENCE ORDER
    11                                                     (COMPLEX LITIGATION PROGRAM)
                       Plaintiff,
                 VS.
    12                                                       Case Assigned for All Purposes to
    13                                                       Judge Kenneth R. Freeman
       INTERSTATE-RIM MANAGEMENT
    14 COMPANY, et al                                       Department: 14
                Defendants.                                 Date:      June 3, 2022
    15                                                      Time:       10:00 a.m.

    16
                Due to the pandemic and the urgent need to avoid court appearances, the parties MUST
    17
    18 sign up with an e- service provider at least ten court days in advance of the Initial Status
    19 Conference and advise the Court, via email to sscdept14@lacourt.org, which provider was
    20 selected.
    21
                This case has been assigned for all purposes to Judge Kenneth R. Freeman in the Complex
    22
         Litigation Program. An Initial Status Conference is set for June 3,2022,at 10:00 a.m.,in
    23
         Department 14 located in the Spring Street Courthouse, at United States District Court, at/312
    24
    25 N.Spring Street, Los Angeles, California 90012. Counsel for all the parties are ordered to attend.
    26          The Court orders counsel to prepare for the Initial Status Conference by identifying and

    27 discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
    28

                                        INITIAL STATUS CONFERENCE ORDER
                                                                                           EXHIBIT A, p. 102
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         initiate contact with counsel for defense to begin this process. Counsel then must negotiate and
     1
                                                                   counsel must file a Joint Initial Status
     2 ajree, as possible, on a case management plan. To this end,
     3 Conference Class Action Response Statement ten (10)court days(June 3,2022 and provide a
     4 conformed courtesy copy DIRECTLY in Department 14)before the Initial Status Conference.
     5 The Joint Response Statement must be filed on line-numbered pleading paper and must
     6
         specifically answer each of the below-numbered questions. Do not the use the Judicial Council
     7
         Firm CM-110(Case Management Statement)for this purpose.
     8
                 1. PARTIES AND COUNSEL: Please list all presently-named class representatives and
     9
    10 presently-named defendants,together with all counsel of record,including counsel's contact and
    11 email information.
    12           2. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add
    13
         more class representatives? If so, and if known, by what date and by what name? Does any
    14
         p aintiff presently intend to name more defendants? If so, and if known, by what date and by what
    15
         lame? Does any appearing defendant presently intend to file a cross-complaint? If so, who will
    16
    17 be named.
    18          3. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong

    19 person or entity, please explain.
    20          4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party
    21
         believes one or more named plaintiffs might not be an adequate class representative, please
    22
         explain. No prejudice will attach to these responses.
    23
                5. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.
    24
    25          6. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list

    26 other cases with overlapping class definitions. Please identify the court, the short caption title-,the
    27 docket number,-and-the case status.
    28
                                                          -2-
                                        INITIAL STATUS CONFERENCE ORDER
                                                                                      EXHIBIT A, p. 103
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                7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
     1
                                                                            Opposing parties must
     2 MIAIVER CLAUSES: Please include a sample of any clause of this sort.
     3 summarize their views on this issue.
     4          8. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identify and
     5 describe the significant core issues in the case. Counsel then are to identify efficient ways to
     6
         resolve those issues. The vehicles include:
     7
            • Early motions in lirnine,
     8
            • Early motions about particular jury instructions,
     9
    10      • Demurrers,

    11      • Motions to strike,

    12      • Motions for judgment on the pleadings, and
    13
            • Motions for summary judgment and summary adjudication.
    14
                9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information
    15
         from the defendant's records? If so, do the parties consent to an "opt-out" notice process(as
    16
    17 approved in Belaire-West Landscape, Inc. v: Superior Court(2007) 149 Cal.App.4th 554, 561)to
    18 precede defense delivery of this information to plaintiff's counsel? If the parties agree on the
    19 notice process, who should pay for it? Should there be a third-party administrator?
    20          10. PROTECTIVE ORDERS: Parties considering an order to protect confidential
    21
         information from general disclosure should begin with the model protective orders found on the
    22
         ios Angeles Superior Court Website under "Civil Tools for Litigators."
    23
                11. DISCOVERY: Please discuss discovery. Do the parties agree on a plan? If not, can
    24
    25     e parties negotiate a compromise? At minimum,please summarize each side's views on

    26    iscovery. The Court generally allows discovery on matters relevant to class certification, which

    27 depending on circumstances) may include factual issues also touching the merits. The Court
    28
                                                         -3-
                                        INITIAL STATUS CONFERENCE ORDER
                                                                                     EXHIBIT A, p. 104
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         generally does not permit extensive or expensive discovery relevant only to the merits (for
     1
                                                                                     early need. If any
     2 e,1ample, detailed damages discovery) unless a persuasive showing establishes
     3 party seeks discovery from absent class members, please estimate how many, and also state the
     4 kind of discovery you propose'.
     5
                   12. INSURANCE COVERAGE: Please state if there is insurance for indemnity or
     6
     7
         Jimbursement.•


                   13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each
     8
             y's position about it. If pertinent, how can the Court help identify the correct neutral and
     9
    10 prepare the case for a successful settlement negotiation?
    11             14. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for

    12 the following:
    13
            • The next status conference,
    14
            • A schedule for alternative dispute resolution, if it is relevant,
    15
            • A filing deadline for the motion for class certification, and
    16
    17      • Filing deadlines and descriptions for other anticipated non-discovery motions.

    18         • 15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program

    19 requires the parties in every new case to use a third-party cloud service. While the parties are free
    20 to choose one of the services shown below, this Court(Department 14) prefers that the parties
    21
         Jelect:
    22
            • Case Anywhere (http://www.caseanywhere.com).
    23
             The parties are not required to select Case Anywhere, but may chose instead either
    24
    25      • File & Serve Xpress(https://securefileandservexpress.com) or

    26
    27        See California Rule of Court, Rule 3.768.
    28
                                                          -4-
                                        INITIAL STATUS CONFERENCE ORDER               EXHIBIT A, p. 105
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            • CaseHomePage (http://www.casehomepage.com).
     1
     2          Please agree on one and submit the parties' choice when filing the Joint Initial Status

     3 Conference Class Action Response Statement. If there is. agreement, please identify the vendor. If
     4 parties cannot agree, the Court will select the vendor at the Initial Status Conference. Electronic
     5 service is not the same as electronic filing. Only traditional methods of filing by physical delivery
     6
         of original papers or by fax filing are presently acceptable.
     7
                Reminder When Seeking To Dismiss Or To Obtain Settlement Approval:
     8
               "A dismissal of an entire class action, or of any party or cause of action in a class action,
     9
    10 r quires Court approval ... Requests for dismissal must be accompanied by a declaration setting
    11 forth the facts on which the party relies. The declaration must clearly state whether consideration,
    12 direct or indirect, is being given for the dismissal and must describe the consideration in detail."2
    13
         If the parties have settled the class action, that too will require judicial approval based on a noticed
    14
         motion (although it may be possible to shorten time by consent for good cause shown).
    15
                Pending further order of this Court, and except as otherwise provided in this Initial Status
    16
    17 Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the filing
    18 If any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the Court.
    19 l owever, any defendant may file a Notice of Appearance for purposes of identification of counsel
    20 dnd preparation of a service list. The filing of such a Notice of Appearance shall be without
    21
         prejudice to any challenge to the jurisdiction of the Court, substantive or procedural challenges to
    22
         tlhe Complaint, without prejudice to any affirmative defense, and without prejudice to the filing of
    23
         any cross-complaint in this action. This stay is issued to assist the Court and the parties in
    24
    25 managing this "complex" case through the development of an orderly schedule for briefing and
    26
    27       2 California Rule of Court, Rule 3.770(a)

    28
                                                           -5-
                                         INITIAL STATUS CONFERENCE ORDER                EXHIBIT A, p. 106
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          hearings on procedural and substantive challenges to the complaint and other issues that may
     1
     2 assist in the orderly management of these cases. This stay shall not preclude the parties from
     3 informally exchanging documents that may assist in their initial evaluation of the issues presented
     4 in this case, however shall stay all outstanding discovery requests.
     5           Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order on
     6
          counsel for all parties, or if counsel has not been identified, on all parties, within five (5)days of
     7
          service of this order. If any defendant has not been served in this action, service is to be completed
     8
          iithin twenty (20)days of the date of this order.
     9
    10           Dated:

    •11
                                                          KENNETH R. FREEMAN
    12
    13                                                     Judge Kenneth R.Freeman

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                                          INITIAL STATUS CONFERENCE ORDER                EXHIBIT A, p. 107
  Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 106 of 186 Page ID
                                    #:127
                                                                                        Reserved for Clerk's File Stamp
         •    SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
  COURTHOUSE )ki)DRESS:                                                                           FILED
                                                                                       Superior Court of CaDfornia
  Spring Street Courthouse.                                                              County of LosAngeles
  312 North Spring Street, Los Angeles, CA 90012
                                                                                             03/14/2022
  PLAINTIFF/PET TIONER:                                                                 Calcf,                   Ca6. COW.
  DAVID YUREVICH JR.                                                             BY:             B. Guerrero
  DEFENDANT/RESPONDENT:
   lnterstate-R m Management Company, LLC et at
                                                                               CASE NUMBER:
                          CERTIFICATE OF MAILING                               22S1CV07221

. I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
  party to the ause herein, and that on this date I served the Minute Order(Court Order Regarding Newly
  Filed Class Action;) of 03/14/2022, Initial Status Conference Order upon each party or counsel named
  below by placing the document for collection and mailing so as to cause it to be deposited in the United
  States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
  separate sealed envelope to each address as shown below with the postage thereon fully prepaid,in
  accordance with standard court practices.




      James R. Hawkins
      James Hawkins APLC
      9880 Reearch Drive, Suite 200
      Irvine, CA 92618




                                                         Sherri R. Carter, Executive Officer / Clerk of Court
   Dated: 03/15/2022.._                                  By: B. Guerrero
                                                             Deputy Clerk -




                                         CERTIFICATE OF MAILING                                  EXHIBIT A, p. 108
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                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                   The Early Organizational Meeting Stipulation, Discovery
                                Resolution Stipulation, and Motions in Limine Stipulation are
 Superior Court of California
 County of Los Angeles
                                voluntary stipulations entered into by the parties. The parties
                                may enter into one, two, or all three of the stipulations;
                                however, they may not alter the stipulations as written,
  LACBA                         because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section         manner that promotes economic case resolution and judicial
                                efficiency.
            7
   . It J.: ;   )01'                The following     organizations endorse the goal of
 Consumer Attorneys
 Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                consider using these stipulations as a voluntary way to
                                promote communications and procedures among counsel
                                and with the court to fairly resolve issues in their cases.

                                •Los Angeles County Bar Association Litigation Section*
 Southern California
 Defense Counsel
                                         •Los Angeles County Bar Association

                ',Auks!
                                              Labor and Employment Law Section*

 Association of
 Business Trial Lawyers            *Consumer Attorneys Association of Los Angeles*


                                         *Southern California Defense Counsel*


                                        *Association of Business Trial Lawyers*

 California Employment
 Lawyers Association
                                     *California Employment Lawyers Association*


    LACIV 230(NEV
    LASC Approved 4-11
    For Optional Use                                                                EXHIBIT A, p. 109
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                                   #:129


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's Fie Stemp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g.   Whether or When the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                    Page 1 of 2
                                                                                                  EXHIBIT A, p. 110
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                                  #:130
  SHORT'TITLE:                                                                      CASE NUMBER:




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

        h. Computation of damages, including documents, not privileged or protected from disclosure, on
           which such computation is based;

        i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                 www.lacourtorq under "Civif' and then under "General Information").

  2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                 to                         for the complaint, and                             for the cross-
                          (INSERT DATE)                                       (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lacourtorq under "Civil',
                 click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

  3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                 results of their meet and confer and advising the Court of any way it may assist the parties'
                 efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                 the Case Management Conference statement, and file the documents when the CMC
                 statement is due.

  4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day

  The following parties stipulate:
  Date:

                   (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
  Date:

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


  LACIV 229(Rev 02/15)
  LASC Approved 04/11          STIPULATION -'EARLYoRGANIZAtIONAL MEETING                                      Page 2 of 2
                                                                                                   EXHIBIT A, p. 111
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:              : STATE BAR NUMBER            Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.     Also be filed on the approved form (copy attached);

                     ii.     Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                   Page 1 of 3
                                                                                                  EXHIBIT A, p. 112
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                                  #:132
  SHORT TITLE:                                                                   CASE NUMBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

        d. If the Court has not granted or denied the Request for Informal Discovery Conference
           within ten (10) days following the filing of the Request, then it shall be deemed to have
           been denied. If the Court acts on the Request, the parties will be notified whether the
           Request for Informal Discovery Conference has been granted or denied and, if granted,
           the date and time of the Informal Discovery Conference, which must be within twenty (20)
           days of the filing of the Request for Informal Discovery Conference.

        e. If the conference is not held within twenty (20) days of the filing of the Request for
           Informal Discovery Conference, unless extended by agreement of the parties and the
           Court, then the Request for the Informal Discovery Conference shall be deemed to have
           been denied at that time.

  4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
     without the Court having acted or (c) the Informal Discovery Conference is concluded without
     resolving the dispute, then a party may file a discovery motion to address unresolved issues.

  5. The parties hereby further agree that the time for making a motion to compel or other
     discovery motion is tolled from the date of filing of the Request for Informal Discovery
     Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after tire
     filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
     by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

  6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
     an order shortening time for a motion to be heard concerning discovery.

  7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
     terminate the stipulation.

  8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
     for performing that act shall be extended to the next Court day.



  LACIV 036(new)
  LASC Approved 04/11             ,STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                                        Page 2 of 3
                                                                                                EXHIBIT A, p. 113
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 112 of 186 Page ID
                                  #:133
  SHORT'TITLE:                                                    CASE NUMBER:




  The following parties stipulate:

  Date:

                 (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
  Date:

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR




  LACIV 036(new)
  LASC Approved 04/11         -STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                         Page 3 of 3
                                                                                 EXHIBIT A, p. 114
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 113 of 186 Page ID
                                   #:134


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:

                                                                                          '
DEFENDANT:

                                                                                                     CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                    Request for Informal Discovery Conference
             111 Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Court to hold Informal Discovery Conference:                                               (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
      For Optional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
                                                                                                               EXHIBIT A,Tor-
                                                                                                                          p. 115
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 114 of 186 Page ID
                                   #:135



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):                                                           '
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11             -STIPULATION AND ORDER — MOTIONS IN-LIMINE
      For Optional Use                                                                                                   Page 1 of 2
                                                                                                  EXHIBIT A, p. 116
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 115 of 186 Page ID
                                  #:136
  SHORT TITLE:                                                 CASE NUMBER:




  The following parties stipulate:

  Date:

                 (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
  Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                 (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                 (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                 (ATTORNEY FOR



  THE COURT SO ORDERS.

    Date:
                                                                JUDICIAL OFFICER




                                                                                         ajar

  LACIV 075(new)
  LASC Approved 04/11      STIPULATION AND ORDER - MOTIONS IN LIMINE                    Page 2 of 2
                                                                              EXHIBIT A, p. 117
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 116 of 186 Page ID
                                  #:137




                                                                        F-I
                                                                    Los,ANG,LEssi,,E,IOR   COURT

 3.                                                                         MAY 1 1 2011
 4                                                                      JOHN A
                                                                               CLARKE,M__ERK

 5                                                                    BY NA CY AVARRO;
                                                                                       DEPUTY

 6

 7                    SUPERIOR COURT OF THE STATE Of CALIFORNIA
                              FOR THE COUNTY OF LOS ANGELES
 9
      General Order Re                           )   ORDER PURSUANT TO CCP 1054(a),
10
      Use of Voluntary Efficient Litigation      )   EXTENDING TIME TO RESPOND BY
11    Stipulations                               )   30 DAYS WHEN PARTIES AGREE
                                                 )   TO EARLY ORGANIZATIONAL
                                                 )   MEETING STIPULATION
.13

14
            'Whereas the Los Angeles Superior Court and the ExecUtive Corhi-nittee.bf the
15
      Litigation,Section of'the Los Angeles County Bar Association have cooperated in
16

17
      drafting "Voluntary Efficient Litigation Stipulations" and 'in proposing the stipulations for

18    use in general jurisdiction civil litigation in Los Angeles County;
19           Whereas the Los Angeles County Bar Association Litigation Section; the Los
29
      Angeles County Bar Association Laborand Employment LaW Section; the COnsurner
21
      Attorneys Association of Los Angeles; the Association of Southern California Defense

      Counsel;the Association of Business Trial Lawyers'of Los Angeles; and the California

24    EmblOyMent.Lawyers Association all"endorse the goal Of prornoting efficiency in
25'
      litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
      promote communications arid :procedures amOng counsel and with the cOurt to fairly
27
      resolve istUes in'their c.ases;"
28




                                 ORDER PURSUANT TO CCP 1054(A)
                                                                                    EXHIBIT A, p. 118
      Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 117 of 186 Page ID
                                        #:138
or;


                  Whereas the Early OrgenizatiOnal Meeting Stipulatibn is intended to entocirage
       1

       2   cooperation among the parties at an early stage in litigation in order to achieve

       3   litigation efficiencies;
       4
                  Whereas it is intended that use of the Early Organizational Meeting Stipulation
       5
           Will ,prcimOte .econornit base resOlUtion and judicial efficiency;
      6
                  Whereas, in order to promote a meaningful discussion of pleading issues at the

       8   Early Organizational Meeting and potentiallylo reduce the need for motions tb
       9   challenge the pleadings, it is necessaryto allow additional time to conduct the Early
      16
           Organizational Meeting before the time to respondl to a complaint or cross complaint
      11
           has expired;
      12

      13          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

      14   which an action is•pending to extend for not more than 30 days the time to respond to
      15
           a pleading uup,on good cause shown.4;.
      16
                  Now, therefore, this Court'hereby finds that there is good cause to extend for 30
      J7
           days the time to respond to a complaint or to a cross complaint in any action in which
      18

      19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

      20   of good cause is based on the anticipated judicial efficiency and benefits of economic
      21
           Case resolution that the Early Organizational Meeting Stipulation is intended to
      22
           promote.
      23
                  IT IS HEREBY'ORDERED that, in any case in which the parties have entered
      24

      25   into an, Early Organizational Meeting Stipulation, the time for a defending party to
      20   re'spOrid to a complaint or cross,complaint shall be extended by the 30 days permitted
      27

      28

                                                        -2-

                                      ORDER PUR$UANT TO CCP.1054(a)
                                                                                       EXHIBIT A, p. 119
    Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 118 of 186 Page ID
                                      #:139




      1
           ,oy:COde-Of .,0.10 ptoceopto.00Ctibri,1 054(a)withapt.fotthor .0000 ofa specific coigt
     2
     '     order.

      3

     4
                                                                       A
      5'                                             Carolyn B. K     Supervising Judge Of
                                                     Civil Departments; Los Angeles Superior Court

      7

      8

      9


     1)
     12

     13

     14

     15.

     1.6

     17

     18

    19

    '20'

    21

    22.

    23

s   24




    20.

    •/7

    /8.




                                     :OlZIMPIY12.SUANT TO C.CP 1054(a)
                                                                                       EXHIBIT A, p. 120
Electronically Case     2:22-cv-03713-MEMF-RAO
               FILED by Superior                                             Document
                                 Court of California, County of Los Angeles on 02/28/2022 07:351-2     Filed
                                                                                                PM Sherri        05/31/22
                                                                                                          R. Carter,                Pageof119
                                                                                                                     Executive Officer/Cleric         ofJ. 186
                                                                                                                                              Court, by            Page ID 0
                                                                                                                                                           Covarrubias,Depealoli
            ATTORNEY OR PARTY VATHOUT ATTORNEY (Name, State Bar number, and address)4ZS#:140I GVU ZI
            JAMES HAWKINS APLC.; James R. Hawkins (#192925); Gregory Mauro (#222239)                                                          FOR COURT USE ONLY
          Michael Calvo (#314986); Lauren Falk (# 316893); Ave Issary (#342252)
          9880 Research Drive Suite 200 Irvine, CA 92816
                    TELEPHONE    NO.: 949-387-7200                      FAX NO.(Optional):   949-387-6676
               ATTORNEY FOR (Name):       David Yurevich JR
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
           STREET ADDRESS:     111 North Hill Street
           MAILING ADDRESS:
          CITY AND ZIP CODE:   Los Angeles, 90012
               BRANCH NAME:    Stanley Mosk
          CASE NAME:David Yurevich Jr, individually and on behalf of all others similarly situated v.
                     Interstate-Rim Management Company,LLC,a Delaware Limited Liability Company,et al.
                 CIVIL CASE COVER SHEET                                                       CASE NUMBER:
                                                        Complex Case Designation
          f i     Unlimited       FT Limited         I—I Counter            -
                                                                            1 7 Joinder            22ST CV 07221
                 (Amount            (Amount
                                                    Filed with first appearance by defendant JUDGE:
                 demanded            demanded is
                                                       (Cal. Rules of Court, rule 3.402)       DEPT.:
                 exceeds $25,000)    $25,000)
                                      Items 1-6 below must be completed (see instructions on page 2).
           1. Check one box below for the case type that best describes this case:
                Auto Tort                                            Contract                                         Provisionally Complex Civil Litigation
               I—I Auto (22)                                                Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
               ▪      Uninsured motorist (46)                               Rule 3.740 collections (09)                      Antitrust/Trade regulation (03)
               Other PI/PDAND (Personal Injury/Property                     Other collections (09)                           Construction defect (10)
               Damage/Wrongful Death) Tort                                                                                   Mass tort (40)
                                                                            Insurance coverage (18)
               FT     A• sbestos (04)
                                                                          Other contract (37)
                                                                                                                             Securities litigation (28)
               •        P• roduct liability (24)                                                                             Environmental/Toxic tort (30)
                                                                  Real Property
               I—I Medical malpractice (45)
                                                                          E• minent domain/Inverse                    LJ     Insurance  coverage claims arising from the
                                                                                                                             above listed provisionally complex case
               •     O• ther PI/PDNVD (23)                              condemnation (14)
                Non-PI/PD/WD (Other) Tort                           1---1
                                                                        W• rongful eviction (33)
                                                                                                                             types (41)
                                                                                                                       Enforcement of Judgment
                     Business tort/unfair business practice (07) n   i Other real property (26)                       I-1 Enforcement of judgment (20)
                     Civil rights (08)                            Unlawful Detainer
                                                                                                                       Miscellaneous Civil Complaint
                     Defamation (13) .                           I-7 Commercial (31)
                                                                                                                      I-7 RICO (27)
                      Fraud (16)                                    FT Residential (32)
                                                                                                                      F-1 Other complaint (not specified above) (42)
                      Intellectual property (19)                    I—I Drugs (38) •
                                                                                                                      Miscellaneous Civil Petition
                      Professional negligence (25)                   Judicial Review
                                                                    I-7 Asset forfeiture (05)                         ni P• artnership and corporate govemance (21)
                     Other non-PUPD/VVD tort (35)
                Employment                                          F-1       P• etition re: arbitration award (11)          O• ther petition (not specified above) (43)
               I—I Wrongful termination (36)                        1-7     W• rit of mandate (02)
               I—I Other employment (15)                            F-1     O• ther judicial review (39)
          2. This case         is    I    I is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
            a.        Large number of separately represented parties       d. I—I Large number of witnesses
            b. E-1 Extensive motion practice raising difficult or novel e.            Coordination with related actions pending in one or more
                      issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
            c. 1=1 Substantial amount of documentary evidence                         court
                                                                           f.         Substantial postjudgment judicial supervision
         3. Remedies sought (check all that apply): a.         monetary b.         nonmonetary; declaratory or injunctive relief c.          punitive
         4. Number of causes of action (specify): 6
         5. This case          is           is not  .a class action suit.
         6. If there are any known related cases, file and serve a notice of related case. (You may use fo        M-015.
         Date: 02/28/2022
         Gregory Mauro, Esq.
                                      (TYPE OR PRINT NAME)                                                                      NATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                  NOTICE
           •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
               in sanctions.
           •   File this cover sheet in addition to any cover sheet required by local court rule.
           •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding.
           •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                            Page 1 012
         Form Adopted for Mandatory Use                                                                                        Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
         Judicial Council of California                                CIVIL CASE COVER SHEET                                                  EXHIBIT A, p. 121
                                                                                                                                       Cal. Standards of Judicial Administration, std. 3.10
         CM-010 (Rev. July 1,2007)                                                                                                                                      www.courts.ca.gov
   Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 120 of 186 Page ID
                                     #:141                                    CM-010
                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check.
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1)tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property              Breach of C Contract/Warranty
                                                                     t tNVarranty(06)             Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                        Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist(46)(if the                         Contract (not unlawful detainer            Construction Defect(10)
       case involves an uninsured                                 or wrongful eviction)                 Claims Involving Mass Tort(40)
        motorist claim subject to                       Contract/Warranty Breach-Seller                 Securities Litigation (28)
        arbitration, check this item                         Plaintiff(nott f d or negligence)
                                                                                        li              Environmental/Toxic Tort(30)
        instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                            Warranty                                         (arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                     case type listed above)(41)
 Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
     Asbestos (04)                                      book accounts)(09)                           Enforcement of Judgment(20)
         Asbestos Property Damage                       Collection Case-Seller Plaintiff                  Abstract of Judgment(Out of
         Asbestos Personal Injury/                      Other Promissory Note/Collections                      County)
              Wrongful Death                                 Case                                    Confession of Judgment(non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental)(24)                      complex)(18)                                 Sister State Judgment
      Medical Malpractice (45)                          Auto
                                                        Au S  Subrogation
                                                                  b      ti                          Administrative Agency Award
           Medical Malpractice-                         Other Coverage                                   (not unpaid taxes)
                Physicians & Surgeons               Other Conrc t a t(37)                             Petition/Certification of Entry of
     Other Professional Health Care                     Contracua t lF Fraud  d                           Judgment on Unpaid Taxes
             Malpractice                                Other Contract Dispute                        Other Enforcement of Judgment
     Other PUPD/VVD (23)                        Real Property                                                Case
           Premises Liability (e.g., slip           Em
                                                    Eminentt DDomain/Inverse
                                                                      i /I                        Miscellaneous Civil Complaint
                and fall)                               Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                            Other Complaint (not specified
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title)(26)             above)(42)
           Intentional Infliction of                    Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                      Mortgage Foreclosure                               Injunctive Relief Only (non-
           Negligent Infliction of                      Quiet Title                                             harassment)
                 Emotional Distress                     Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                               domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PUPD/WD (Other)Tort                                foreclosure)                                            Case (non-tort/non-complex)
     Business Tort/Unfair Business              U nlawful Detainer                                          Other Civil Complaint
         Practice (07)                              Commercial (31)                                             (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residena ti l(32)                             Miscellaneous Civil Petition
           false arrest)(not civil                  Drugs(38)(if the case involves illegal           Partnership and Corporate
            harassment)(08)                         drugs, check this item; otherwise,                    Governance (21)
     Defamation (e.g., slander, libel)              report as Commercial or Residential)             Other Petition (not specified
           (13)                                 Judicial Review                                           above)(43)
     Fraud (16)                                     Asset Forfeiture (05)                                 Civil Harassment
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                   Workplace Violence
     Professional Negligence (25)                   Writ of Mandate (02)                                  Elder/Dependent Adult
          Legal Malpractice                             Wit-Administrative
                                                              Ad i          ti Mandamus
                                                                                Manda                          Abuse
         Other Professional Malpractice                 Writ-Mandamus on Limited Court                    Election Contest
              (not medical or legal)                       Case Matter                                    Petition for Name Change
     Other Non-PI/PD/WD Tort(35)                        VVrit-Other Limited Court Case                    Petition for Relief From Late
 Employment                                                Review                                              Claim
     VVrongful Termination (36)                     Other Judicial Review(39)                             Other Civil Petition
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                              Commissioner Appeals
CM-010[Rev. July 1,2007]                                                                                                                 Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                                                                                                                  EXHIBIT A, p. 122
                     Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 121 of 186 Page ID
                                                       #:142
 SHORT TITLE: David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.                           CASE NUMBER
                                                                                                                   22S-1- CV 07221

                                        CIVIL CASE COVER SHEET ADDENDUM AND
                                                STATEMENT OF LOCATION
                         (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                         This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                Step 1:


                Step 2:

                Step 3:

                                                 Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.            7. Location where petitioner resides.
2. Permissive filing in central district.                                                   8. Location wherein defendant/respondentfunctions wholly.
3. Location where cause of action arose.                                                    9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                     10. Location of Labor Commissioner Office.

5. Location where performance required or defendant resides.

6. Location of property or permanently garaged vehicle.




                         .r              A                                                        II§                                                     C
                              Civil Case Cover Sheet                                       Type of ActIon                                      A pplicable Reasons -
                                    Category No                                           (Check only one)                                      See Step 3 Above

                                     Auto (22)           0 A7100 Motor Vehicle - Personal Injury/Property DamageNVrongful Death                1,4, 11

                              Uninsured Motorist(46)     0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist           1, 4, 11


                                                         0 A6070 Asbestos Property Damage                                                      1, 11
                                  Asbestos(04)
                                                         0 A7221 Asbestos - Personal Injury/Wrongful Death                                     1, 11

                               Product Liability (24)    0 A7260 Product Liability (not asbestos or toxic/environmental)                       1,4, 11

                                                         0 A7210 Medical Malpractice - Physicians & Surgeons                                   1,4, 11
    Other Peiional Inj




                              Medical Malpractice(45)                                                                                          1,4, 11
                                                         0 A7240 Other Professional Health Care Malpractice

                                                         0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                               1,4, 11
                                  Other Personal
                                  Injury Property        0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                               1,4, 11
                                 Damage Wrongful                 assault, vandalism, etc.)
                                    Death (23)                                                                                                 1,4, 11
                                                         0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                               1,4, 11
                                                         0 A7220 Other Personal Injury/Property Damage/Wrongful Death




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                                                        CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
                                                           AND STATEMENT OF LOCATION                                                           Page 1 of 4
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                                      #:143
SHORT TITLE:                                                                                             CASE NUMBER
                        David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.


                                                                                                :6
                                                                                                 .
                                  , _A                                                      . ... D'                                              ApplicaUe
                            Civi l Case Cover Sheet                                       Type of Action                                    Reasons'- See Step 3
                                   Category No.                                          (Ch-eck only one)                                         Above

                              Business Tort(07)          0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)              1, 2,3

                               Civil Rights (08)         0. A6005 Civil Rights/Discrimination                                              1, 2,3

                               Defamation (13)           0 A6010 Defamation (slander/libel)                                                1,2,3

                                  Fraud (16)             0 A6013 Fraud (no contract)                                                       1, 2,3

                                                         El A6017 Legal Malpractice                                                         1,2,3
                         Professional Negligence (25)
                                                         El A6050 Other Professional Malpractice (not medical or legal)                     1, 2,3

                                  Other(35)              0 A6025 Other Non-Personal Injury/Property Damage tort                            1, 2,3


     c                    Wrongful Termination (36)      0 A6037 Wrongful Termination                                                      1, 2,3

                                                         El A6024 Other Employment Complaint Case
    .
    0                       Other Employment(15)
                                                         El A6109 Labor Commissioner Appeals                                               10

                                                         0. A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                           2, 5
                                                                  eviction)
                         Breach of Contract/ Warranty                                                                                      2, 5
                                    (06)                 0 A6008 Contract/VVarranty Breach -Seller Plaintiff(no fraud/negligence)
                              (not insurance)                                                                                              1, 2,5
                                                         0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                            1, 2,5
                                                         0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                         0 A6002 . Collections Case-Seller Plaintiff                                       5, 6, 11
                               Collections(09)                                                                            •
    c                                                    0 A6012 Other Promissory Note/Collections Case                                    5, 11
    0
                                                         El   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt             5, 6, 11
                                                                    Purchased on or after January 1,2014)
                           Insurance Coverage(18)        0 A6015 Insurance Coverage (not complex)                                          1, 2, 5, 8

                                                         El A6009 Contractual Fraud                                                        1, 2, 3, 5
                             Other Contract(37)          0 A6031 Tortious Interference                                                     1, 2, 3, 5
                                                         El A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)            1, 2, 3, 8,9

                           Eminent Domain/Inverse
                                                         0 A7300 Eminent Domain/Condemnation                 Number of parcels             2,6
                             Condemnation (14)

    0•                      Wrongful Eviction (33)       0 A6023 Wrongful Eviction Case                                                    2, 6
    0

                                                         El A6018 Mortgage Foreclosure                                                     2,6
     a)
                           Other Real Property(26)       0 A6032 Quiet Title                                                               2,6
                                                         El A6060 Other Real Property(not eminent domain, landlord/tenant,foreclosure)     2, 6

                         Unlawful Detainer-Commercial
                                                      0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                 6, 11
                                     (31)
    Unlawful Detainer




                         Unlawful Detainer-Residential
                                                         0 A6020 Unlawful Detainer-Residential(not drugs or wrongful
                                                                                                                _    eviction)             6, 11

                              Unlawful Detainer-
                                                         0 A6020FUnlawful Detainer-Post-Foreclosure                                        2,6, 11
                            Post-Foreclosure(34)
                         Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                   2,6, 11



                                                      ,CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
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SHORT TITLE:                                              David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.                  CASE NUMBER




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                                                                                                                           ''"....-    - ...
                                                                                                                              Type of Action                                 Reasons - See' tep 3'
                                                                    Category No                                               tCheck onlypne

                                                               Asset Forfeiture(05)          0 A6108 Asset Forfeiture Case                                                   2, 3,6

                                                             Petition re Arbitration (11)    0 A6115 Petition to Compel/ConfirmNacate Arbitration                            2,5

                                                                                             0 A6151 Writ- Administrative Mandamus                                           2, 8
                                                               Writ of Mandate (02)          0 A6152 Writ - Mandamus on Limited Court Case Matter                            2
                                                                                             0 A6153 Writ - Other Limited Court Case Review                                  2

                                                            Other Judicial Review(39)        0 A6150 Other Writ /Judicial Review                                             2,8

                                                           Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                                1, 2, 8
            Provisionally Complex Litigation




                                                             Construction Defect(10)         0 A6007 Construction Defect                                                     1, 2, 3

                                                            Claims Involving Mass Tort
                                                                                             0 A6006 Claims Involving Mass Tort                                              1, 2,8
                                                                      (40)

                                                             Securities Litigation (28)      0 A6035 Securities Litigation Case                                              1, 2,8

                                                                    Toxic Tort
                                                                                             0 A6036 Toxic Tort/Environmental      .                                         1, 2, 3,8
                                                                Environmental(30)

                                                            Insurance Coverage Claims
                                                                                             0 A6014 Insurance Coverage/Subrogation(complex case only)                       1, 2, 5,8
                                                              from Complex Case (41)

                                                                                             0 A6141 Sister State Judgment                                                   2, 5, 11
                                                                                             0 A6160 Abstract of Judgment                                                   2,6
   Enforcement




                                                                   Enforcement               0 A6107 Confession of Judgment(non-domestic relations)                          2, 9
                                                                 of Judgment(20)             0 A6140 Administrative Agency Award (not unpaid taxes)                          2, 8
                                                                                             0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax               2, 8
                                                                                             0 A6112 Other Enforcement of Judgment Case                                     2, 8,9

                                                                     RICO (27)               0 A6033 Racketeering (RICO)Case                                                 1, 2, 8
                                                                                                                                                         •
                                       Civil Complaints




                                                                                             0 A6030 Declaratory Relief Only                                                 1, 2, 8

                                                                Other Complaints             0 . A6040 Injunctive Relief Only(not domestic/harassment)                      2, 8
                                                            (Not Specified Above)(42)        0 A6011 Other Commercial Complaint Case (non-tort/non-complex)                  1, 2,8
                                                                                             0 A6000 Other Civil Complaint(non-tort/non-complex)                             1, 2,8

                                                              Partnership Corporation
                                                                                             0 A6113 Partnership and Corporate Govemance Case                               2, 8
                                                                 Governance(21)

                                                                                             0 A6121 Civil Harassment With Damages                                          2, 3,9
                                                                                             0 A6123 Workplace Harassment With Damages                                      2, 3,9
                                                                                             0 A6124 Elder/Dependent Adult Abuse Case With Damages                          2, 3,9
                                                                Other Petitions(Not
                                                               Specified Above)(43)          0 A6190 Election Contest                                                       2
                                                                                             0 A6110 Petition for Change of Name/Change of Gender                           2, 7
                                                                                             0 A6170 Petition for Relief from Late-Claim Law         -                      2, 3,8
                                                                                             0 A6100 Other Civil Petition                                                   2,9




                                                                                            -CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3
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 SHORT TITLE:                                                                         CASE NUMBER
                David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.



Step 4: Statement of Reason and Address



                                                                    ADDRESS:
   REASON:
    0 1. 0 2.0 3. 0 4.05.0 6. 0 7. 0 8.0 9.0 10. D 11.



   CITY:                                    STATE:     ZIP CODE:




Step 5: Certification of Assignment:                                                       Central




  Dated: 02/28/2022                                                                                               -Th
                                                                                  (SIG 49P       \     L
                                                                                        TURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                          -CIVIL.CASE-COVER SHEET ADDENDUM                                        Local Rule 2.3
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                                              AND STATEMENT OF LOCATION                                              Page 4 of 4
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                                  #:146                                CT Corporation
                                                        Service of Process Notification
                                                                                                                        04/29/2022
                                                                                                           CT Log Number 541493079


     Service of Process Transmittal Summary

     TO:       Greg Moundas, Executive V.P. General Counsel
               AIMBRIDGE HOSPITALITY LLC
               5301 HEADQUARTERS DR
               PLANO, TX 75024-6187

     RE:       Process Served in California

     FOR:      Aimbridge Hospitality, LLC (Domestic State: DE)


     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                         Re: DAVID YUREVICH JR., individually and on behalf of all others similarly situated // To:
                                              Aimbridge Hospitality, LLC
     CASE #:                                  22STCV07221

     NATURE OF ACTION:                        Employee Litigation

     PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

     DATE/METHOD OF SERVICE:                  By Process Server on 04/29/2022 at 01:32

     JURISDICTION SERVED:                     California

     ACTION ITEMS:                            CT will retain the current log

                                              Image SOP

                                              Email Notification, KAREN KOVACH karen.kovach@aimhosp.com

                                              Email Notification, Laura Vesely laura.vesely@aimhosp.com

                                              Email Notification, Nicole Graves nicole.graves@aimhosp.com

                                              Email Notification, Matt Dreyfuss matthew.dreyfuss@aimhosp.com

     REGISTERED AGENT CONTACT:                C T Corporation System
                                              330 N BRAND BLVD
                                              STE 700
                                              GLENDALE, CA 91203
                                              866-665-5799
                                              SouthTeam2@wolterskluwer.com



     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
     and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
     information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
     included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
     disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
     contained therein.




                                                                                                                             Page 1 of 1

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                                  #:147

                                          \

                                                             Wolters Kluwer

                      PROCESS SERVER DELIVERY DETAILS




Date:                                  Fri, Apr 29, 2022
Server Name:                           Douglas Forrest




 Entity Served          AIMBRIDGE HOSPITALITY, LLC

 Case Number            22stcy07221

 J urisdiction          CA



                                         Inserts




   I I I I I I I I II I I I 1 1 1 I I I I I I


                                                               EXHIBIT A, p. 128
               Case
Electronically FILED     2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 127 of 186 Page ID
                     by Superior Court of California, County of Los Angeles on 04/19/2022 03:07 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Thomas,Deputy Clerk
                                                                                           #:148
                                                                                       22STCV07221

                                                                                                                                                                        SUM-100
                                                        SUMMONS                                                                                  FOR COURT USE ONLY
                                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                             (CITACION JUDICIAL)
         NOTICE TO DEFENDANT:
        (AVISO AL DEMANDADO):Interstate-Rim Management Company, a Delaware
           Limited Liability Company operating at: Double Tree San Pedro; Interstate Hotels & Resorts,
           Inc.; Aimbridge Hospitality, LLC,a Delaware Liability Company; and DOES 1-50, inclusive,
         YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):
          DAVID YUREVICH JR., individually and on behalf of all others similarly situated
           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
              You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
           case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
           Online Self-Help Center(www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
           court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
           be taken without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
           referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
           these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
           costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
           iAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la inforrnacion a
           continuacion.
              Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates para presenter una respuesta por escrito en esta
           code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
           en format° legal correcto Si desea que procesen su caso en la corte. Es posible que haya un formulado que usted pueda usar para su respuesta.
           Puede encontrar estos formularios de la code y mas infonnaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
           biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la code que
           le de un forrnulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podia
           guitar su sue/do, diner° y bienes sin mas advertencia.
              Hay atm requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
           remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
           programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
          (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
           colegio de abogados locales. AVISO: Parley, la code tiene derecho a reclamar las cuotas y las costos exentos por imponer un gravamen sabre
           cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitrate en un caso de derecho civil. Tiene que
           pagar el gravamen de la code antes de que la code pueda desechar el caso.
          The name and address of the court is:                                                                             CASE NUMBER:(NOmero del Caso):
         (El nombre y direcci6n de la corte es): Los Angeles Superior Court                                                    22STCV07221
          111 North Hill St.
           Los Angeles, CA 90012
          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la direccion ye!ntimero
          de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
          JAMES HAVVKINS APLC,9880 Research Drive, Suite 200 Irvine CA 92618;(949)387-7200
         DATE:                                                                                   Clerk, by                                                             , Deputy
        (Fecha) 0411912022                    Sherri R. Carter Executive Officer/ Clerk of Court (Secretario)                                 E. Thomas               (Adjunto)
         (For proof ofservice of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons,(POS-010).)
                                                   NOTICE TO THE PERSON SERVED: You are served
                                                   1.   I—I as an individual defendant.
                                                   2.   I—I as the person sued under the fictitious name of (specify):
                                                                                                                  I
                                                   3.           on behalf of(specify):

                                                          nder: I—I CCP 416.10(cor4tiOrc)--                    C"\-                    CCP 416.60(minor)              Ctiejoi(
                                                                -
                                                                I 1 CCP 416.20(defunct corporation)                                    CCP 416.70 (conservatee)
                                                                 F-1CCP 416.40 (association or partnership)                            CCP 416.90 (authorized per
                                                                     other (specify):
                                                   4.          ,INersonal delivery on (date)                                                                               Page 1 of 1
          Form Adopted for Mandatory Use
          Judicial Council of California
                                                                                      SUMMONS                                                     Code of Civil Procedure §§412.20, 465
                                                                                                                                                                      www.courts.ca.gov
          SUM-100 (Rev. July 1,2009)



                                                                                                                                                EXHIBIT A, p. 129
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                                             #:149
                                          22STCV07221
                                      Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Kenneth Freeman
ElectronicalhifFILED by Su erior Court of California, County of Los Angeles on 02/28/2022 07:35 PM Sherri R. Carter, Executive Officer/Cleric of Court, by J. Covarrublas,Deputy Clerk
,        17,

                       1
                            JAMES HAWKINS APLC
                       2•   James R. Hawkins,Esq.(#192925)
                            Gregory Mauro,Esq.(#222239)
                       3    Michael Calvo, Esq.(#314986)
                            Lauren Falk, Esq.(#316893)
                       4    Ava Issary,Esq.(#342252)
                            9880 Research Drive, Suite 200
                       5    Irvine, CA 92618
                            Tel.:(949)387-7200
                       6    Fax:(949)387-6676
                            Email: James@jameshawkinsaplc.com
                       7    Email: Greg@jameshawkinsaplc.com
                            Email: Michael@jameshawkinsaplc.com
                       8    Email: Lauren@jameshawkinsaplc.com
                            Email: Ava@jameshawkinsaplc.com
                       9
                        Attorneys for Plaintiff DAVID YUREVICH JR.,
                     10 Individually and on behalf of all others similarly situated.

                     11                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                             FOR THE COUNTY OF LOS ANGELES
                     12

                     13 DAVID YUREVICH JR., individually and on                                             CASE NO:: 22ST CV 07221
                        behalf of all others similarly situated,
                     14                                                                                    CLASS ACTION COMPLAINT
                                                                                                           PURSUANT TO CALIFORNIA CODE OF
                     15                                  Plaintiff,                                        CIVIL PROCEDURE §382:
                     16                 V.                                                                 1.         Failure to Pay Wages Including
                                                                                                                      Overtime as Required by Labor
                     17                                                                                               Code §§ 510 and 1194
                            INTERSTATE-RIM MANAGEMENT
                                                                                                           2.         Failure to Pay Timely Wages
                     18     COMPANY,LLC,a Delaware Limited                                                            Required by Labor Code § 203
                            Liability Company operating at:                                                3.         Failure to Provide Accurate Itemized
                     19     DOUBLETREE SAN PEDRO;INTERSTATE                                                           Wage Statements as Required by
                            HOTELS & RESORTS,INC.; AIMBRIDGE                                                          Labor Code § 226
                     20     HOSPITALITY,LLC,a Delaware Limited                                             4.         Failure to Accurately Record and
                            Liability Company; and DOES 1-50, inclusive,                                              Pay Sick Leave as Required by
                     21                                                                                               Labor Code § 246
                                                                                                           5.         Failure to Indemnify Necessary
                     22                                  Defendants.                                                  Business Expenses as Required by
                                                                                                                      Labor Code § 2802
                     23                                                                                    6.         Violation of Business & Professions
                                                                                                                      Code § 17200,et seq.
                     24
                                                                                                           DEMAND FOR JURY TRIAL
                     25

                     26

                     27

                    28



                                                                                   CLASS ACTION COMPLAINT
                                                                                                                                                 EXHIBIT A, p. 130
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                                  #:150



      1          Plaintiff DAVID YUREVICH JR. ("Plaintiff'), individually and on behalf of all others
      2 similarly situated (hereinafter collectively referred to as the "Class" or "Class Member"), hereby

      3 files this Complaint against Defendants INTERSTATE — RIM MANAGEMENT COMPANY,

      4 LLC, a Delaware Limited Liability company operating at: DOUBLETREE SAN PEDRO;

      5 INTERSTATE HOTELS & RESORTS, NC.; AIMBRIDGE HOSPITALITY, LLC, a Delaware

      6 Limited Liability Company; and DOES 1-50, inclusive (collectively "Defendants") and alleges on

      7 information and belief as follows:

      8                                   I. JURISDICTION AND VENUE
      9          1.     This class action is brought pursuant to California Code of Civil Procedure §382.
     10 The monetary damages and restitution sought by Plaintiff exceed the minimum jurisdiction limits

     11 ofthe California Superior Court and will be established according to proof at trial.

     12          2.     This Court has jurisdiction over this action pursuant to the California Constitution
     13 Article VI §10, which grants the California Superior Court original jurisdiction in all causes

     14 except those given by statute to other courts. The statutes under which this action is brought do not

     15 give jurisdiction to any other court.

     16          3.     This Court has jurisdiction over Defendants because, upon information and belief,
     17 each Defendant either has sufficient minimum contacts in California, or otherwise intentionally

     18 avails itself of the California market so as to render the exercise of jurisdiction over it by the

     19 California Courts consistent with traditional notions offair play and substantial justice.

     20         4.      The California Superior Court also has jurisdiction in this matter because the
    21 individual claims of the members of the Classes herein are under the seventy-five thousand dollar

    22 ($75,000.00)jurisdictional threshold for Federal Court and the aggregate claim, including attorneys'

    23 fees, is under the five million dollar ($5,000,000.00) threshold of the Class Action Fairness Act of

    24 2005. Further, there is no federal question at issue, as the issues herein are based solely on California

    25 statutes and law, including the Labor Code,IWC Wage Orders, CCP, California Civil Code ("CC")

    26 and B&PC.

    27           5.     Venue is proper in this Court because upon information and belief, one or more of
    28 the Defendants, reside, transact business, or have offices in this County and/or the acts or


                                                         -1-
                                                CLASS ACTION COMPLAINT
                                                                                       EXHIBIT A, p. 131
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                                  #:151



      1 omissions alleged herein took place in this County.

      2                                            II.PARTIES
      3         6.      Plaintiff DAVID YUREVICH JR. was, at all times relevant to this action, a
      4 resident of California. Plaintiff was employed by Defendants in approximately February 2016 as a

      5 Non-Exempt Employee with the title of Concierge and then Front Desk and worked during the

     6 liability period for Defendants until Plaintiff's separation from Defendants' employ in

      7 approximately June 2021. Plaintiffs duties included but were not limited to: providing customer

      8 service and assistance to guests, checking guests in, offering suggestions for food, administrative

     9 paperwork, cleaning rooms, and filling in where needed.

     10         7.      Defendants INTERSTATE — RIM MANAGEMENT COMPANY, LLC, a
     1 1 Delaware Limited Liability company operating at: DOUBLETREE SAN PEDRO,INTERSTATE

     12 HOTELS & RESORTS, INC.; and AIIVIBRIDGE HOSPITALITY, LLC, a Delaware Limited

     13 Liability company, operates as a hotel and hospitality business. Plaintiff estimates there are in

     14 excess of 100 Non-Exempt Employees who work or have worked for Defendants over the last

     15 year.

     16         8.      Other than identified herein, Plaintiff is unaware of the true names, capacities,
     17 relationships, and extent of participation in the conduct alleged herein, of the Defendants sued as

     18 DOES 1 through 50, but is informed and believes and thereon alleges that said defendants are

     19 legally responsible for the wrongful conduct alleged herein and therefore sues these defendants by

    20 such fictitious names. Plaintiff will amend this complaint when their true names and capacities are

    21 ascertained.

    22          9.      Plaintiff is informed and believes and thereon alleges that each defendant, directly
    23 or indirectly, or through agents or other persons, employed Plaintiff and other members of the

    24 Class, and exercised control over their wages, hours, and working conditions. Plaintiff is informed

    25 and believes and thereon alleges that each Defendant acted in all respects pertinent to this action as

    26 the agent ofthe other Defendants, carried out a joint scheme, business plan or policy in all respects

    27 pertinent hereto, and the acts of each Defendant are legally attributable to the other defendants.

    28


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      1                               III. CLASS ACTION ALLEGATION
      2         10.      Plaintiff brings this action individually and on behalf of all others similarly
      3 situated as a class action pursuant to Code of Civil Procedure § 382. The members of the Class are

      4 defined as follows:

      5
               All persons who have been employed by Defendants as Non-Exempt Employees or
      6        equivalent positions, however titled, in the state of California within four (4) years from
               the filing of the Complaint in this action until its resolution. (collectively referred to as the
      7        "Class" or "Plaintiff's Class" or "Class Members").

      8         11.      -Plaintiff also seeks to represent the subclass(es) composed of and defined as

      9 follows:

     10
                Sub-Class 1: All Class Members who are or were employed by Defendants at any time
     11         between February 2021 and the present and who received wage statements from Defendant
               (hereinafter collectively referred to as the "Wage Statement Subclass").
     12

     13
                Sub-Class 2: All Class Members who have been employed by Defendants at any time
                between February 2019 and the present and have separated their employment (hereinafter
     14
                collectively referred to as the "Waiting Time Penalty Subclass").
     15         Sub-Class 3: All Class Members who are or were employed by Defendants and incurred
                business expenses as a result of the discharge of their duties (hereinafter collectively
     16         referred to as the "Reimbursement Subclass").
     17
                Sub-Class 4: All -Class Members who are or were employed by Defendants and subject to
                Defendant's Unfair Business Practices (hereinafter collectively referred to as the "Unfair
     18
                Business Practice Subclass").
     19         12.      Plaintiff reserves the right under California Rule of Court 3.765(b) and other
     20 applicable laws to amend or modify the class definition with respect to issues or in any other

    21 ways. Plaintiff is a member ofthe Class as well as each ofthe Sub-Classes.

    22          13.      The term "Class" includes Plaintiff and all members of the Class and each of the
    23 Sub-Classes, if applicable. Plaintiff seeks class-wide recovery based on the allegations set forth in

    24 this complaint.

    25          14.      There is a well-defined community of interest in the litigation and the proposed
    26 Class is easily ascertainable through the records Defendants are required to keep.

    27          15.      Numerosity. The members of the Class are so numerous that individual joinder of
    28 all ofthem as Plaintiff is impracticable. While the exact number ofthe Class members is unknown


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      1 to Plaintiff at this time, Plaintiff is informed and believes and thereon alleges that there are at least

      2 100(one hundred) Class members.

      3          16.           Commonality. Common questions oflaw and fact exist as to all Class members
      4 and predominate over any questions that affect only individual members of the Class. These

      5 common questions include, but are not limited to:

     6                    i.          Whether Defendants failed to pay minimum wage compensation to Plaintiff
      7
          and Class Members for all hours worked;
      8
                                      Whether Defendants failed to accurately pay overtime to Plaintiff and Class
     9
          Members;
     10
                                      Whether Defendants failed to reimburse necessary business expense
     11

     12 pursuant to Labor Code § 2802;

     13                 iv.           Whether Defendants provided accurate itemized wage statements pursuant
          to Labor Code section 226;
     14
               v.              Whether Defendants failed to pay sick time using the proper regular rate pursuant
     15
          to Labor Code section 246;
     16
                        vi.           Whether Defendants violated Business and Professions Code and Labor
     17
          Code §§ 201-203, 246, 510, 512, 558, 226, 226.3, 226.7, 246, 1174, 1174.5, 1175, 1194, 1197,
     18
          1197.1, 1198, 2802 and applicable IWC Wage Orders which violation constitutes a violation of
     19
          fundamental public policy; and
    20
                       vii.           Whether Plaintiff and the Members of the Plaintiff Class are entitled to
    21
          equitable relief pursuant to Business and Professions Code §§ 17200, et. seq.
     22
                       viii.          Whether Plaintiff and the Members of the Plaintiff Class are entitled to
     23
          relief in the form of back wages, penalties and interest for failure to pay minimum wages pursuant
    24
          to Labor Code §§ 558, 1194 and 1197.
    25
                 17.           Typicality. Plaintiff's claims herein alleged are typical ofthose claims which could
    26
          be alleged by any member ofthe Class andJor Subclass, and the relief sought is typical ofthe relief
    27
          which would be sought by each member of the Class and/or Subclass in separate actions. Plaintiff
    28
          and all members of the Class and or Subclass sustained injuries and damages arising out of and

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      1 caused by Defendants' common course of conduct in violation of California laws, regulations, and

      2 statutes as alleged herein.

      3          18.     Adequacy. Plaintiff is qualified to, and will fairly and adequately protect the
      4 interests of each member of the Class and/or Subclass with whom she has a well defined

      5 community of interest and typicality of claims, as demonstrated herein. Plaintiff acknowledges an

      6 obligation to make known to the Court any relationships, conflicts, or differences with any

      7 member of the Class and/or Subclass. Plaintiffs attorneys and the proposed Counsel for the Class

      8 and Subclass are versed in the rules governing class action discovery, certification, litigation, and

      9 settlement and experienced in handling such matters. Other former and current employees of

     10 Defendants may also serve as representatives ofthe Class and Subclass if needed.

     11          19.     Superiority. A class action is superior to other available means for the fair and
     12 efficient adjudication of the claims of the Class and would be beneficial for the parties and the

     13 court. Class action treatment will allow a large number of similarly situated persons to prosecute

     14 their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

     15 duplication of effort and expense that numerous individual actions would require. The damages

     16 suffered by each Class member are relatively small in the sense pertinent to class action analysis,

     17 and the expense and burden of individual litigation would make it extremely difficult or

     18 impossible for the individual Class Members to seek and obtain individual relief. A class action

     19 will serve an important public interest by permitting such individuals to effectively pursue

     20 recovery of the sums owed to them. Further, class litigation prevents the potential for inconsistent

     21 or contradictory judgments raised by individual litigation.

     22         20.     Public Policy Considerations: Employers in the state of California violate
     23 employment and labor laws every day. Current employees are often afraid to assert their rights out

     24 of fear of direct or indirect retaliation. Former employees are fearful of bringing actions because

     25 they believe their former employers may damage their future endeavors through negative

     26 references and/or other means. The nature of this action allows for the protection of current and

     27 former employees' rights without fear or retaliation or damage.

     28


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      1

      2                                  IV.FACTUAL ALLEGATIONS
      3         21.     At all times set forth herein, Defendants employed Plaintiff and other persons in the
      4 capacity of non-exempt positions, however titled, throughout the state of California.

      5         22.     Plaintiff is informed and believes Class Members have at all times pertinent hereto
      6 been Non-Exempt within the meaning of the California Labor Code and the implementing rules

      7 and regulations ofthe IWC California Wage Orders.

      8         23.     Defendants continue to employ Non-Exempt Employees, however titled, in
      9 California and implement a uniform set of policies and practices to all non-exempt employees, as

     10 they were all engaged in the generic job duties related to Defendants' hotel business.

     11         24.     Plaintiff is informed and believes, and thereon alleges, that Defendants are and
     12 were advised by skilled lawyers and other professionals, employees, and advisors with knowledge

     13 ofthe requirements of California's wage and employment laws.

     14         25.     Plaintiff is informed and believes that during the relevant time frame, all Class
     15 Members are citizens ofthe state of California.

     16         26.     On information and belief, during the relevant time frame, Plaintiff and Class
     17 Members frequently worked well over eight (8) hours in a day and forty (40) hours in a work

     18 week.

     19         27.     During the relevant time frame, Defendants compensated Plaintiff and Class
     20 Members based upon an hourly.rate.

     21         28.     In addition, the Class Members frequently worked in excess of eight (8) hours a
     22 day and/or over forty (40) hours in a workweek, but were not properly paid for such time at the

     23 employee's correct rate of pay per hour for overtime.

     24         29.     Defendants also failed to properly calculate Plaintiff's and the Class Members'
     25 regular rate of pay including but not limited to by failing to include all forms of

     26 compensation/remuneration in the regular rate including but not limited to bonuses, incentives,

     27 commissions, training and orientation pay, shift differential pay, and other compensation for

     28 overtime calculation purposes.


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      1         30.     In addition, upon information and belief, Plaintiff alleges that Defendants failed to
      2 pay sick leave pay to Plaintiff and the Class Members af the proper rate, as Defendants failed to

      3 factor all forms of compensation into the regular rate.

      4         31.     Plaintiff are informed and believe, and thereon alleges, that Defendants know,
      5 should know, knew, and/or should have known that Plaintiff and the other Class Members were

     6 entitled to receive premium wages based on their regular rate of pay under Labor Code §226.7 but

      7 were not receiving such compensation.

      8         32.     On information and belief, Defendants also required Plaintiff and Class Members
      9 to work off-the-clock. For instance, Plaintiff, and on information and belief Class Members, were

     10 required to use their personal cell phone to communicate with the manager and general manager

     1 1 via text message to discuss scheduling and other work-related issues. Defendants failed to include

     12 off-the-clock work performed after Plaintiff and Class Members clocked out for the day. During

     13 the relevant time frame, Plaintiff and Class Members were required to close the gate after clocking

     14 out on a daily basis. Lastly, Defendants failed to include off-the-clock work performed by Plaintiff

     15 and Class Members for the time spent cleaning the fingerprint scanner so they could accurately

     16 clock-in. Often times, the fmgerprint scanner used to clock-in would be dirty and fail to function

     17 properly. Over time this resulted in an underpayment of minimum and overtime wages.

     18         33.     Defendants also failed to reimburse Plaintiff and Class Members for business
     19 expenses incurred pursuant to Labor Code section 2802. For instance, Defendants did not

    20 reimburse Plaintiff and Class Members for use of personal cellphones to carry out their work-

    21 related duties while under the direction and control of Defendants. Plaintiff and on information

    22 and belief Class Members, were required to use their personal cell phones to communicate with

    23 Defendants' management. Plaintiff was forced to exchange text messages with the manager and/or

    24 general manager regarding scheduling and other work related issues for approximately five to ten

    25 minutes, approximately three (3) times per week. During work hours, every other day (daily

    26 during COVID-19), Plaintiff would text message with his managers from approximately 5:00 p.m.

    27 to 11:00 p.m. when he was left alone at the front desk. Although the front desk had a phone,

    28 managers would choose to send text messages to Plaintiffs personal cell phone. Lastly, on a daily


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      1   basis, Plaintiff and on information and belief Class Members, would take pictures on their
      2 personal cell phones of guests' rooms to assess damage or items left in the room. Defendants

      3 failed to reimburse Plaintiff and Class Members for personal cell phone use.

      4          34.    Defendants failed to reimburse Plaintiff and Class Members for necessary business
      5 expenses as it relates to the maintenance and upkeep of Defendants' uniforms pursuant to Labor

      6 Code § 2802. Defendants required Plaintiff and Class Members to wear a suit as their work

      7 uniform. Plaintiff was forced to purchase his suits, costing him at least $300. Additionally,

      8 Plaintiff and Class Members were responsible for the maintenance of their uniforms and were

      9 required to keep them clean and in professional condition. As a result, Plaintiff and Class

     10 Members would spend time regularly laundering and caring for their uniforms. However, despite

     11 these realities, Defendants failed to reimburse Plaintiff and Class Members for expenses resulting

     12 from maintaining their uniforms. Defendants promised Plaintiff that they would reimburse him for

     13 costs relating to purchasing suits, but Defendants failed to do so. Further, Plaintiff and Class

     14 Members were forced to purchase their own COVID-19 protective gear, such as masks.

     15 Defendants failed to reimburse Plaintiff and Class Members for these necessary business

     16 expenditures.

     17          35.    Defendants also failed to provide accurate, lawful itemized wage statements to
     18 Plaintiff and the Class Members in part because of the above specified violations. In addition,

     19 upon information and belief, Defendants omitted an accurate itemization of total hours worked,

     20 including premiums due, overtime pay, gross pay and net pay figures from Plaintiff and the Class

     21 Members 'wage statements.

    22          36.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
     23 mentioned, Defendants knew that at the time of termination of employment (or within 72 hours

     24 thereof for resignations• without prior notice as the case may be) they had a duty to accurately

     25 compensate Plaintiff and Class Members for all wages owed including minimum wages, meal and

     26 rest period premiums, and that Defendants had the financial ability to pay such compensation, but

     27 willfully, knowingly, recklessly, and/or intentionally failed to do so in part because of the above-

    28 specified violations.


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      1          37.    Upon information and belief, Defendants knew and or should have known that it is
      2 improper to implement policies and commit unlawful acts such as:

      3         (a)     failing to pay overtime and minimum wages;
      4        (b)      failing to provide accurate itemized wage statements;
      5        (c)      failure to accurately pay sick pay;
     6         (d)      failing to timely pay Plaintiff and Class Members;
      7         (e)     failure to reimburse business expenses; and
      8        (0       conducting and engaging in unfair business practices.
     9          38.     In addition to the violations above, and on information and belief, Defendants knew
     10 they had a duty to compensate Plaintiff and Class Members for the allegations asserted herein, and

     11 that Defendants had the financial ability to pay such compensation, but willfully, knowingly,

     12 recklessly, and/or intentionally failed to do so.

     13         39.     Plaintiff and Class Members they seek to represent are covered by, and Defendants
     14 are required to comply with, applicable California Labor Codes, Industrial Welfare Commission

     15 Occupational Wage Orders (hereinafter "IWC Wage Orders") and corresponding applicable

     16 provisions of California Code of Regulations, Title 8, section 11000 et seq.

    .17                                    FIRST CAUSE OF ACTION
     18                     FAILURE TO PAY WAGES INCLUDING OVERTIME
     19                                      (Against All Defendants)
    20          40.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    21 though fully set forth herein.

    22          41.     At all times relevant, the IWC wage orders applicable to Plaintiff's and the Class
    23 require employers to pay its employees for each hour worked at least minimum wage."Hours

    24 worked" means the time during which an employee is subject to the control of an employer, and

    25 includes all the time the employee is suffered or permitted to work, whether or not required to do

    26 so, and in the case of an employee who is required to reside on the employment premises, that

    27 time spent carrying out assigned duties shall be counted as hours worked.

    28          42.     At all relevant times, Labor Code §1197 provides that the minimum wage for


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      1 employees fixed by the IWC is the minimum wage to be paid to employees, and the payment of a

      2 lesser wage than the established minimum is unlawful. Further, pursuant to the IWC Wage Order

      3 and Labor Code, Plaintiff and Class Members are to be paid minimum wage for each hour

      4 worked, and cannot be averaged At all times relevant, the IWC wage orders applicable to Plaintiff

      5 and Class Members' employment by Defendants provided that employees working for more than

      6 eight(8) hours in a day or forty (40) hours in a work week are entitled to overtime compensation

      7 at the rate of one and one-half times the regular rate of pay for all hours worked in excess of eight

      8 (8) hours in a day or forty (40) hours in a work week. An employee who works more than twelve

      9 (12) hours in a day is entitled to overtime compensation at a rate oftwice the regular rate of pay.

     10         43.     At all relevant times, Labor Code §1197.1 states lalny employer or other persons
     1 1 acting individually as an officer, agent, or employee of another person, who pays or causes to be

     12 paid to any employee a wage less than the minimum fixed by an applicable state or local law, or

     13 by an order of the commission shall be subject to a civil penalty, restitution of wages, liquidated

     14 damages payable to the employee, and any applicable penalties pursuant to Section 203.

     15         44.     Labor Code §510 codifies the right to overtime compensation at the rate of one and
     16 one-half times the regular rate of pay for all hours worked in excess of eight(8)hours in a day or

     17 forty (40) hours in a work week and to overtime compensation at twice the regular rate of pay for

     18 hours worked in excess of twelve(12) hours in a day or in excess of eight(8)hours in a day on the

     19 seventh day of work in a particular work week.

     20         45.     At all times relevant, Plaintiff and Class Members regularly performed non-exempt
    21 work and thus were subject to the overtime requirements ofthe IWC Wage Orders, CCR § 11000,

     22 et. seq. and the Labor Code.

    23          46.     At all times relevant, Plaintiff and Class Members consistently worked in excess of
    24 eight(8) hours in a day and/or forty (40) hours in a week and Defendant's failed to accurately

    25 calculate overtime pay to Plaintiff and Class Members.

     26         47.     At all times relevant, Plaintiff and Class Members consistently worked off-the-
    27 clock,for duties performed while clocked-out, resulting in an inaccurate payment of minimum and

    28 overtime wages to Plaintiff and Class Members.


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      1         48.     Defendants further failed to incorporate bonuses, shift differentials, and other
      2 remunerations into the employees' regular rates of pay for purposes of calculating overtime.

      3         49.     At all times relevant, Defendants have failed to accurately pay minimum and
      4 overtime owed to Plaintiff and Class Members.

      5         50.     Accordingly, Defendants owe Plaintiff and Class Members minimum and overtime
     6 wages, and have failed to pay Plaintiff and Class Members their wages owed.

     7          51.     Pursuant to Labor Code §§ 510, 558 and 1194,Plaintiff and Class Members are
      8 entitled to recover their unpaid wages and overtime compensation, as well as interest, costs, and

     9 attorneys' fees.

     10                                  SECOND CAUSE OF ACTION
     11                           FAILURE TO PAY TIMELY PAY WAGES
     12                                     (Against All Defendants)
     13         52.     Plaintiff incorporates and re-alleges each and every allegation contained above as
     14 though fully set forth herein.

     15         53.     Labor Code §§201-202 requires an employer who discharges an employee to pay
     16 compensation due and owing to said employee immediately upon discharge and that if an

     17 employee voluntarily leaves his or her employment, his or her wages shall become due and

     18 payable not later than seventy-two(72)hours thereafter, unless the employee has given seventy-

     19 two(72) hours previous notice of his or her intention to quit, in which case the employee is

    20 entitled to his or her wages on their last day of work.

    21          54.     Labor Code §203 provides that if an employer willfully fails to pay compensation
    22 promptly upon discharge, as required by Labor Code §§201-202, the employer is liable for waiting

    23 time penalties in the form of continued compensation for up to thirty (30) work days.

    24          55.     During the relevant time period, Defendants willfully failed and refused, and
    25 continue to willfully fail and refuse,to pay Plaintiff and Class Members their wages, earned and

    26 unpaid, either at the time of discharge, or within seventy-two(72)hours of their voluntarily

    27 leaving Defendants' employ. These wages include regular and overtime.

    28          36.     As a result, Defendants are liable to Plaintiff and members ofthe Non-Exempt


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      1 Production Employee class for waiting time penalties pursuant to Labor Code §203, in an amount

      2 according to proof at the time of trial.

      3                                    THIRD CAUSE OF ACTION
     4            FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
      5                                      (Against Al! Defendants)
      6          57.    Plaintiff incorporates and re-alleges each and every allegation contained above as
      7 though fully set forth herein.

     8           58.    Section 226(a) states that An employer, semimonthly or at the time of each
     9 payment of wages, shall furnish to his or her employee, either as a detachable part of the check,
     10 draft, or voucher paying the employee's wages, or separately if wages are paid by personal check

     1 1 or cash, an accurate itemized statement in writing showing (1) gross wages earned,(2)total hours

     12 worked by the employee, except as provided in subdivision (j),(3) the number of piece-rate units

     13 earned and any applicable piece rate if the employee is paid on a piece-rate basis, (4) all

     14 deductions, provided that all deductions made on written orders of the employee may be

     15 aggregated and shown as one item,(5) net wages earned,(6) the inclusive dates of the period for

     16 which the employee is paid,(7)the name ofthe employee and only the last four digits of his or her

     17 social security number or an employee identification number other than a social security number,

     18 (8)the name and address ofthe legal entity that is the employer.

     19         59.     Section 226(a)ofthe California Labor Code requires Defendants to itemize in wage
    20 statements all deductions from payment of wages and to accurately report total hours worked by

    21 Plaintiff and the Class including applicable hourly rates among other things. Defendants have

    22 knowingly and intentionally failed to comply with Labor Code section 226 and 204 on wage

    23 statements that have been provided to Plaintiff and the Class.

    24          60.     IWC Wage Orders require Defendants to maintain time records showing, among
    25 others, when the employee begins and ends each work period, meal periods, split shift intervals

    26 and total daily hours worked in an itemized wage statement, and must show all deductions and

    27 reimbursements from payment of wages, and accurately report total hours worked by Plaintiff and

    28 the Class. On information and belief, Defendants have failed to record all or some of the items


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      1 delineated in Industrial Wage Orders and Labor Code §226.

      2         61.     Defendants have failed to accurately record all time worked.
      3         62.     Defendants have also failed to accurately record the meal and rest period premiums
      4 owed and all wages owed per pay period.

      5         63.     Plaintiff and the Class have been injured as they were unable to determine whether
     6 they had been paid correctly for all hours worked per pay period among other things.

      7         64.     Pursuant to Labor Code section 226, Plaintiff and the Class are entitled up to a
      8 maximum of $4,000 each for record keeping violations.

      9         65.     Pursuant to Labor Code section 226.3, any employer who violates subdivision (a)
     10 of Section 226 shall be subject to a civil penalty in the amount of two hundred fifty dollars ($250)

     11 per employee per violation in an initial citation and one thousand dollars ($1,000) per employee

     12 for each violation in a subsequent citation, for which the employer fails to provide the employee a

     13 wage deduction statement or fails to keep the records required in subdivision (a)of Section 226.

     14                                  FOURTH CAUSE OF ACTION
     15               FAILURE TO ACCURATELY RECORD AND PAY SICK LEAVE

     16                                     (Against All Defendants)

     17         66.     Plaintiff incorporates and re-alleges each and every allegation contained above as

     18 though fully set forth herein.

     19         67.     Labor Code Section 246(i) provides that: "an employer shall provide an employee

    20 with written notice that sets forth the amount of paid sick leave available, or paid time off leave an

    21 employer provides in lieu of sick leave, for use on either the employee's itemized wage statement

    22 described in Section 226 or in a separate writing provided on the designated pay date with the

    23 employee's payment of wages. If an employer provides unlimited paid sick leave or unlimited

    24 paid time off to an employee, the employer may satisfy this section by indicating on the notice or

    25 the employee's itemized wage statement 'unlimited.' The penalties described in this article for a

    26 violation of this subdivision shall be in lieu ofthe penalties for a violation of Section 226."

    27          68.     Labor Code § 246 provides that the employer shall calculate paid sick leave by

    28 using one of two calculations:(1)"Paid sick time for nonexempt employees shall be calculated in


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      1 the same manner as the regular rate of pay for the workweek in which the employee uses paid sick

      2 time, whether or not the employee actually works overtime in that workweek;" or (2)"Paid sick

      3 time for nonexempt employees shall be calculated by dividing the employee's total wages, not

      4 including overtime premium pay, by the employee's total hours worked in the full pay periods of

      5 the prior 90 days of employment."

     6          69.     Whenever Defendants paid Plaintiff and Class Members sick time pursuant to
      7 California Labor Code § 246, Defendant did so at the incorrect rate of pay. Defendants paid

      8 Plaintiff and the Class Members at the incorrect rate of pay and/or base hourly rate of pay, as

      9 opposed to the regular rate of pay, which would take into account all night premiums and/or shift

     10 differentials, or by dividing the employees' total wages, not including overtime premium pay, by

     11 the employees' total hours worked in the full pay periods of the prior 90 days of employment, as

     12 required by Labor Code § 246. This resulted in the employees being underpaid for sick time, and

     13 resulted in violations of California Labor Code §§ 201, 202, and 203, and other derivative Labor

     14 Code violations, because Defendant did not pay, or timely pay, Plaintiff and the unpaid wages for

     15 work performed by them during their employment and at the end of their employment.

     16         70.     As a result of the unlawful acts of Defendant, Plaintiff and Class Members have
     17 been deprived of sick pay in amounts to be determined at trial, and are entitled to the recovery of

     18 such amounts, plus interest and penalties thereon, attorneys' fees, and costs.

     19                                        FIFTH CAUSE OF ACTION
    20                    FAILURE TO INDEMNIFY NECESSARY BUSINESS EXPENSES
    21                                          (Against All Defendants)
    22          71.     Plaintiff incorporates and re-alleges each and every allegation contained above as
    23 though fully set forth herein.

    24          72.     Labor Code § 2802 requires Defendants to indemnify Plaintiff and Class Members
    25 for necessary expenditures incurred in direct consequences ofthe discharge of his or her duties. As

    26 a necessary put of employment, Plaintiff and on information and belief Class Members, were not

    27 adequately reimbursed by Defendants for expenses related to all expenses incurred as a result of

    28 their i)ersonal cellphone usage and personal funds usage as described above, which was incurred


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      1 as a direct consequence of the discharge of duties by Plaintiff and Class Members. Despite these

      2 realities of the job, Defendants failed to provide reimbursements.

      3         73.     Labor Code §2804 states in pertinent part: "Any contract or agreement, express or
      4 implied, made by any employee to waive the benefits of this article or any part thereof is null and

      5 void, and this article shall not deprive any employee or his or her personal representative of any

     6 right or remedy to which he is entitled under the laws of this State.

      7         74.     As a result of the unlawful acts of Defendants, Plaintiff and the Class Members
      8 have been deprived of un-reimbursed expense amounts to be determined at trial, and are entitled to

      9 the recovery of such amounts, plus interest and penalties thereon, attorneys' fees, and costs,

     10 pursuant to Labor Code § 2802.

     11                                       SIXTH CAUSE OF ACTION
     12                 VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200, et.seq.
     13                                        (Against All Defendants)

     14         75.     Plaintiff incorporates and re-alleges each and every allegation contained above as
     15 though fully set forth herein.

     16         76.     Defendants' conduct, as alleged in this complaint, has been, and continues to be,
     17 unfair, unlawful, and harmful to Plaintiff and Class Members, Defendants' competitors, and the

     18 general public. Plaintiff seeks to enforce important rights affecting the public interest within the

     19 meaning ofthe California Code of Civil Procedure §1021.5.

    20          77.     Defendants' policies, activities, and actions as alleged herein, are violations of
    21 California law and constitute unlawful business acts and practices in violation of California

    22 Business and Professions Code §§17200, et seq.

    23          78.     A violation of California Business and Professions Code §§17200, et seq., may be
    24 predicated on the violation of any state or federal law. Defendants' policy of failing to accurately

    25 pay overtime, failing to pay minimum wages, failing to reimburse expenses, failing to provide

    26 accurate itemized wage statements and failing to accurately pay Plaintiff and Class Members sick

    27 pay, violates Labor Code § 226, §246, §512, § 226.7, § 246, § 1194, § 2802, and applicable IWC

    28 Wage Orders and California Code of Regulations.


                                                      - 15 -
                                            CLASS ACTION COMPLAINT
                                                                                    EXHIBIT A, p. 145
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 144 of 186 Page ID
                                  #:165



      1          79.    Plaintiff and Class Members have been personally aggrieved by Defendants'
      2 unlawful and unfair business acts and practices alleged herein by the loss of money and/or

      3 property.

      4         80.     Pursuant to California Business and Professions Code §§17200, et seq., Plaintiff
      5 and Class Members are entitled to restitution of the wages withheld and retained by Defendants

     6 during a period that commences four (4) years prior to the filing of this complaint; an award of

      7 attorneys' fees, interest; and an award of costs.

      8                                       PRAYER FOR RELIEF
     9                  WHEREFORE,Plaintiff prays for judgment against Defendants, as follows:

     10                                           Class Certification

     11          1.     That this action be certified as a class action;

     12         2.      That Plaintiff be appointed as the representative ofthe Class;

     13         3.      That Plaintiff be appointed as the representative ofthe Subclass; and

     14         4.      That counsel for Plaintiff is appointed as counsel for the Class and Subclass.

     15                                      On the First Cause of Action

     16          1.     For compensatory damages equal to the unpaid balance of minimum wage

     17 compensation and overtime owed to Plaintiff and Class members as well as interest and costs;

     18         2.      For reasonable attorneys' fees and costs pursuant to Labor Code §§ 510, and 1194;

     19         3.      For liquidated damages in an amount equal to the wages unlawfully unpaid and

    20 interest thereon pursuant to Labor Code §§ 1194.2, 558;

    21          4.      For such other and further relief as the Court deems proper.

    22                                     On the Second Cause of Action

    23           1.     For statutory penalties pursuant to Labor Code §203;

    24          2.      For interest for wages untimely paid; and

    25          3.      For such other and further relief as the Court deems proper.

    26                                      On the Third Cause of Action

    27           1.     For statutory penalties pursuant to Labor Code §226;

    28          2.      For interest for wages untimely paid;


                                                        - 16 -
                                             CLASS ACTION COMPLAINT
                                                                                       EXHIBIT A, p. 146
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                                  #:166



      1         3.     For penalties pursuant to Labor Code §266.3; and
      2         4.     For such other and further relief as the Court deems proper.
      3                                         On the Fourth Cause of Action
     4          1.     For unpaid sick leave;
      5         2.     For penalties pursuant to Labor Code § 203;
      6         3.     For interest;
      7         4.     For reasonable attorneys' fees and costs pursuant to statute; and
     8          5.     For such other and further relief as the Court deems proper
      9                                    On the Fifth Cause of Action
     10         1.     For statutory penalties pursuant to Labor Code §2802;
     11         2.     For interest for wages untimely paid; and
     12         3.     For such other and further relief as the Court deems proper.
     13                                    On the Sixth Cause of Action
     14         1.     That Defendants, jointly and/or severally, pay restitution of sums to Plaintiff and
     15 Class Members for their past failure to accurately pay overtime, failing to pay minimum wages,

     16 failing to reimburse expenses, failing to accurately pay sick leave, failing to provide accurate

     17 itemized wage statements;

     18         2.     For pre-judgment interest on any unpaid wages due from the day that such amounts
     19 were due;

    20          3.     For reasonable attorneys' fees that Plaintiff and Class Members are entitled to
    21 recover;

    22          4.     For costs of suit incurred herein; and
    23          5.     For such other and further relief as the Court deems proper.
    24

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                                            CLASS ACTION COMPLAINT
                                                                                      EXHIBIT A, p. 147
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                                  #:167



      1                                   DEMAND FOR JURY TRIAL
      2         Plaintiff and members of the Class and Subclass request a jury trial in this matter.
      3

      4

      5
          Dated: February 28, 2022                     JAMES HAWKINS APLC
      6

      7                                                By:
                                                             JAMES R. HAWKINS,ESQ.
      8                                                      GREGORY MAURO,ESQ.
                                                             MICHAEL CALVO,ESQ.
      9                                                      LAUREN FALK,ESQ.
                                                             AVA ISSARY,ESQ.
     10                                                      Attorneys for Plaintiff DAVID YUREVICH
                                                             JR. individually and on behalf of all others
     11                                                      similarly situated.
     12

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                                            CLASS ACTION COMPLAINT
                                                                                     EXHIBIT A, p. 148
   Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 147 of 186 Page ID
                                     #:168
                                                                                                   Reserved for Clerks File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                       ;.
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                                                                                                          "       , • • ...
                  NOTICE OF CASE ASSIGNMENT                                                        c                o       i a aca

                        UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   22STCV07221

                         THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE              DEPT     ROOM                      ASSIGNED JUDGE                      DEPT          ROOM
   1     Kenneth R. Freeman               14




    Given to the PlaintifKross-Complainant/Attomey ofRecord     Sherri R. Carter, Executive Officer / Clerk of Court
    on 03/01/2022                                                        By J. Covarrubias                                     ,Deputy Clerk
               (Date)
LACIV 190(Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                            EXHIBIT A, p. 149
    Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 148 of 186 Page ID
                                      #:169
                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

 CHALLENGE TO ASSIGNED JUDGE
 A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
 to ajudge, or if a party has not yet appeared, within 15 days ofthe first appearance.

 TIME STANDARDS
 Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

 COMPLAINTS
 All complaints shall be served within 60 days of filing and proof ofservice shall be filed within 90 days.

 CROSS-COMPLAINTS
 Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
 complaints shall be served within 30 days ofthe filing date and a proof ofservice filed within 60 days of the filing date.

 STATUS CONFERENCE
-A-statu—s- conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
 complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
 trial date, and expert witnesses.

 FINAL STATUS CONFERENCE
 The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
 parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
 form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
 matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
 lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
 by Chapter Three of the Los Angeles Superior Court Rules.

 SANCTIONS
 The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
 Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
 or if appropriate, on counsel for a party.

 This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
 therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
 compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

 *Provisionally Complex Cases
 Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
 complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
 randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
 returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
 LASC Approved 05/06                                                                                              EXHIBIT A, p. 150
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                                  #:170
                                                                                                   2019-GEN-014-00

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                                                                               Super'in.Court of CARD:wain
 1                                                                                County Of Los Angeles

2'                                                                                   MAY 6$ 2019
                                                                           Sherri Carter,EX ittiv6Offleir/Cleilt
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                                                                            fly       47h- ;Deputy
4'                                                                                     hula Mint

5
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                     FOR THE COUNTY OF LOS ANGELES
7

 8     IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
       — MANDATORY ELECTRONIC FILING )
9      FOR CIVIL
10

11

12            On December3,2018,the Los Angeles County Superior Court mandated electronic filing of all
13     documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14     Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15     Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16     All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17     following:

18 ! 1) DEFINITIONS
19 •      a) "Boolunark" A bookmark is a PDF document navigational tool that allows the reader to
20            quickly locate and navigate to a designated point of interest within a document.
21        b) "Efiling Portal" The official court website includes a webpage,referred to as the efiling
22            portal, that gives litigants access to the approved Electronic Filing Service Providers.
23        c) "Electronic Envelope" A transaction through the electronic service provider for submission

24            ofdocuments to the Court for processing which may contain one or more PDF documents
25            attached.

6.        d) "Electronic Fi4ng" Electronic Filing (eFiling)is the electronic transmission to a Court of a
27            document in electronic form.(California Rules of Court, rule 2.250(b)(7).)
28


                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                            EXHIBIT A, p. 151
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       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a

          person or entity that receives an electronic filing from a party for retransmission to the Court.
3         In the submission of filings, the EFSP does so-on behalf of the electronic filer and not as an
4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
9         process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original source document,regardless of the application
15        platform used.

16   2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150,trial court records may be created, maintained,
19        and preserved in electronic format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court's website, at.www.lacourt.org.


                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                        EXHIBIT A, p. 152
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 1        d) Documents in Related Cases
2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been implemented in that case type, regardless of whether the case has
4            been related to a Civil case.
5    3) EXEMPT LITIGANTS
6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7            from mandatory electronic filing requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.

12 4 EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                 Civil Procedure sections 170.6 or 170.3;
16                 Bonds/Undertaking documents;
17                 Trial and Evidentiary Hearing Exhibits
18           iv)   Any ex parte application that is filed concurrently with a new complaint including those
19                 that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20                 Documents submitted conditionally under seal. The actual motion or application shall be
21                 electronically filed. A courtesy copy of the electronically filed motion or application to
22                 submit documents conditionally under seal must be provided with the documents
23                 submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
27 // .

28   //


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                           EXHIBIT A, p. 153
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                                                                                                2019-GEN-014-00




 1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2       Electronic filing service providers must obtain and manage registration information for persons
 3       and entities electronically filing with the court.
 4 6) TECHNICAL REQUIREMENTS

 5       a) Electronic documents must be electronically filed in PDF,text searchable format when
 6           technologically feasible without impairment of the document's image.
 7       b) The table of contents for any filing must be boolcmarked.
 8       c) Electronic documents,including but not limited to, declarations, proofs of service, and
 9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10          3.1110(f)(4). Electronic bookmarks must include links to the first page of each boolcmarked
11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the item.
13       d) Attachments to primary documents must be boolcmarked. Examples include, but are not
14           limited to, the following:
15          i)     Depositions;
16 :               Declarations;
17 7        iii) Exhibits (including exhibits to declarations);
18          iv) Transcripts (including excerpts within transcripts);
19           v)    Points and Authorities;
20           vi)   Citations; and
21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23           encouraged.
24       0 Accompanying Documents
25          Each document acompanying a single pleading must be electronically filed as a separate
26 i         digital PDF document.
27       g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                          EXHIBIT A, p. 154
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 1            Writs and Abstracts
2             Writs and Abstracts must be submitted as a separate electronic envelope.
3i            Sealed Documents
4             If and when a judicial officer orders documents to be filed under seal, those documents must be
5             filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6             the documents as sealed at the time of electronic submission is the submitting party's
7             responsibility.
8        j)   Redaction
9             Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10            redact confidential information(such as using initials for names of minors,using the last four
11            digits of a social security number, and using the year for date of birth) so that the information
12            shall not be publicly displayed.
13     7) ELECTRONIC FILING SCHEDULE
14       a) Filed Date
15 ,          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16                shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17                document received electronically on a non-court day, is deemed to have been effectively
18               filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19                Civ. Proc. § 1010.6(b)(3).)
20            ii) Notwithstanding any other provision of this order,if a digital document is not filed in due
21               course because of: (1) an interruption in service;(2)a transmission error that is not the
22               fault of the transmitter; or(3)a processing failure that occurs after receipt, the Court may
23                order, either on its own motion or by noticed motion submitted with a declaration for Court
24                consideration, that the document be deemed filed and/or that the document's filing date
25                conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28            than 10:00 a.m. the court day before the ex parte hearing.


                          FIRST/WENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL-
                                                                                            EXHIBIT A, p. 155
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                                                                                             2019-GEN-014-00




 1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6         be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission)is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12              Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14              Pleadings and motions that include points and authorities;
15       iv)    Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)   Motions for Summary Judgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.org on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24        received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(0, may be
28        electronically filed in any authorized action or proceeding. _

                                                                     -
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                             2019-GEN-014-00




   1)SIGNATURES ON ELECTRONIC FILING

      For purposes of this General Order, all electronic filings must be in compliance with California

      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

      Division of the Los Angeles County Superior Court.



          This First Amended General Order supersedes any previous order related to electronic filing,

   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

   Supervising Judge and/or Presiding Judge.



   DATED: May 3,2019
                                                        KEVIN C. BRAZILE
                                                        Presiding Judge




                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC RUNG FOR CIVIL
                                                                                       EXHIBIT A, p. 157
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                                  #:177
       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                             Civil Division
                       Central District, Spring Street Courthouse, Department 14

    22STC07221                                                                         March 14,2022
    DAVID YUREVICH JR. vs INTERSTATE-RIM                                                     2:00 PM
    MANAGEMENT COMPANY,LLC,et al.


    Judge: onorable Kenneth R.Freeman                 CSR: None
    Judiciq Assistant: B. Guerrero                    ERM:None
    Courtroom Assistant: C. Gomez                     Deputy Sheriff: None

    APPEARANCES:
    For Plaintiff(s): No Appearances
   For Defendant(s): No Appearances




        1
    NATURE OF PROCEEDINGS: Court Order Regarding Newly Filed Class Action;

    By thi; order, the Court determines this case to be Complex according to Rule 3.400 of the
    California Rules of Court. The Clerk's Office has assigned this case to this department for all
    purposes.

   Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
   thousand dollars($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
   fee of rne thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
   or adverse party, not to exceed,for each separate case number,a total ofeighteen thousand
   dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
   All suCh fees are ordered to be paid to Los Angeles Superior Court, within ten(10)days of
   service ofthis order.

   By this order, the Court stays the case, except for service of the Summons and Complaint. The
   stay cclontinues at least until the Initial Status Conference. Initial Status Conference is set for
   06/03q022 at 10:00 AM in this department. At least ten(10)days prior to the Initial Status
   Conference, counsel for all parties must discuss the issues set forth in the Initial Status
   Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
   Statement five(5)court days before the Initial Status Conference.

   The 1ritial Status Conference Order, served concurrently with this Minute Order, is to help the
   Court al nd the parties manage this complex case by developing an orderly schedule for briefing,
   discHery, and court hearings. The parties are informally encouraged to exchange documents and
   information as may be useful for case evaluation.

   RespJpsive pleadings shall not be filed-until further Order ofthe Court. Parties must file a Notice
   of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
                                              Minute Order                                 Page 1 of3

                                                                                       EXHIBIT A, p. 158
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                                  #:178
      SUiERTOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                           Civil Division
                       Central District, Spring Street Courthouse, Department 14

   22STCV07221                                                                         March 14,2022
   DAVID YUREV1CH JR. vs INTERSTATE-REM                                                      2:00 PM
   MANAGEIVIENT COMPANY,LLC,et al.


   Judge: Honorable Kenneth R.Freeman                 CSR: None
   Judicial Assistant: B. Guerrero                    ERM:None
   Courtro!om Assistant: C. Gomez                     Deputy Sheriff: None

   Appearance shall not constitute a waiver ofany substantive or procedural challenge to the
   Compliint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
   Code of Civil Procedure Section 170.6. Nothing in this order stays the filing ofan Amended
   Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
   Private Attorney General Act("PAGA")claim.

   For inf?rmation on electronic filing in the Complex Courts, please refer to
   https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
  "Complex Civil efiling." Parties shall file all documents in conformity with the Presiding Judge's
  'First Ainended General Order ofMay 3,2019, particularly including the provisions therein
   requiring Bookmarking with links to primary documents and citations; that Order is available on
   the Coiirt's website at the link shown above.

   For efficiency in communication with counsel, the complex program requires the parties in every
   new cake to use an approved third-party cloud service that provides an electronic me_ssage board.
   In order to facilitate communication with counsel prior to the Initial Status Conference, the
   partiesimust sign-up with the e-service provider at least ten (10)court days in advance of the
   Initial Status Conference and advise the Court which provider was selected.

   The clurt has implemented LACourtConnect to allow attorneys, self-represented litigants and
   partiesi to make audio or video appearances in Los Angeles County courtrooms.
   LACourtConnect technology provides a secure, safe and convenient way to attend hearings
   remotely. A key element ofthe Court's Access LACourt YOUR WAY program to provide
   services and access to justice, LACourtConnect is intended to enhance social distancing and
   change the traditional in-person courtroom appearance model. See
   https:/my.lacourt.org/laccwelcome for more information.
          i
   This Complex Courtroom does not use Los Angeles Superior Court's Court Reservation("CRS")
   portal 'Fo reserve motion hearing dates. Rather, counsel may secure dates by calling the
   Courtroom Assistant at 213-310-70xx with the "xx" being the Department number, e.g. Dept. 1
   is 01 ndDept. 10 is 10.

   Court reporters are not provided for hearings or trials. The parties should make their own
   arrangements for any hearing where a transcript is desired.

   If you,believe a party or witness will need an interpreter, see the court's website for information
   on how to make such a request in a timely manner. https://www.lacourt.org/irud/U1/index.aspx
                                              Minute Order                                   Page 2 of3

                                                                                        EXHIBIT A, p. 159
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 158 of 186 Page ID
                                  #:179
       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 14

    22STCV07221                                                                       March 14,2022
    DAVIDNUREVICH JR. vs INTERSTATE-RIM                                                     2:00 PM
    MANAGEMENT COMPANY,LLC,et al.


    Judge: Ronorable Kenneth R. Freeman               CSR: None
    Judicial Assistant: B. Guerrero                   ERM:None
    Courtroom Assistant: C. Gomez                     Deputy Sheriff: None


    Counsel are directed to access the following link for further information on procedures in the
    Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/C10042.aspx.

    The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
    Order on all parties forthwith and file a Proofof Service in this department within seven(7)days
    ofsenre.

    Certificate of Mailing is attached.




                                             MinUte Order                                 Page 3 of3

                                                                                     EXHIBIT A, p. 160
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 159 of 186 Page ID
                                  #:180
                                                                                      Reserved for Clerk's File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
 COURTHOUSE ikDDRESS:                                                                           FILED
                                                                                     Suporbr Court of Gallia nia
Spring Street Courthouse.                                                              County of LosAngalas
312 North Spring Street, Los Angeles, CA 90012
                                                                                           03/14/2022
PLA1NTIFF/PETMONER:                                                           Sti=IR. C    ,       fr..* eigoo.         Cow
 DAVID YURVICH JR.                                                             By:             Is. Gu3aero         Oern.1:1y
 DEFENDANTIR4SPONDENT:
 Interstate-RiM Management Company, LLC et al
                                                                              CASE NUMBER:
                        CERTIFICATE OF MAILING                                22STCV07221

 I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
.party to the cause herein, and that on this date I served the Minute Order(Court Order Regarding Newly
 Filed Class Action;) of 03/14/2022, Initial Status Conference Order upon each party or counsel named
 below by placing the document for collection and mailing so as to cause it to be deposited in the United
 States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
 separate sealed envelope to each address as shown below with the postage thereon fully prepaid,in
 accordance With standard court practices.




     James RE Hawkins
     James Hawkins APLC
     9880 Research Drive, Suite 200
     Irvine, CA 92618




                                                       Sherri R. Carter, Executive Officer / Clerk of Court

 Dated: 03/115/2022.                                    By: B. Guerrero
                                                            Deputy Clerk •




                                                                                               EXHIBIT A, p. 161
                                       ,CERTIFICATE,OE MAILING
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 160 of 186 Page ID
                                   #:181

                  Superior Court of California, County of Los Angeles




     SSCOMPLAINANTS;must se rve4                   Information Package-on                 arties named tot
     ;the




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



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                                                                                                                Page 1 of 2
   For Mandatory Use


                                                                                                 EXHIBIT A, p. 162
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                                  #:182




                                 How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

          a. The Civil Mediation Vendor Resource List
             If all parties in an active civil case agree to mediation, they may contact these organizations
             to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
             cases).

                  • ADR Services,Inc. Case Manager Eliza beth Sanchez,eliza beth@ a drservices.com
                    (949)863-9800
                  • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310)309-6209
                  • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                    (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

          b. Los Angeles County Dispute Resolution Programs
             https://hrc.lacountv.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

              Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer(eviction) cases
              should carefully review the Notice and other information they may receive about(ODR)
              requirements for their case.

          c. Mediators and ADR and Bar orga nizations that provide mediation may be found on the internet.

      3. Arbitration:Arbitration is less formal than trial, but like trial, the parties present evidence and
      argumentsto the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right totrial. In "nonbinding" arbitration, any party can request a
      trial afterthe arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory SettlementConferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses ofthe case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit htt p://www.la court.org/division/civil/C10047.a spx

      Los Angeles Superior Court AD R website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR,visit http://www.courts.ca.gov/programs-a dr.ht m


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For Mandatory Use                                                                                          Page 2 of2

                                                                                                    EXHIBIT A, p. 163
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                                  #:183




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                                                                                                  California
                                                                                                Angeles'
     3                                                                               MAR .14
                                                                        SheN R.              2822
     4                                                                          Carter,
                                                                                     Executive
                                                                             By: Berta         Officertlerk ot Court
     5                                                                                 Guerrero, Deputy

     6
     7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
     8                                     COUNTY OF LOS ANGELES
     9                                          CENTRAL DISTRICT
    10 DAVID YIJUVICH JR •                                   Case No. 22STCV07221
                                                             INITIAL STATUS CONFERENCE ORDER
    11                                                      (COMPLEX LITIGATION PROGRAM)
                      Plaintiff,
                VS.
    12                                                       Case Assigned for All Purposes to
    13                                                       Judge Kenneth R. Freeman
       INTERSTATE-RIM MANAGEMENT
    14 COMPANY,et al                                         Department: 14
                Defendants.                                  Date:      June 3,2022
    15                                                       Time:       10:00 a.m.

    16
                Due to the pandemic and the urgent need to avoid court appearances, the parties MUST
    17
    18 sign up with an e- service provider at least ten court days in advance of the Initial Status
    19 Conference and advise the Court, via email to sscdept14@lacourt.org, which provider was
    20 selected.
    21
                This case has been assigned for all purposes to Judge Kenneth R.Freeman in the Complex
    22
         Litigation Program. An Initial Status Conference is set for June 3,2022,at 10:00 a.m.,in
    23
         Department 14 located in the Spring Street Courthouse,at United States District Court, at/312
    24
                                                                           parties are ordered to attend.
    25 N.Spring Street, Los Angeles, California 90012. Counsel for all the
    26          The Court orders counsel to prepare for the Initial Status Conference by identifying and

    27    *scussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
    28

                                        INITIAL STATUS CONFERENCE ORDER                     EXHIBIT A, p. 164
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 163 of 186 Page ID
                                  #:184



          initiate contact with counsel for defense to begin this process. Counsel then must negotiate)and
     1
                                                                                            Initial Status
     2 ajree, as possible, on a case management plan. To this end,counsel must file a Joint
     3 Conference Class Action Response Statement ten (10)court days(June 3,2022 and provide a
     4 conformed courtesy copy DIRECTLY in Department 14)before the Initial Status Conference.
     5 The Joint Response Statement must be filed on line-numbered pleading paper and must
     6
          s ecifically answer each of the below-numbered questions. Do not the use the Judicial Council
     7
          Firm CM-110(Case Management Statement)for this purpose.
     8
                 1. PARTIES AND COUNSEL: Please list all presently-named class representatives and
     9
    10 presently-named defendants,together with all counsel of record, including counsel's contact and
    11 email information.
    12           2. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add
    13
          njiore class representatives? If so, and if known, by what date and by what name? Does any
    14
          p aintiff presently intend to name more defendants? If so, and if known, by what date and by what
    15
            Does any appearing defendant presently intend to file a cross-complaint? If so, who will
    16 + e?
    17 be named.
    18           3. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong

    19 person or entity, please explain.
    20           4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party
    ,21
          believes one or more named plaintiffs might not be an adequate class representative, please
    22
          explain. No prejudice will attach to these responses.
    23
                 S. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.
    24
    25           6. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list

    26     ther cases with overlapping class definitions. Please identify the court, the short caption title, the

    27 docket number, and the case status.
    28
                                                           -2-
                                         INITIAL STATUS CONFERENCE ORDER                 EXHIBIT A, p. 165
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                                  #:185



                7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
     1
                                                      clause of this sort. Opposing parties must
     2 WAIVER CLAUSES: Please include a sample of any
     3 s4nmarize their views on this issue.
     4          8. POTENTIAL EARLY CRUCIAL MOTIONS:• Opposing counsel are to identify and
     5 d scribe the significant core issues in the case. Counsel then are to identify efficient ways to
     6
         r olve those issues. The vehicles include:
     7
            • Early motions in lirnine,
     8
            • Early motions about particular jury instructions,
     9
    10      • Demurrers,

    11      I Motions to strike,

    12      • Motions forjudgment on the pleadings, and
    13
            • Motions for summary judgment and summary adjudication.
    14
                9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information
    15
         f1om the defendant's records? If so, do the parties consent to an "opt-out" notice process (as
    16
    17 approved in Belaire-West Landscape, Inc. v: Superior Court(2007) 149 Cal.App.4th 554,561)to
    18 precede defense delivery of this information to plaintiff's counsel? If the parties agree on the
    19 notice process, who should pay for it? Should there be a third-party administrator?
    20          10. PROTECTIVE ORDERS: Parties considering an order to protect confidential
    21
         information from general disclosure should begin with the model protective orders found on the
    22
            s Angeles Superior Court Website under "Civil Tools for Litigators."
    23
                11. DISCOVERY: Please discuss discovery. Do the parties agree on a plan? If not, can
    24
    25     e parties negotiate a compromise? At minimum,please summarize each side's views on

    26     scovery. The Court generally allows discovery on matters relevant to class certification, which

    27 depending on circumstances) may include factual issues also touching the merits. The Court
    28
                                                         -3-
                                        INITIAL STATUS CONFERENCE ORDER               EXHIBIT A, p. 166
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         g1nerally does not permit extensive or expensive discovery.relevant only to the merits (for
     1
                                                                       establishes early need. If any
     2 e ample,detailed damages discovery) unless a persuasive showing
     3 party seeks discovery from absent class members, please estimate how many,and also state the
     4 kind of discovery you propose'.
     5
                   12. INSURANCE COVERAGE: Please state if there is insurance for indemnity or
     6
         r imbursement.
     7
                   13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each
     8
         p   y's position about it. If pertinent, how can the Court help identify the correct neutral and
     9
    10 prepare the case for a successful settlement negotiation?
    11             14. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for
    12 tLe following:
    13      is     The next status conference,
    14
             • A schedule for alternative dispute resolution, if it is relevant,
    15
             • A filing deadline for the motion for class certification, and
    16
    17       •Filing deadlines and descriptiops for other anticipated non-discovery motions.

    18        ' 15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program

    19 requires the parties in every new case to use a third-party cloud service. While the parties are free
    20 to choose one of the services shown below, this Court(Department 14) prefers that the parties
    21
         Jelect:
    22
             • Case Anywhere (http://www.caseanywhere.com).
    23
             The parties are not required to select Case Anywhere,but may chose instead either
    24
    25       •File & Serve Xpress(https://securefileandservexpress.com) or

    26
    27         See California Rule of Court, Rule 3.768.
    28
                                                           -4-
                                         INITIAL STATUS CONFERENCE ORDER              EXHIBIT A, p. 167
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                                  #:187



            • CaseHomePage(http://www.casehomepage.com).
     1
     2          Please agree on one and submit the parties' choice when filing the Joint Initial Status

     3 Conference Class Action Response Statement. If there is agreement, please identify the vendor. If
     4 parties cannot agree, the Court will select the vendor at the Initial Status Conference. Electronic
     5 service is not the same as electronic filing. Only traditional methods of filing by physical delivery
     6
           original papers or by fax filing are presently acceptable.
     7
                Reminder When Seeking To Dismiss Or To Obtain Settlement Approval:
     8
                "A dismissal of an entire class action, or of any party or cause of action in a class action,
     9
    10     quires Court approval... Requests for dismissal must be accompanied by a declaration setting

    11 forth the facts on which the party relies. The declaration must clearly state whether consideration,
    12 iclirect or indirect, is being given for the dismissal and must describe the consideration in detail."'
    13
         If the parties have settled the class action, that too will require judicial approval based on a noticed
    14
         motion (although it may be possible to shorten time by consent for good cause shown).
    15
                Pending further order of this Court, and except as otherwise provided in this Initial Status
    16
    17 Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the filing
    18 of any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the Court.
    19 I.owever, any defendant may file a Notice of Appearance for purposes of identification of counsel
    20 gn
       ! d preparation of a service list. The filing of such a Notice of Appearance shall be without
    21
         prejudice to any challenge to the jurisdiction of the Court, substantive or procedural challenges to
    22
         tihe Complaint, without prejudice to any affirmative defense, and without prejudice to the filing of
    23
         any cross-complaint in this action. This stay is issued to assist the Court and the parties in
    24
    25     anaging this "complex" case through the development of an orderly schedule for briefing and

    26
       r
    27       2 California Rule of Court, Rule 3.770(a)

    28
                                                          -5-
                                         INITIAL STATUS CONFERENCE ORDER                EXHIBIT A, p. 168
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                                  #:188



          hearings on procedural and substantive challenges to the complaint and other issues that may
     1
     2 assist in the orderly management of these cases. This stay shall not preclude the parties from
     3 informally exchanging documents that may assist in their initial _evaluation of the issues presented
     4      this case, however shall stay all outstanding discovery requests.
     5           Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order on
     6
          counsel for all parties, or if counsel has not been identified, on all parties, within five(5)days of
     7
          service of this order. If any defendant has not been served in this action, service is to be completed
     8
           ithin twenty(20)days of the date of this order.
     9
    10           Dated:

    •11
                                                          KENNETH R. FREEMAN
    12
    13                                                    Judge Kenneth R. Freeman

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                                         INITIAL STATUS CONFERENCE ORDER                EXHIBIT A, p. 169
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                                  #:189
                                                                                      Reserved for Clerk's File Stamp
            SUPERIOR COURT OF CALIFORNIA
             . COUNTY OF LOS ANGELES.
COURTHOUSE )1\DDRESS:                                                                          FILED
                                                                                     Supotix Court of Callfornia
Spring Stree,t Courthouse.                                                             County of LosAnplas
312 North Spring Street, Los Angeles, CA 90012
                                                                                           03/1412022
PLAINTIFF/PETI:TIONER:                                                                                         CoA      COM:
DAVID YUREV1CH JR.                                                             By:            S Guarrero          Os.r.v.ity
DEFENDANT/RESPONDENT:
Interstate-R m Management Company, LLC et at
                                                                             CASE NUMBER:
                         CERTIFICATE OF MAILING                              22S1CV07221

I,the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the bause herein, and that on this date I served the Minute Order(Court Order Regarding Newly
Filed Class Action;) of 03/14/2022, Initial Status Conference Order upon each party or counsel named
below by placing the document for collection and mailing so as to cause it to be deposited in the United
States mail it the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a
separate sealed envelope to each address as shown below with the postage thereon fully prepaid,in
accordance With standard court practices.




    James R. Hawkins
    James Hawkins APLC
    9880 ReSearch Drive, Suite 200
    Irvine, Cl 92618




                                                      Sherri R. Carter, Executive Officer / Clerk of Court

 Dated: 03/115/2022:_                                  By: B. Guerrero, •
                                                           Deputy Clerk -




                                       CERTIFICATE OF MAILING                                 EXHIBIT A, p. 170
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                                  #:190



                                VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                   The Early Organizational Meeting Stipulation, Discovery
                                Resolution Stipulation, and Motions in Limine Stipulation are
 Superior Court of California   voluntary stipulations entered into by the parties. The parties
 County of Los Angeles

                                may enter into one, two, or all three of the stipulations;
                                however, they may not alter the stipulations as written,
   LACBA_                       because the Court wants to ensure uniformity of application.
  Los Angeles County
  Bar Association               These stipulations are meant to encourage cooperation
  Litigation Section

 Los Angeles County
                                between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section         manner that promotes economic case resolution and judicial
                                efficiency.
        111
              I.
                                   The following      organizations endorse the goal of
 Consumer Attorneys
 Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                                consider using these stipulations as a voluntary way to
                                promote communications and procedures among counsel
                                and with the court to fairly resolve issues in their cases.

                                •Los Angeles County Bar Association Litigation Section*
 Southern California
 Defense Counsel
                                         •Los Angeles County Bar Association

 -4litittiliOi#
           aBlii, aiitIMKIM
                                              Labor and Employment Law Section*
          •    40504451/3

 Association of
 Business Trial Lawyers            *Consumer Attorneys Association of Los Angeles*


                                         *Southern California Defense Counsel*


                                        *Association of Business Trial Lawyers*

 California Employment
 Lawyers Association
                                    *California Employment Lawyers Association*


      LACIV 230(NEW)
      LASC Approved 4-11
      For Optional Use
                                                                                    EXHIBIT A, p. 171
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                                  #:191



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial anitual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g.   Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                    Page 1 of 2
                                                                                                   EXHIBIT A, p. 172
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                                  #:192
  SHORT TITLE:                                                                      CASE NUMBER:




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

        h. Computation of damages, including documents, not privileged or protected from disclosure, on
           which such computation is based;

        i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                 www.lacourtorq under "Civil" and then under "General Information").

  2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                 to                         for the complaint, and                             for the cross-
                          (INSERT DATE)                                       (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lacourtoro under "Civil",
                 click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

  3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                 and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                 results of their meet and confer and advising the Court of any way it may assist the parties'
                 efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                 the Case Management Conference statement, and file the documents when the CMC
                 statement is due.

  4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day

  The following parties stipulate:
  Date:

                   (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
  Date:

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
  Date:

                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


  LACIV 229(Rev 02/15)
  LASC Approved 04/11          STIPULATION —EARLY ORGANIZATIONAL MEETING                                     Page 2 of 2
                                                                                                   EXHIBIT A, p. 173
 Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 172 of 186 Page ID
                                   #:193

,.
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      I.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.     Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.     Also be filed on the approved form (copy attached);

                     ii.     Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                     STIPULATION — DISCOVERY'RESOLUTION
      For Optional Use                                                                                                   Page 1 of 3
                                                                                                   EXHIBIT A, p. 174
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 173 of 186 Page ID
                                  #:194
47
     SHORT TITLE:                                                                   CASE NUMBER:




                    iii.   Be filed within two (2) court days of receipt of the Request; and

                    iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                           method of service that ensures that the opposing party receives the Answer no
                           later than the next court day following the filing.

           c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
              be accepted.

           d. If the Court has not granted or denied the Request for Informal Discovery Conference
              within ten (10) days following the filing of the Request, then it shall be deemed to have
              been denied. If the Court acts on the Request, the parties will be notified whether the
              Request for Informal Discovery Conference has been granted or denied and, if granted,
              the date and time of the Informal Discovery Conference, which must be within twenty (20)
              days of the filing of the Request for Informal Discovery Conference.

          e. If the conference is not held within twenty (20) days of the filing of the Request for
             Informal Discovery Conference, unless extended by agreement of the parties and the
             Court, then the Request for the Informal Discovery Conference shall be deemed to have
             been denied at that time.

     4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

     5. The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
        by Order of the Court.

          It is the understanding and intent of the parties that this stipulation shall, for each discovery
          dispute to which it applies, constitute a writing memorializing a "specific later date to which
          the propounding [or demanding or requesting] party and the responding party have agreed in
          writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
          2033.290(c).

     6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
        an order shortening time for a motion to be heard concerning discovery.

     7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

     8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
        any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
        for performing that act shall be extended to the next Court day.



     LACIV 036(new)
     LASC Approved 04/11            'STIPULATION-- DISCOVERY RESOLUTION
     For Optional Use                                                                                        Page 2 of 3
                                                                                                   EXHIBIT A, p. 175
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 174 of 186 Page ID
                                  #:195
  SHORT TITLE:                                                    CASE NUMBER:




  The following parties stipulate:

  Date;
                 (TYPE OR PRINT NAME)                          (ATTORNEY FOR PLAINTIFF)
  Date:
                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:
                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:
                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR DEFENDANT)
  Date:
                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR
  Date:
                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR
  Date:
                 (TYPE OR PRINT NAME)                  (ATTORNEY FOR




                                   4S
                                    P. ,

  LACIV 036(new)
  LASC Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
  For Optional Use                                                                         Page 3 of 3

                                                                                 EXHIBIT A, p. 176
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 175 of 186 Page ID
                                  #:196



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                          Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                      CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                 El          Request for Informal Discovery Conference
                 0           Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                          (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Court to hold Informal Discovery Conference:                                                 (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                               INFORMAL DISCOVERY CONFERENCE
      For Optional Use                    pursuant to the Discovery Resolution Stipulation of the parties)
                                         AYP                                                                    EXHIBIT A, p. 177
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 176 of 186 Page ID
                                  #:197



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                   FAX NO.(Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
C0yRTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:

              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                                   Page 1 of 2
                                                                                                   EXHIBIT A, p. 178
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 177 of 186 Page ID
                                  #:198
  SHORT TITLE:                                                CASE NUMBER:




  The following parties stipulate:

  Date:

                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR PLAINTIFF)
  Date:

                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                    (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PRINT NAME)                (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                (ATTORNEY FOR
  Date:

                 (TYPE OR PRINT NAME)                (ATTORNEY FOR



  THE COURT SO ORDERS.

    Date:
                                                               JUDICIAL OFFICER




  LACIV 075(new)
  LASC Approved 04/11      STIPULATION AND ORDER —MOTIONS IN LIMINE                    Page 2 o12
                                                                             EXHIBIT A, p. 179
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 178 of 186 Page ID
                                  #:199




                                                                       FI
                                                                   Ws, ANGELESsumioR
                                                                                         M.  mtugT
                                                                           'MAY 1 1   2011
 4                                                                     JOHN A   qLBKE,$ERK
                                                                                afaii
                                                                     BY NACYJAVJRO.
                                                                                   'D.EPIRY

 6

 7                    SUPERIOR COURT'OF THE STATE OF CALIFORNIA
 8                            FOR THE COUNTY OF LOS ANGELES
 9
      General Order Re                          )    ORDER PUR$UANT TO COP 1054(a)
      Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11    Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                                )    TO EARLY ORGANIZATIONAL
12                                              )    MEETING.-STIPULATION
13

1_4
             Whereas the Los Angeles Superior Court'and the E,xecutive CortiMiftee.Ofthe
15
      Litigation:Section ofthe Los Angeles County Bar-Association have cooperated in
:16

17
      drafting "Voluntary Efficient Litigatibn Stipulations" and in proposing the stipulations for

1,8   use in general:jurisdiction civil litigation in LoAngeles County;
19           Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
      Angeles County Bar Association Labor-and Employment Law Section; the'Consumer
21
      Attorneys AssodiatiOn of Los Angeles; the AsSociation of SoUthern California Defense
22

23    Counsel;the Association of Business Trial Lawyers of Los Angeles; and the California

24    EmployMent Lawyers Association all l'endOrse the goal of prOtoting efficiency-in
25 litigation, and ask that counsel consider using these stipulations as a voluntary way to
26'
      promote communications and procedures among counsel and with the court to fairly
27
      resolve issUes in their'cases;"
28

                                                  -1-

                                ORDER PURSUANT TO CCP 1054(a)
                                                                                      EXHIBIT A, p. 180
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 179 of 186 Page ID
                                  #:200




              Whereas the Early OrgenizetiOnal Meeting Stipulatibn is intended to entigitage

 2     cooperation among the parties at an early stage in litigation in order to achieve

 3     litigation efficiencieS;
 4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
       Will ,prcimbte etoribrniC base resbliition and judicial efficienCy;
 6
              Whereas, in order to promote a meaningful discussion of pleading issues at the
 7

       Early Orgenizetionel Meeting and potentially to reduce the need fOr Motions tb
 9     challenge the pleadings, it is:necessary:to allow additional time to conduct the Early
10 .
       Organizational Meeting before the time to respond to a Complaint or crass coMpleint
Ii
       has expired;
12

13            Whereas Code,of Civil Procedure section 1054(a)allows a judge of the court in

14     which an action is pending to extend for not more than 3,0 days the time to respond to
15
       a pleading "upon good cause shown";.
16
              Now,therefore, this Court hereby finds that there:is good cause to extend fOr 30

       days the time to respond to a complaint ot to a cross complaint in any action in which
18

19     the parties have entered into the Early Organizational Meeting Stipulation. This finding

20     of good cause is based on the anticipated judicial efficiency and benefits of economic
21
       Case resOlution that ttle Early Organizational Meeting Stipulation is intended to
.22
       promote.
23
              IT IS HEIREEWORPERED that, in ay case in which the patties have entered
24

.25    into an Early Organizational Meeting Stipulation, the time fora defending party to
26     respond to a complaint or cross.complaint shall be extended by the 30 days permitted
21
28

                                                    -2-

                                  ORDER PURSUANT TO c-cP 1054(A)
                                                                                   EXHIBIT A, p. 181
Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 180 of 186 Page ID
                                  #:201




      .by Code Of Civil Procedure section, l054(a) without further need of a specific court
  1

      order.

 3.

 4
      DATED'.
                                                Carolyn B. K     Siipervising Judge of
                                                Civil Departments; lips Angeles Superior Court




 9

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                                                 -3-

                                ORDER PURSUANT TO CCP 1054(a)
                                                                                  EXHIBIT A, p. 182
Electronically Case     2:22-cv-03713-MEMF-RAO
               FILED by Superior                                             Document
                                 Court of California, County of Los Angeles on 02/28/2022 07:351-2     Filed
                                                                                                PM Sherri        05/31/22
                                                                                                          R. Carter,                Pageof181
                                                                                                                     Executive Officer/Cleric        ofJ.186
                                                                                                                                              Court, by         Page ID 0
                                                                                                                                                         Covarrubias,Depapil
          ATTORNEX OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)-   #:202
                                                                                      I UVU1411
                                                                                                                                        FOR COURT USE ONLY
         JAMES'HAVVKINS APLC.; James R. Hawkins (#192925); Gregory Mauro(#222239)
         Michael Calvo (#314986); Lauren Falk (# 316893); Ave Issary (#342252)
         9880 Research Drive Suite 200 Irvine, CA 92816

                   TELEPHONE NO.:     949-387-7200                    FAX NO.(Optional):   949-387-6676
             ATTORNEY FOR (Name):     David Yurevich JR
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          STREET ADDRESS:      111 North Hill Street
          MAILING ADDRESS:
          CITY AND ZIP CODE:   Los Angeles, 90012
              BRANCH NAME:     Stanley Mask
          CASE NAME:David Yurevich Jr, individually and on behalf of all others similarly situated v.
                     Interstate-Rim Management Company,LLC, a Delaware Limited Liability Company,et al.
              CIVIL CASE COVER SHEET                                                       CASE NUMBER:
                                                     Complex Case Designation
            x Unlimited        J Limited                 Counter               Joinder
              (Amount
                                                                                                2281— CV 07221
                                 (Amount
                                                 Filed with first appearance by defendant JUDGE:
               demanded          demanded is
                                                    (Cal. Rules of Court, rule 3.402)       DEPT.:
              exceeds $25,000)   $25,000)
                                   Items 1-6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
              Auto Tort                                            Contract                                        Provisionally Complex Civil Litigation
             -
             I 1 Auto (22)                                                 Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
             I—I Uninsured motorist(46)                                    R• ule 3.740 collections(09)                  Antitrust/Trade regulation (03)
              Other PI/PDNVD (Personal Injury/Property                     Other collections (09)                        Construction defect(10)
              Damage/Wrongful Death) Tort                                                                                Mass tort(40)
                                                                           Insurance coverage (18)
            -
            1 1 Asbestos (04)                                                                                             Securities litigation (28)
                Product liability (24)
                                                                   Ti
                                                                   O• ther contract(37)
                                                            Real Property                                              Environmental/Toxic tort(30)
             I—I Medical malpractice (45)                                                                              Insurance coverage claims arising from the
                                                           -
                                                           1 7 E• minent domain/Inverse                                above listed provisionally complex case
             I—I Other PUPD/VVD (23)                               condemnation (14)
                                                                                                                       types (41)
              Non-PI/PD/WD (Other) Tort                   -1     1 Wrongful eviction (33)                         Enforcement of Judgment
             ET Business tort/unfair business practice(07) Ti O• ther real property (26)                          El Enforcement of judgment(20)
                   Civil rights (08)                        U nlawful Detainer
                                                                                                                  Miscellaneous Civil Complaint
             F-1 Defamation (13)                                   Commercial(31)
                                                                                                                          RICO (27)
             I—I Fraud (16)                                       -
                                                                  1 1 R• esidential (32)
                                                                                                                  -
                                                                                                                  1 1 Other complaint(not specified above)(42)
              r---7 Intellectual property (19)                     IT    Drugs (38)
                                                                                                                   Miscellaneous Civil Petition
                      Professional negligence (25)                 Judicial Review
                                                                                                                          Partnership and corporate governance (21)
             I—I Other non-PUPDNVD tort (35)                       F-1 Asset forfeiture (05)
                                                                                                                          Other petition (not specified above)(43)
              Employment                                           E ] P• etition re: arbitration award (11)
                   Wrongful termination (36)                       -
                                                                   1 7 Writ of mandate (02)
                      Other employment(15)                                 O• ther judicial review (39)
         2. This case ni is                 is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
            a. I J Large number of separately represented parties             d. -I  1 Large number of witnesses
            b. F—J    Extensive  motion  practice  raising difficult or novel e.       Coordination with related actions pending in one or more
                      issues that will be time-consuming to resolve                    courts in other counties, states, or countries, or in a federal
            c. I=1 Substantial amount of documentary evidence                          court
                                                                              f. -r 1 Substantial postjudgment judicial supervision
         3. Remedies sought(check all that apply): a. F-1 monetary b. -         1 7 nonmonetary; declaratory or injunctive relief c. F-1 punitive
         4. Number of causes of action (specify):6
         5. This case F-7 is         -I 7 is not a class action suit.
         6. If there are any known related cases, file and serve a notice of related case. (You may use fo         M-015.
         Date: 02/28/2022
         Gregory Mauro, Esq.
                                    (TYPE OR PRINT NAME)                                                                     NATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                               NOTICE
          • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
            under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
            in sanctions.
          • File this cover sheet in addition to any cover sheet required by local court rule.
          • If this case is complex under rule 8.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
            other parties to the action or proceeding.
          • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                         Pagel of 2
         Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
         Judicial Council of Califomia                               CIVIL CASE COVER SHEET                                                 EXHIBIT A, p. 183
                                                                                                                                    Cal. Standards of Judicial Administration, std. 3.10
         CM-010(Rev. July 1,2007]                                                                                                                                    www.00urts.ca.gov
   Case 2:22-cv-03713-MEMF-RAO Document 1-2 Filed 05/31/22 Page 182 of 186 Page ID
                                     #:203                                    CM-010
                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
dne box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorneys fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1)tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or(5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
      U ninsured Motorist(46)(if the                         Contract(not unlawful detainer             Construction Defect(10)
       case involves an uninsured                                 or wrong
                                                                     wrongful eviction)                 Claims Involving Mass Tort(40)
       motorist claim subject to                        Contract/Warranty Breach—Seller                 Securities Litigation (28)
       arbitration, check this item                          Plaintiff
                                                             Plain (nott f d or negligence)
                                                                                         li             Environmental/Toxic Tort(30)
       instead of Auto)                                 Negligent Breach of Contract/                   Insurance Coverage Claims
 Other Pl/PD/WD (Personal Injury/                            Warranty                                        (arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of ContractNVarranty                     case type listed above)(41)
 Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
     Asbestos (04)                                      book accounts)(09)                           Enforcement of Judgment (20)
        Asbestos Property Damage                        Collection Case—Seller Plaintiff                  Abstract of Judgment(Out of
        Asbestos Personal Injury/                       Other
                                                        Oth P   Promissory
                                                                       i      Note/Collections                 County)
              Wrongful Death                                 Case                                    Confession of Judgment(non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                 domestic relations)
         toxic/environmental)(24)                       complex)(18)                                 Sister State Judgment
     Medical Malpractice (45)                           Au
                                                        Auto Subrogation                             Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                   (not unpaid taxes)
               Physicians & Surgeons                Other Contract
                                                                t t(37)                               Petition/Certification of Entry of
     Other Professional Health Care                     Contracu  t al FFraud
                                                                         ru                               Judgment on Unpaid Taxes
            Malpractice                                 Other Contract Dispute                        Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Property                                               Case
          Premises Liability (e.g., slip            Em
                                                    Eminentt DDomain/Inverse
                                                                      i /I                        Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PDNVD           Wrongful Eviction (33)                            Other Complaint (not specified
              (e.g., assault, vandalism)            Other Real Property (e.g., quiet title)(26)            above)(42)
          Intentional Infliction of                     Writ off P         i off R
                                                                                 Real P      t             Declaratory Relief Only
               Emotional Distress                       Mortgage Foreclosure                               Injunctive Relief Only (non-
          Negligent Infliction of                       Quiet Title                                             harassment)
                Emotional Distress                      Other
                                                            er Real Propery   t (not eminent
                                                                                        i t                Mechanics Lien
          Other PI/PD/WD                                domain, landlord/tenant, or                        Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                              foreclosure)                                            Case (non-tort/non-complex)
     Business TorUUnfair Business               Unlawful Detainer                                          Other Civil Complaint
         Practice (07)                             Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residena ti l(32)                             Miscellaneous Civil Petition
          false arrest)(not civil                   Drugs (38)(if the case involves illegal           Partnership and Corporate
           harassment)(08)                         drugs, check this item; otherwise,                     Govemance (21)
     Defamation (e.g., slander, libel)              report as Commercial or Residential)              Other Petition (not specified
          (13)                                  Judicial Review                                           above)(43)
     Fraud (16)                                     Asset Forfeiture (05)                                 Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                   Writ of Mandate (02)                                  Elder/Dependent Adult
         Legal Malpractice                              Writ—Administrative
                                                              Ad i         ti Mandamus   u                     Abuse
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                    Election Contest
             (not medical or legal)                        Case Matter                                    Petition for Name Change
     Other Non-PUPD/VVD Tort(35)                        Writ—Other Limited Court Case                     Petition for Relief From Late
 Employment                                                Review
                                                           Rev                                                 Claim
     Wrongful Termination (36)                     Other Judicial Review(39)                              Other Civil Petition
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010[Rev. July 1, 2007]                                                                                                                Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                                                                                                                  EXHIBIT A, p. 184
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                                                       #:204
 SHTZT TITLE:                                                                                                              CASE NUMBER
                         David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.
                                                                                                                                   22S-FCV07221

                                        CIVIL CASE COVER SHEET ADDENDUM AND
                                                STATEMENT OF LOCATION
                         (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

F   --                   This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



                Step 1:


                 Step 2:

                Step 3:

                                                    Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                            7. Location where petitioner resides.
2. Permissive filing in central district.                                                                  8. Location wherein defendant/respondentfunctions wholly.
3. Location where cause of action arose.                                                                   9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                                     10. Location of Labor Commissioner Office.

5. Location where performance required or defendant resides.

6. Location of property or permanently garaged vehicle.



                                                                                                                        r, , ,z, 4. E.., 7. , PC    1, a   ;.: :Yp.),,,,:s:.   •   •tr.   ..:
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                             . CivilCase Cover Sheet..1:        j;Igili;M:NiT ;'!:".r'       .,,   „   .   Type of Action: :   0, ,,-- , rt ., :- .. ,             Applicable Reasons
                                   ,Category NO.'''.                                     .                 Check Only one)         ,-: 717, .1.1  "‘..              See Step::3 Ab&e!F;;

                                         Auto(22)           0 A7100 Motor Vehicle - Personal Injury/Property Damage/VVrongful Death                               1,4, 11

                              Uninsured Motorist(46)        0 A7110 Personal Injury/Property DamageNVrongful Death — Uninsured Motorist                           1,4, 11


                                                            0 A6070 Asbestos Property Damage                                                                      1, 11
                                       Asbestos(04)
                                                            0 A7221 Asbestos - Personal Injury/Wrongful Death                                                     1, 11

                               Product Liability (24)       0 A7260 Product Liability (not asbestos or toxic/environmental)                                       1,4, 11

                                                            0 A7210 Medical Malpractice - Physicians & Surgeons                                                   1,4, 11
    Other Personal Inj




                             Medical Malpractice(45)
                                                            0 A7240 Other Professional Health Care Malpractice                                                    1,4, 11


                                                            0 A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                                  1,4, 11
                                  Other Personal
                                  Injury Property           0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                                  1,4, 11
                                 Damage Wrongful                    assault, vandalism, etc.)
                                    Death (23)                                                                                                                    1,4, 11
                                                            0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                                  1,4, 11
                                                            0 A7220 Other Personal Injury/Property Damage/Wrongful Death




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                                                           .CIVIL CASE-COVER SHEET ADDENDUM                                                              Local Rule 2.3
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S9RT TITLE:                                                                                        CASE NUMBER
              David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.


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                                                                                                                                    ._     .-        Step
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                       .. . CategOiSiNd.°-
                                      ..                  ,                       (Ckikk onlji:tine)                                        Above

                        Business Tort(07)          0 A6029 Other Commercial/Business Tort (not fraud/breach of contract)            1, 2, 3

                         Civil Rights(08)          0 A6005 Civil Rights/Discrimination                                              1, 2, 3

                         Defamation (13)           0 A6010 Defamation (slander/libel)                                               1, 2, 3

                            Fraud (16)             0 A6013 Fraud (no contract)                                                      1,2, 3

                                                  0 A6017 Legal Malpractice                                                         1, 2, 3
               Professional Negligence(25)
                                                  0 A6050 Other Professional Malpractice(not medical or legal)                      1, 2, 3

                            Other(35)             0 A6025 Other Non-Personal Injury/Property Damage tort                            1, 2, 3

                    Wrongful Termination (36)     0 A6037 Wrongful Termination                                                      1, 2, 3

    0                                              0
                                                   1 A6024 Other Employment Complaint Case                                         0,0,0
    0_               Other Employment(15)
                                                  0 A6109 Labor Commissioner Appeals                                                10

                                                  0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                   2, 5
                                                          eviction)
                   Breach of Contract/ Warranty                                                                                    2, 5
                              (06)                0 A6008 Contract/VVarranty Breach -Seller Plaintiff(no fraud/negligence)
                        (not insurance)                                                                                             1, 2,5
                                                  0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                    1, 2,5
                                                  0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)
    4.0
                                                  0 A6002 Collections Case-Seller Plaintiff                                        5, 6, 11
                         Collections(09)          _
                                                  0 A6012 Other Promissory Note/Collections Case                                   5, 11
                                                  0 A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                          Purchased on or after January 1, 2014)
                    Insurance Coverage(18)        0 A6015 Insurance Coverage (not complex)                                         1, 2, 5, 8

                                                  0 A6009 Contractual Fraud                                                        1, 2, 3, 5
                       Other Contract(37)         0 A6031 Tortious Interference                                                    1, 2, 3, 5
                                                  0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)            1, 2, 3, 8,9

                     Eminent Domain/Inverse
                                                  0 A7300 Eminent Domain/Condemnation                  Number of parcels           2, 6
                       Condemnation(14)

                      Wrongful Eviction (33)      0 A6023 Wrongful Eviction Case                                                   2,6

                                                  0 A6018 Mortgage Foreclosure                                                     2,6
                    Other Real Properly(26)       0 A6032 Quiet Title                                                              2,6
                                                  0 A6060 Other Real Property(not eminent domain, landlord/tenant,foreclosure)     2,6
                                                                                     _
                                                                                                                                                  -
               Unlawful Detainer-Commercial
                                            0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                   6, 11
                           (31)

               Unlawful Detainer-Residential
                                                   0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)           6, 11
                                                  -.-
                       Unlawful Detainer-
                                                  0 A6020F Unlawful Detainer-Post-Foreclosure                                      2, 6, 11
                      Post-Foreclosure(34)
               Unlawful Detainer-Drugs(38)        0 A6022 Unlawful Detainer-Drugs                                                  2,6, 11



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                                        #:206
SHORT TITLE:              David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.                 CASE NUMBER




                                          A                             ,   .                       B                                              C Applicable ,
                               Civil Case'Ca* Sheet                                          Type of Action                                   - Reasons:   S
                                                                                                                                                           - ee Step 3
                                     Category
                                       , ,    No                                            ( he'6k-enly:ciiie)                                      ,..Atia+ie
                                                                                                                                                     -      ,„

                                Asset Forfeiture(05)         0 A6108 Asset Forfeiture Case                                                     2, 3,6

                            . Petition re Arbitration (11)   0 A6116 Petition to Compel/ConfirmNacate Arbitration                             2,5
        Judicial Review




                                                             0 A6151 Writ - Administrative Mandamus                                            2, 8
                                Writ of Mandate (02)         0 A6152 Writ - Mandamus on Limited Court Case Matter                             2
                                                             0 A6153 Writ - Other Limited Court Case Review                                   2

                             Other Judicial Review(39)       0 A6150 Other Writ /Judicial Review                                              2,8
                                                                                                                                                               _
                           AntitrustfTrade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                                  1, 2,8

                              Construction Defect(10)        0 A6007 Construction Defect                                                       1, 2,3

                            Claims Involving Mass Tort
                                                             0 A6006 Claims Involving Mass Tort                                                1, 2,8
                                      (40)

                              Securities Litigation (28)     0 A6035 Securities Litigation Case                                               1, 2,8

                                     Toxic Tort
                                                             0 A6036 Toxic Tort/Environmental                                                  1, 2, 3,8
                                 Environmental(30)

                            Insurance Coverage Claims
                                                             0 A6014 Insurance Coverage/Subrogation(complex case only)                        1, 2,5,8
                              from Complex Case(41)

                                                              13 A6141 Sister State Judgment                                                  2, 5, 11
                                                              13 A6160 Abstract of Judgment                                                   2, 6

                                    Enforcement              0 A6107 Confession of Judgment(non-domestic relations)                           2, 9
                                  of Judgment(20)            0 A6140 Administrative Agency Award (not unpaid taxes)                           2, 8
                                                             0 A6114 Petition/Certificate for Entry Of Judgment on Unpaid Tax                 2, 8
                                                             0 .A6112 Other Enforcement of Judgment Case                                      2, 8,9

                                    'RICO (27)               0 A6033 Racketeering(RICO)Case                                                   1, 2,8
   Civil Complaints
    Miscellaneous




                                                             0 A6030 Declaratory Relief Only                                                  1, 2,8

                                Other Complaints             0 A6040 Injunctive Relief Only (not domestic./harassment)                        2, 8
                            (Not Specified Above)(42)        0 A6011 Other Commercial Complaint Case'(non-torUnon-complex)                    1, 2,8
                                                              13 A6000 Other Civil Complaint(non-tort/non-complex)•                           1, 2,8

                              Partnership Corporation
                                                             0 A6113 Partnership and Corporate Governance Case                                2,8
                                 Governance(21)

                                                             0 A6121 Civil Harassment With Damages                                            2, 3,9
                                                             0 A6123 Workplace Harassment With Damages                                        2, 3,9
                                                             0 A6124 Elder/Dependent Adult Abuse Case With Damages                            2, 3,9
                                Other Petitions(Not
                               Specified Above)(43)          0 A6190 Election Contest                                                         2
                                                             0 A6110 Petition for Change of Name/Change of Gender                             2, 7
                                                             -0 A6170 Petition for Relief from Late Claim Law     ---    -- . - -    -- -     2, 3,8
                                                             0 A6100 Other Civil Petition                                                     2, 9




                                                             CIVIL-CASE-COVER SHEET ADDENDUM                                                Local Rule 2.3
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                  David Yurevich Jr v. Interstate-Rim Management Company, LLC, et al.



, Step 4: Statement of Reason and Address



                                                                      ADDRESS:
     REASON:

         1. EZJ2. E i3. 0 4. 5. 0 6. 0 7. 08.0 9. 0 10. 0 11.



     CITY:                                    STATE:     ZIP CODE:




 Step 5: Certification of Assignment:                                                         Central




    Dated: 02/28/2022
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)




    PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
    COMMENCE YOUR NEW COURT CASE:
         1. Original Complaint or Petition.
         2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
         3. Civil Case Cover Sheet, Judicial Council form CM-010.
        4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
           02/16).
         5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
        6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
           minor under 18 years of age will be required by Court in order to issue a summons.
         7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
            m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                            CIVIL CASECOVER SHEET ADDENDUM                                          Local Rule 2.3
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